  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                Page 1 of 101 PageID 128


                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DAVID TYSON, JR.,                  §
                                   §
        Plaintiffs,                §
                                   §
v.                                 §
                                   §
RICHARDSON INDEPENDENT             § CIVIL ACTION NO. 3:18-CV-00212-K
SCHOOL DISTRICT, and JEAN BONO,    §
KIM CASTON, KAREN CLARDY,          §
KATIE PATTERSON, ERON LINN,        §
JUSTIN BONO, and KRISTIN KUHNE, in §
their official capacities,         §
                                   §
        Defendants.                §
                                   §

     PLAINTIFF’S DISCLOSURE OF EXPERT WITNESSES AND TESTIMONY
    PURSUANT TO RULE 26 OF THE FEDERAL RULES OF CIVIL PROCEDURE

       To the Honorable Court and to Defendants Richardson Independent School District, and

Jean Bono, Kim Caston, Karen Clardy, Katie Patterson, Eron Linn, Justin Bono, and Kristin

Kuhne, in their official capacities, by and through their attorneys of record, Lisa R. McBride and

William B. McElhiney, III, Thompson & Horton LLP, 3200 Southwest Freeway, Suite 2000,

Houston, Texas 77027, and Carlos G. Lopez, Thompson & Horton LLP, Ross Tower, Suite 3150,

500 N. Akard Street, Dallas, Texas 75201.

       Pursuant to the Court’s May 23, 2018 Scheduling Order, and Federal Rule of Civil

Procedure 26, Plaintiff David Tyson, Jr. (“Plaintiff”) files and serves all parties and counsel of

record with the following expert disclosure.

       Plaintiff discloses the following expert witnesses and expected testimony:




                                                1
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 2 of 101 PageID 129


       A. David R. Ely

                   Compass Demographics, Inc.
                   6575 N. Vista Street
                   San Gabriel, CA 91775
                   (626) 807-0719
                   ely@compass-demographics.com

       The subject matter on which Mr. Ely is expected to testify, the general substance of his

opinions, a summary of the basis for them, and a list of documents reviewed by him is provided in

the Report of David R. Ely dated July 16, 2018, which is attached hereto as Exhibit A. Because

discovery is ongoing, Mr. Ely reserves the right to supplement or amend his report. Mr. Ely is

expected to testify at trial as to any matter contained in his deposition testimony, if any, as well as

to any matters contained in his expert report, and/or the documents reviewed in connection with

the preparation of his report.

       B. Kenneth R. Mayer

                       Kenneth Mayer Consulting, LLC
                       9520 Lost Pine Trail
                       Verona, WI 53593
                       608-216-6554
                       krmayerconsulting@gmail.com

       The subject matter on which Dr. Mayer is expected to testify, the general substance of his

opinions, a summary of the basis for them, and a list of documents reviewed by him is provided in

the Report of Kenneth R. Mayer dated July 16, 2018, which is attached hereto as Exhibit B.

Because discovery is ongoing, Dr. Mayer reserves the right to supplement or amend his report.

Dr. Mayer is expected to testify at trial as to any matter contained in his deposition testimony, if

any, as well as to any matters contained in his expert report, and/or the documents reviewed in

connection with the preparation of his report.




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  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 3 of 101 PageID 130


         C. Michael J. Collins

                        Brewer Attorneys & Counselors LLP
                        1717 Main Street, Suite 5900
                        Dallas, TX 75201
                        (214) 653-4000
                        mjc@brewerattorneys.com

         Mr. Collins is expected to testify in person or by affidavit, as required, regarding the

reasonableness of the attorneys’ fees the parties seek in this action. His curriculum vitae is

available at https://www.brewerattorneys.com/bios/Collins_Bio_PDF.pdf.              Mr. Collins will

provide an expert report and other information required by Rule 26 of the Federal Rules of Civil

Procedure if and when Plaintiff is entitled to seek an award of attorneys’ fees or in response to a

request by Defendants for attorneys’ fees. Plaintiff will request that the Court defer consideration

of attorneys’ fees until after trial or other resolution of this matter, and will meet and confer with

Defendants regarding this request.

         In forming his opinion regarding the reasonableness of the attorneys’ fees sought in this

action, Mr. Collins will rely on factors established by current law and the Texas Disciplinary Rules

of Professional Conduct, including, but not limited to: 1) the time and labor required; 2) the novelty

and the difficulty of the questions presented; 3) the skill required to perform the legal service

properly; 4) the preclusion of other employment by the attorney due to acceptance of the case; 5)

the customary fee in the community; 6) the contingent nature of the fee award; 7) the time

limitations imposed by the circumstances of the case; 8) the amount involved and the result

obtained; 9) the experience, reputation, and ability of the attorneys; 10) the desirability of the case;

11) the nature and length of the professional relationship with the client; and 12) awards in similar

cases.




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  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 4 of 101 PageID 131


       In addition to consideration of the above factors, Mr. Collins’ opinion will be based on his

knowledge of the litigation in this matter, his knowledge of fee awards in the community; and his

knowledge of the billing rates of attorneys in the community, among other considerations.

       Plaintiff reserves the right to supplement or revise these disclosures and/or the opinions of

his experts based on the progress of the case, and to designate other expert witnesses whose

testimony cannot be anticipated at this time. Plaintiff also reserves the right to call rebuttal expert

witnesses whose testimony cannot be anticipated at this time.

Dated: July 16, 2018


                                                       Respectfully submitted,

                                                       /s/ William A. Brewer III
                                                       William A. Brewer III
                                                       Brewer Storefront, PLLC
                                                       1717 Main Street, Suite 5900
                                                       Dallas, Texas 75201
                                                       Telephone: (214) 653-4000
                                                       Facsimile: (214) 653-1015

                                                       ATTORNEYS FOR PLAINTIFF
                                                       DAVID TYSON, JR.




                                                  4
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                Page 5 of 101 PageID 132


                                    CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing document has been

served on the following counsel via electronic filing on July 16, 2018.

Lisa R. McBride
Lmcbride@thompsonhorton.com
William B. McElhiney III
Lmcelhiney@thompsonhorton.com
Thompson & Horton LLP
3200 Southwest Freeway, Suite 2000
Houston, Texas 77027

Carlos G. Lopez
clopez@thompsonhorton.com
Thompson & Horton LLP
Ross Tower, Suite 3150
500 N. Akard Street
Dallas, Texas 75201



                                                                    /s/ William A. Brewer III
                                                                    William A. Brewer III

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                                                                    8001-205




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Case 3:18-cv-00212-K Document 25 Filed 07/16/18   Page 6 of 101 PageID 133




               EXHIBIT A
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18              Page 7 of 101 PageID 134




Analysis of Registered Voters and
Illustrative Richardson ISD Trustee Districts

Expert Report of David Ely




                                          I.
                                SCOPE OF ASSIGNMENT

1. Plaintiff’s attorneys have asked me to determine whether the demographics in the Richardson
Independent School District (“RISD”) in Texas, allow one to draw majority-minority districts in
which citizens of voting age population in predominately minority communities would have an
opportunity to elect representatives of their choice.

2. To determine whether minority groups in the RISD are sufficiently large and geographically
compact to constitute a majority in one or more single member districts, Plaintiff’s attorneys
asked me to perform analyses related to the African-American and Hispanic communities in the
RISD. The analyses performed were:

       A. Identify Spanish surnamed voters from a list of current registered voters with
          voter-history for the RISD Board elections in 2017, as well as other elections
          in 2008, 2012 and 2018;
       B. Geocode registered voters by address to match census and precinct geography;
       C. Combine counts of voters and Spanish surnamed voters by precinct with
          election returns for the RISD Board and other elections;
       D. Construct one or more illustrative single member Trustee districts with one
          seventh of the population of the RISD; and
       E. Estimate citizenship status based on census data for district alternatives.
       F. Extract socio-economic data for RISD from latest American Community
          Survey




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  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                  Page 8 of 101 PageID 135


                                          II.
                                  SUMMARY OF FINDINGS




3. Based on my analysis of the demographics of the RISD, including the specific analyses
identified above, I conclude that 1) minority groups in the RISD are sufficiently large and
geographically compact to constitute a majority in a single member district that includes 1/7 of
the RISD population;1 2) in fact, it is possible to draw two such single-member districts, in
which minorities comprise a majority of the citizen voting age population (“CVAP”); 3) one of
the proposed single-member districts (“District A”) has a combined Hispanic and African
American population of 79.4%, and a combined CVAP of 73.1%, as well as an African
American American CVAP of 60.3%; and 4) the second proposed district (“District B”) has a
combined Hispanic and African American population of 73.8% and a combined CVAP of
50.25% respectively.2



                                        III.
                             SUMMARY OF QUALIFICATIONS

4. I, David Ely, am the founder of Compass Demographics, a consulting and database
management firm specializing in projects involving Census and Election Data. I have extensive
experience managing redistricting projects, analyzing voting behavior, and analyzing
demographics. I received a Bachelor of Science in Mechanical Engineering and Social Sciences
from the California Institute of Technology in 1987.

5. I have served as an expert and testified on behalf of the United States in numerous cases
involving voting rights issues, in which I performed analyses similar to those used in this report.

6. I have also served as a consultant and expert on behalf of private plaintiffs in voting-rights
litigation, challenging election systems in multiple jurisdictions.

7. I have also served as a consultant and expert on behalf of defendant jurisdictions in voting
rights litigation challenging election systems or districts.

8. I have also served as a consultant to construct databases, draw district lines, and prepare
presentation maps and reports for many jurisdictions in conducting their normal redistricting.
These include statewide congressional and legislative redistricting in California, as well as a
variety of county boards, city councils, school boards, water districts, regional transit boards, and

1 There are seven seats on the RISD Board of Trustees. Thus, each single member district
would contain 1/7 of the RISD population.
2 The attached maps show the two proposed single-member districts.


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  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                          Page 9 of 101 PageID 136


others following the Census in 1990, 2000, and 2010.

9. Courts have accepted my expert opinions and my expert opinions have never been excluded
under Daubert or any other standard. Courts have relied on my expert opinions in a number of
cases, finding them reliable and persuasive, including in the following cases:

Luna v. Kern County, California (2017);

Patino v. City of Pasadena (2015);

Fabela v. City of Farmers Branch (2011);

Benavidez v. Irving Independent School District (2013); and

Benavidez v. City of Irving (2008).




10. A copy of my Curriculum Vitae is attached as Appendix A.

                                                IV.
                                      FINDINGS AND ANALYSIS


A. REGISTERED VOTER ANALYSIS

11. A Spanish surname is a commonly-used proxy for Hispanic ethnicity in determining the
ethnic composition of a group of people identified by name when ethnic self-identification is not
practical. I have used this type of analysis extensively to build databases to analyze voting
behavior and measure potential voting strength in districts, and as a foundation for expert reports
in voting-rights litigation. Additionally, I have used this type of analysis to provide important
insights during the redistricting process in a number of jurisdictions.

12. The Census Bureau created a Spanish surname list and a set of governing rules for matching
the list in the 1980 Census. I used the approved list and set of rules in my analysis.

13. Studies by the Census Bureau show that surname matching tends to slightly underestimate
Hispanic ethnicity, except in groups with significant Filipino populations.3 The 2016 Census
ACS data for the RISD indicate that there is a minimal Filipino population in the district, so
Spanish surname results may be accepted as a reliable, if somewhat conservative, indication of
Hispanic ethnicity.




        3 Jeffrey S. Passel and David R. Word, "Constructing the List of Spanish Surnames for the 1980 Census:
An Application of Bayes' Theorem," presented at the Annual Meeting of the Population Association of America,
1980.


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 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                 Page 10 of 101 PageID 137


14. Geocoding is the process of matching an address to a street reference file in order to add
geographic information. In this case I used a software package called Maptitude and the street
reference file that came with the program in order to obtain latitude and longitude coordinates for
each address in the 2018 registered voter list. Addresses which were not matched by Maptitude
were examined with Google earth pro or placed manually by examining precinct maps provided
by the Dallas County Elections Department. These coordinates were used to obtain Citizen
Voting Age Population (“CVAP”) by ethnicity for the area of voters’ residence. These
coordinates were then used to identify the census block that contains each registered voter. Each
registered voter was coded to indicate if the voter had a Spanish surname as defined by Census
Bureau rules. For voters with non-Spanish surnames, the CVAP data was used to estimate the
probability that the voter was Black or African American. The results of this analysis were then
aggregated to the census block level in order to create a database with counts of total registered
voters and Spanish surnamed registered voters and estimated Black registered voters for each
census block.

15. For each of the registered voters who are recorded to have voted in each election this
information was then aggregated to the precinct level in order to produce a count for each
precinct in each election of total voters, Spanish surnamed voters, and estimated Black voters.

16. In order to produce a data file for election analysis I combined precinct counts of voters in
the 2017 Joint Election, the 2008, 2012, and 2018 Democratic Primaries, and the 2012 General
Election with precinct by precinct election results for each election downloaded from the Dallas
County Elections Website (http://www.dallascountyvotes.org).

17. The results of this analysis were provided to Professor Kenneth Mayer for further analysis.




B.SOCIO-ECONOMIC DATA



18. I extracted a number of tables for the Richardson ISD from the 2016 five year American
Community Survey summary files downloaded from the Census Bureau website
(https://www.census.gov/programs-surveys/acs/data/summary-file.html).

19. The tables extracted were selected to allow comparison of African American, Non-Hispanic
White, and Hispanic individuals or households. A listing of the tables extracted is provided in
Appendix B.

20. These data were provided to Professor Kenneth Mayer for further analysis.


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 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                 Page 11 of 101 PageID 138




C.SINGLE MEMBER DISTRICTS

21. I was asked to determine if the Hispanic or African American populations in the RISD was
sufficiently large and compact to form the majority of eligible voters in a single member district
with 1/7 of the RISD’s population (30,810 of 215,669), and to draw one or more illustrative
districts for a seven member Board with a single member district configuration (“Illustrative
District”). The Illustrative Districts are intended to demonstrate that a geographically compact
district in which African Americans make up a majority of the eligible voters can be drawn in the
RISD and, at the same time, maintain the integrity of areas of African American population
concentration.

22. I used data from the 2010 Census PL94-171 redistricting data file to analyze the total
population and voting age population (“VAP”) by race and Hispanic Origin. I used data from
the 2016 five-year American Community Survey (“ACS”) to analyze the citizen voting age
population (“CVAP”). The analysis also includes a breakdown of registered voters as described
above.

23. The PL94-171 redistricting data file reports data by Census Block. A Special Tabulation of
CVAP data by race and Hispanic Origin from the 2016 5–year ACS is available at the Census
Block Group (BG) level of geography from the 2010 Census.

24. Appendix C is a document from the Census Bureau Website titled Geographic Terms and
Concepts. Three sections are particularly relevant: (1) A-4, which discusses census geographic
hierarchy; (2) A-10, which discusses Census Blocks and Block Groups; and (3) A-27, which is a
graphical presentation of the hierarchy from A-4. Because Census Blocks and Block Groups are
critical to the analysis, section A-10 from Appendix B is partially reproduced below:

    Blocks (Census Blocks) are statistical areas bounded by visible features, such as
    streets, roads, streams, and railroad tracks, and by nonvisible boundaries, such as
    selected property lines and city, township, school district, and county limits and short
    line-of-sight extensions of streets and roads. Generally, census blocks are small in
    area; for example, a block in a city bounded on all sides by streets….

    Block Groups (BGs) are statistical divisions of census tracts, are generally defined to
    contain between 600 and 3,000 people, and are used to present data and control
    block numbering. A block group consists of clusters of blocks within the same
    census tract that have the same first digit of their four-digit census block number….
    A BG usually covers a contiguous area. Each census tract contains at least one BG,
    and BGs are uniquely numbered within the census tract. Within the standard census
    geographic hierarchy, BGs never cross state, county, or census tract boundaries but
    may cross the boundaries of any other geographic entity.


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 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                 Page 12 of 101 PageID 139


25. In order to properly analyze the Richardson ISD and single member district alternatives, it
is necessary to use Census Blocks. Although population and VAP data are available at the
Census Block level, CVAP data is available only at the BG level. To calculate the African
American and Hispanic share of CVAP in the various single member districts, it was necessary
to create an estimate of CVAP by ethnicity at the Census Block level. For each Census Block, I
calculated the block’s share of VAP for each ethnic group within the corresponding BG. I then
assigned to each Census Block the appropriate share of each ethnic group’s CVAP within the
corresponding BG.

26. The CVAP estimates for districts are calculated from the ACS survey results over a 5 year
period―2012-2016.

27. I have drawn an Illustrative District plan with two districts, using easily recognizable
boundaries, such as streets. I have used undivided census blocks as the basic units to form the
Illustrative Districts, thus permitting the use of the 2010 Census PL94-171 redistricting data file
as the population reference. The demographic characteristics of these districts are shown in
Table 1 and a set of maps is provided as Appendix D.




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 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                Page 13 of 101 PageID 140


Table 1 Illustrative District Demographics
                            A                     B             Richardson ISD
Population              30645                30708               215669
   Deviation             -165    -0.5%         -102   -0.3%
   Latino                9068    29.6%       18655    60.7%       51666   24.0%
   White                 4510    14.7%        5736    18.7%     104539    48.5%
   Black                15271    49.8%        4016    13.1%       39405   18.3%
   Asian                 1413     4.6%        1990     6.5%       17518    8.1%
Voting Age Pop          22421                21007              161758
   Latino                5819    26.0%       11663    55.5%       32890   20.3%
   White                 4077    18.2%        4879    23.2%       85898   53.1%
   Black                11042    49.2%        2720    12.9%       27517   17.0%
   Asian                 1204     5.4%        1540     7.3%       13648    8.4%
Citizen VAP D16       20455.4              13917.3             144182.1
   Latino              2618.6    12.8%      3743.2    26.9%     16644.3   11.5%
   White               4454.4    21.8%      5589.1    40.2%     85074.8   59.0%
   Black              12342.3    60.3%      3248.7    23.3%     29660.2   20.6%
   Asian                855.5     4.2%        984.8    7.1%     10358.9    7.2%
Registration 18         14878                10220              130039
   Latino                1378     9.3%        2242    21.9%       11648    9.0%
   Black               8575.6    57.6%      2194.8    21.5%     21910.4   16.8%

                                     V. CONCLUSIONS

28. That the data supports that a majority/minority could be established in at least two districts
within the seven districts of the RISD. As demonstrated in Table 1, District A has a combined
Hispanic and African American population of 79.4%, and a CVAP combined of 73.1%, as well
as an African American CVAP of 60.3%; while District B has a combined Hispanic and African
American population and CVAP of 73.8% and 50.25, respectively.



29. My analysis demonstrates that the African American community in the Richardson ISD is
large enough to form the majority of eligible voters in a single member district with 1/7th of the
population of the Richardson ISD. There is, additionally, a large enough multi-ethnic community
to form a district with a Hispanic VAP majority, in which Hispanics and African Americans
combine to form the majority of eligible voters.




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 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 14 of 101 PageID 141




                     VI. DOCUMENTS REVIEWED AND RELIED ON

30. For the purposes of this report, I reviewed and relied upon the following:

       •   2010 Census TIGER geography;

       •   2010 Census Pl 94-1 71 redistricting data;

       •   Census Bureau American Community Survey (ACS) data from 2012 through 2016;

       •   Dallas County Elections Department 2018 List of RISD Registered Voters with
           Voting History;

       •   Precinct geography and data from Dallas County, and Texas Legislative Council.

31. This report may be supplemented or revised in response to the discovery of additional issues
and information.

32. I am being compensated at a rate of $250 per hour by Plaintifrs attorneys for my analysis in
this case. I am independent and impartial. My compensation does not depend on either my
opinion or the outcome of this case.




                                                        David Ely




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Case 3:18-cv-00212-K Document 25 Filed 07/16/18   Page 15 of 101 PageID 142



                           Appendix A
Case 3:18-cv-00212-K Document 25 Filed 07/16/18                         Page 16 of 101 PageID 143


                                                  VITA

                                       DAVID R. ELY
                                 Compass Demographics, Inc.
                                      6575 N. Vista Street
                                    San Gabriel, CA 91775
                                        (626) 807-0719
                           E-mail: ely@compass-demographics.com


 Employment:

 2007 to present
 David Ely is the president and founder of Compass Demographics, a consulting and database
 management firm specializing in projects involving census and election data, redistricting
 projects, demographic analysis, and analysis of voting behavior.

 1986 to 2007
 Director of Research for the Redistricting and Reapportionment practice of Pactech Data and
 Research, Pasadena, California. As Director of Research, Mr. Ely testified or consulted to
 counsel in a variety of litigation involving the configuration of election districts as well as providing
 database construction and redistricting consulting for numerous jurisdictions.

 Education:
 California Institute of Technology in Pasadena, CA with a B.S. in Social Sciences and Mechanical
 Engineering in 1987.


 Redistricting Consulting
 Activities include database construction, demographic and voter analysis, development of
 districting plans, public hearings and presentation of plans, technical assistance, and analysis of
 alternative redistricting plans.
 2018 City of Coalinga Council District Formation

 2017 San Marcos Unified School District Trustee Area Formation

 2016 Upland City Council District Formation

 2016 Costa Mesa City Council District Formation

 2015 Garden Grove City Council District Formation

 2015 Fullerton City Council District Formation

 2014 Saugus Union School District Trustee Area Formation

 2014 Whittier City Council District Formation

 2014 Sulphur Springs School District Trustee Area Formation

 2014 Lancaster Elementary School District Trustee Area Formation
Case 3:18-cv-00212-K Document 25 Filed 07/16/18                 Page 17 of 101 PageID 144


 David R. Ely, Vita, page 2

 (Redistricting Consulting, cont.)

 2012 Los Angeles Unified School District Redistricting

 2012 Los Angeles City Council Redistricting

 2012 Pasadena Unified School Board Districting

 2012 Pasadena City Council Redistricting

 2011 Bay Area Rapid Transit (BART) Board Redistricting

 2011 California Legislative Redistricting

 2011 Los Angeles County Redistricting

 2008 Ceres Unified School District Redistricting

 2008 Madera Unified School District Redistricting

 2008 Merced Elementary School District Redistricting

 2008 Merced High School District Redistricting

 2005 Hanford Joint Union High School District Redistricting

 2003 Oakland City Council and Oakland Unified School Board Redistricting

 2002 Los Angeles City Council Redistricting

 2002 Los Angeles Unified School District Board Member Redistricting

 2002 Pasadena, California, City Council Redistricting

 2001 California Legislative Redistricting (Senate, Assembly, and Congressional)

 2001 Los Angeles County Supervisorial Redistricting

 2001 Bay Area Rapid Transit Board Member Districts Redistricting

 1992 Rancho Mirage, California, City Council Redistricting

 1992 Three Valleys Municipal Water District Redistricting

 1992 Los Angeles Unified School Board Member Redistricting

 1992 Los Angeles City Council Redistricting

 1992 Pasadena, California, City Council Redistricting

 1991 California Congressional Redistricting

 1991 California State Assembly Redistricting
Case 3:18-cv-00212-K Document 25 Filed 07/16/18                       Page 18 of 101 PageID 145



 David R. Ely, Vita, page 3
 (Redistricting Consulting, cont.)

 1991 Los Angeles County Board of Supervisors Redistricting

 1987 City of Boston, Massachusetts Redistricting

 1986 Los Angeles City Council Redistricting

 1987 to 2012, California State Legislature, Redistricting Database construction

 Litigation Analysis
 Activities include database construction, demographic analysis, expert witness testimony,
 surname matching, geocoding of registered and actual voter lists, and construction of illustrative
 districting plans.

 2000-Present Provided analysis on numerous voting rights investigations

 Luna v. Kern County (2017), expert witness (California)

 Patino v. City of Pasadena (2015), expert witness (Texas)

 Garrett v. City of Highland (2015), expert witness (California)

 Ramos v. Carrollton-Farmers Branch Independent School District (2015), expert witness (Texas)

 Rodriguez v. City of Grand Prairie (2015), expert witness (Texas)

 Rodriguez v. Grand Prairie Independent School District (2014), expert witness (Texas)

 Navajo Nation v. San Juan County (2014), expert witness (Utah)

 Solis v. City of Santa Clarita (2014), expert witness (California)

 Jauregui v. City of Palmdale (2013), expert witness (California)

 Gonzalez v. City of Compton (2012), expert witness (California)

 Fabela v. City of Farmers Branch (2011), expert witness (Texas)

 Benavidez v. Irving Independent School District (2008, 2013), expert witness (Texas)

 Benavidez v. City of Irving (2008), expert witness (Texas)

 Avitia v. Tulare Local Health Care District (2008), expert witness (California)

 U.S. v. City of Euclid (2007), election data consultant (Ohio)

 Bexar Metropolitan Water District (2007), election data consultant (Texas)

 U.S. v. City of Springfield, Massachusetts (2006)

 U.S. v. State of Missouri (2006), election data consultant
Case 3:18-cv-00212-K Document 25 Filed 07/16/18                              Page 19 of 101 PageID 146



 David R. Ely, Vita, page 4

 (Litigation Analysis, cont.)

 U.S. v. City of Philadelphia and Philadelphia City Commission (2006), Pennsylvania

 State of Georgia v. Ashcroft, (2004) election data consultant

 Gomez v. Hanford Joint Union High School District, (2004) California

 Sanchez v. City of Modesto, (2004), California

 Governor Gray Davis v. Kevin Shelley, (2003) data analysis and declaration (California)

 U.S. v. Alamosa County, (2002), expert witness (Colorado)

 Cano v. Davis, (2002), election data consultant, (California)

 U.S. v. City of Lawrence, (2000), expert witness (Massachusetts)

 U.S. v. City of Santa Paula, (2000) voting rights litigation (California)

 U.S. v. Upper San Gabriel Valley Municipal Water District, (2000) voting rights litigation (California)

 U.S. v. Passaic (2000) voting rights litigation (New Jersey)

 U.S. v. City of Lawrence, (1999) voting rights litigation (Massachusetts)

 Bonilla v. Chicago City Council (1992-1998), expert witness (Illinois)

 Ruiz v. City of Santa Maria, (1992-1998), voting rights litigation (California)

 Garza v. County of Los Angeles, (1988-90), Constructed databases and designed remedial plans for
 Los Angeles County Supervisorial Districts
Case 3:18-cv-00212-K Document 25 Filed 07/16/18   Page 20 of 101 PageID 147



                           Appendix B
           Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 21 of 101 PageID 148

B16005B NATIVITY BY LANGUAGE SPOKEN AT HOME BY ABILITY TO SPEAK ENGLISH FOR THE POPULATION 5 YEARS
        AND OVER (BLACK OR AFRICAN AMERICAN ALONE)
B16005H NATIVITY BY LANGUAGE SPOKEN AT HOME BY ABILITY TO SPEAK ENGLISH FOR THE POPULATION 5 YEARS
        AND OVER (WHITE ALONE, NOT HISPANIC OR LATINO)
B16005I NATIVITY BY LANGUAGE SPOKEN AT HOME BY ABILITY TO SPEAK ENGLISH FOR THE POPULATION 5 YEARS
        AND OVER (HISPANIC OR LATINO)

B17001    POVERTY STATUS IN THE PAST 12 MONTHS BY SEX BY AGE
B17001    Universe: Population For Whom Poverty Status Is Determined
B17001B   POVERTY STATUS IN THE PAST 12 MONTHS BY SEX BY AGE (BLACK OR AFRICAN AMERICAN ALONE)
B17001B   Universe: Black Or African American Alone Population For Whom Poverty Status Is Determined
B17001H   POVERTY STATUS IN THE PAST 12 MONTHS BY SEX BY AGE (WHITE ALONE, NOT HISPANIC OR LATINO)
B17001H   Universe: White Alone, Not Hispanic Or Latino Population For Whom Poverty Status Is Determined
B17001I   POVERTY STATUS IN THE PAST 12 MONTHS BY SEX BY AGE (HISPANIC OR LATINO)
B17001I   Universe: Hispanic Or Latino Population For Whom Poverty Status Is Determined

B18101B   AGE BY DISABILITY STATUS (BLACK OR AFRICAN AMERICAN ALONE)
B18101B   Universe: Black Or African American Alone Civilian Noninstitutionalized Population
B18101H   AGE BY DISABILITY STATUS (WHITE ALONE, NOT HISPANIC OR LATINO)
B18101H   Universe: White Alone, Not Hispanic Or Latino Civilian Noninstitutionalized Population
B18101I   AGE BY DISABILITY STATUS (HISPANIC OR LATINO)
B18101I   Universe: Hispanic Or Latino Civilian Noninstitutionalized Population

B19001  HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS)
B19001B HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (BLACK OR AFRICAN
        AMERICAN ALONE HOUSEHOLDER)
B19001H HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (WHITE ALONE,
        NOT HISPANIC OR LATINO HOUSEHOLDER)
B19001I HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (HISPANIC OR
        LATINO HOUSEHOLDER)

B19013
        MEDIAN HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS)
B19013B MEDIAN HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (BLACK OR
        AFRICAN AMERICAN ALONE HOUSEHOLDER)
B19013H MEDIAN HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (WHITE
        ALONE, NOT HISPANIC OR LATINO HOUSEHOLDER)
B19013I MEDIAN HOUSEHOLD INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (HISPANIC
        OR LATINO HOUSEHOLDER)
B19101  FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS)

B19101B FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (BLACK OR AFRICAN
        AMERICAN ALONE HOUSEHOLDER)
B19101H FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (WHITE ALONE, NOT
        HISPANIC OR LATINO HOUSEHOLDER)
B19101H Universe: Families With A Householder Who Is White Alone, Not Hispanic Or Latino
            Case 3:18-cv-00212-K Document 25 Filed 07/16/18              Page 22 of 101 PageID 149

B19101I   FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (HISPANIC OR LATINO
          HOUSEHOLDER)

B19113
        MEDIAN FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS)
B19113B MEDIAN FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (BLACK OR
        AFRICAN AMERICAN ALONE HOUSEHOLDER)
B19113H MEDIAN FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (WHITE ALONE,
        NOT HISPANIC OR LATINO HOUSEHOLDER)
B19113I MEDIAN FAMILY INCOME IN THE PAST 12 MONTHS (IN 2016 INFLATION-ADJUSTED DOLLARS) (HISPANIC OR
        LATINO HOUSEHOLDER)

B22005B RECEIPT OF FOOD STAMPS/SNAP IN THE PAST 12 MONTHS BY RACE OF HOUSEHOLDER (BLACK OR AFRICAN
        AMERICAN ALONE)
B22005H RECEIPT OF FOOD STAMPS/SNAP IN THE PAST 12 MONTHS BY RACE OF HOUSEHOLDER (WHITE ALONE, NOT
        HISPANIC OR LATINO)
B22005I
        RECEIPT OF FOOD STAMPS/SNAP IN THE PAST 12 MONTHS BY RACE OF HOUSEHOLDER (HISPANIC OR LATINO)

C15002B SEX BY EDUCATIONAL ATTAINMENT FOR THE POPULATION 25 YEARS AND OVER (BLACK OR AFRICAN
        AMERICAN ALONE)
C15002H SEX BY EDUCATIONAL ATTAINMENT FOR THE POPULATION 25 YEARS AND OVER (WHITE ALONE, NOT
        HISPANIC OR LATINO)
C15002I
        SEX BY EDUCATIONAL ATTAINMENT FOR THE POPULATION 25 YEARS AND OVER (HISPANIC OR LATINO)

C27001B HEALTH INSURANCE COVERAGE STATUS BY AGE (BLACK OR AFRICAN AMERICAN ALONE)
C27001B Universe: Black Or African American Alone Civilian Noninstitutionalized Population
C27001H HEALTH INSURANCE COVERAGE STATUS BY AGE (WHITE ALONE, NOT HISPANIC OR LATINO)
C27001H Universe: White Alone, Not Hispanic Or Latino Civilian Noninstitutionalized Population
C27001I HEALTH INSURANCE COVERAGE STATUS BY AGE (HISPANIC OR LATINO)
C27001I Universe: Hispanic Or Latino Civilian Noninstitutionalized Population
Case 3:18-cv-00212-K Document 25 Filed 07/16/18   Page 23 of 101 PageID 150



                           Appendix C
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                     Page 24 of 101 PageID 151



Appendix A.

Geographic Terms and Concepts

Alaska Native Regional Corporation (ANRC) (see American Indian, Alaska Native,
 Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-5

Alaska Native Village (ANV) (see American Indian, Alaska Native, Native Hawaiian Area) . . . . . . A-5

Alaska Native Village Statistical Area (ANVSA) (see American Indian, Alaska Native, 

 Native Hawaiian Area). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-8

American Indian, Alaska Native, and Native Hawaiian Area . . . . . . . . . . . . . . . . . . . . . . . . . . . A-5

American Indian Off-Reservation Trust Land (see American Indian, Alaska Native, 

 Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-7

American Indian Reservation (see American Indian, Alaska Native, Native Hawaiian Area) . . . . A-6

American Indian Tribal Subdivision (see American Indian, Alaska Native,

 Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-6

American National Standards Institute (ANSI) Codes (see Codes for Geographic Entities) . . . . . A-13

American Samoa (see Island Areas of the United States) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-20

Area Measurement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-9

Barrio (see Puerto Rico) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

Barrio-Pueblo (see Puerto Rico) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

Block . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-10

Block Group . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-10

Borough (see County or Statistically Equivalent Entity; see County Subdivision; see Place) . . . A-16

Boundary Changes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-11

Census Area (see County or Statistically Equivalent Entity) . . . . . . . . . . . . . . . . . . . . . . . . . . . A-16

Census Block (see Block) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-10

Census Bureau Codes (see Codes for Geographic Entities). . . . . . . . . . . . . . . . . . . . . . . . . . . . A-14

Census County Division (CCD) (see County Subdivision) . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-18

Census Designated Place (CDP) (see Place) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-21

Census Division (see also Census Region) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-12

Census Region (see also Census Division) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-12

Census Subarea (see County Subdivision) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-18

Census Tract . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-12

Central Place (see Urban and Rural) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

City (see Place) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-21

City and Borough (see County or Statistically Equivalent Entity; see Place) . . . . . . . . . . . . . . . A-16

Codes for Geographic Entities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-13

Combined New England City and Town Area (see Core Based Statistical Area) . . . . . . . . . . . . . A-15

Combined Statistical Area (CSA) (see Core Based Statistical Area) . . . . . . . . . . . . . . . . . . . . . . A-15

Commonwealth of the Northern Mariana Islands (see Island Areas of the United States) . . . . . A-20

Comparability (see Boundary Changes) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-11

Comunidad (see Puerto Rico) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

Congressional District (CD) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-14

Consolidated City . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-14

Core Based Statistical Area . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-15

County or Statistically Equivalent Entity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-16

County Subdivision. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-17


Geographic Terms and Concepts                                                                                                                       A-1
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
      Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                               Page 25 of 101 PageID 152

Density (see Population and Housing Unit Density) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

District (see County or Statistically Equivalent Entity) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-16

Division (see Census Division) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-12

Extended Place (see Urban and Rural) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

FIPS Class Codes (see Geographic Area Attributes) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-19

FIPS Codes (see Codes for Geographic Entities) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-13

Functional Status (see Geographic Area Attributes) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-19

Geographic Area Attributes. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-18

Geographic Hierarchy (see Introduction—Geographic Presentation of Data) . . . . . . . . . . . . . . . A-4

Geographic Names Information System (GNIS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-20

Geographic Names Information System Identifier (GNIS ID) (see Codes for

 Geographic Entities) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-20

Geographic Presentation (see Introduction—Geographic Presentation of Data) . . . . . . . . . . . . . A-4

Guam (see Island Areas of the United States) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-20

Hawaiian Home Land (HHL) (see American Indian, Alaska Native, and Native Hawaiian Area) . . A-7

Hierarchical Presentation (see Introduction—Geographic Presentation of Data) . . . . . . . . . . . . . A-4

Incorporated Place (see Place; see County Subdivision) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-21

Independent City (see County or Statistically Equivalent Entity; see Place) . . . . . . . . . . . . . . . A-16

Independent Place (see County Subdivision; see Place) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-17

Internal Point (see Geographic Area Attributes) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-19

Introduction—Geographic Presentation of Data . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-3

Inventory Presentation (see Introduction—Geographic Presentation of Data) . . . . . . . . . . . . . . A-4

Island (see County or Statistically Equivalent Entity) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-16

Island Areas of the United States . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-20

Joint-Use Areas (see American Indian Area, Alaska Native Area, Hawaiian Home Land) . . . . . . . A-7

Land Area (see Area Measurement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-9

Legal/Statistical Area Description (see Geographic Area Attributes). . . . . . . . . . . . . . . . . . . . . A-19

MAF/TIGER (Master Address File/Topologically Integrated Geographic Encoding and 

 Referencing) Database . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-20

Metropolitan Division (see Core Based Statistical Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-15

Metropolitan Statistical Area (see Core Based Statistical Area) . . . . . . . . . . . . . . . . . . . . . . . . . A-15

Micropolitan Statistical Area (see Core Based Statistical Area) . . . . . . . . . . . . . . . . . . . . . . . . . A-15

Minor Civil Division (MCD) (see County Subdivision) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-17

Municipality (see County or Statistically Equivalent Entity; see Place) . . . . . . . . . . . . . . . . . . . A-16

Municipio (see Puerto Rico; see County or Statistically Equivalent Entity) . . . . . . . . . . . . . . . . A-22

Names of Geographic Entities (see Geographic Area Attributes) . . . . . . . . . . . . . . . . . . . . . . . A-19

National Standard Feature Identifier (see Codes for Geographic Entities; see Geographic

 Names Information System [GNIS ID]) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-13

New England City and Town Area (NECTA) (see Core Based Statistical Area). . . . . . . . . . . . . . . A-16

New England City and Town Area Division (see Core Based Statistical Area) . . . . . . . . . . . . . . A-16

Northern Mariana Islands (see Island Areas of the United States). . . . . . . . . . . . . . . . . . . . . . . A-20

Off-Reservation Trust Land (See American Indian, Alaska Native, and Native Hawaiian Area) . . . A-7

Oklahoma Tribal Statistical Area (OTSA) (see American Indian, Alaska Native, and 

 Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-8

Oklahoma Tribal Statistical Area (OTSA) Joint-Use Area (see American Indian, Alaska Native, 

 and Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-8

Outlying Areas (see Island Areas of the United States). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-20

Parish (see County or Statistically Equivalent Entity) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-16


A-2                                                                                                     Geographic Terms and Concepts
                                                                    U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                     Page 26 of 101 PageID 153

Place. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-21

Place Within Consolidated City (see Place) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-21

Population and Housing Unit Density . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

Principal City (see Core Based Statistical Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-16

Public Use Microdata Area. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

Puerto Rico . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

Region (see Census Region) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-12

Rural (see Urban and Rural) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

School District (Elementary, Secondary, and Unified) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-23

State or Statistically Equivalent Entity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-23

State Designated American Indian Statistical Area (SDAISA) (see American Indian,

 Alaska Native, and Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-5

State Designated Tribal Statistical Area (SDTSA) (see American Indian, Alaska Native,

 and Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-8

State Legislative District (Upper and Lower Chambers) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-23

Subbarrio (see Puerto Rico) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22

Subminor Civil Division. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-13

Town (see County Subdivision; see Place) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-17

Township (see County Subdivision) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-17

Tract (see Census Tract) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-12

Tribal Block Group (see Block Group). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-24

Tribal Census Tract (see Census Tract). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-24

Tribal Designated Statistical Area (TDSA) (see American Indian, Alaska Native, 

 and Native Hawaiian Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-9

Trust Land (see American Indian, Alaska Native, and Native Hawaiian Area) . . . . . . . . . . . . . . . A-5

United States . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

United States Minor Outlying Islands (see Island Areas of the United States) . . . . . . . . . . . . . . A-20

United States Virgin Islands (see Island Areas of the United States) . . . . . . . . . . . . . . . . . . . . . A-20

Unorganized Territory (see County Subdivision) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-18

Urban (see Urban and Rural) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

Urban and Rural . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

Urban Cluster (UC) (see Urban and Rural) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

Urban Growth Area (UGA) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-26

Urbanized Area (UA) (see Urban and Rural) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-25

Village (see Place) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-21

Voting District. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-26

Water Area (see Area Measurement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-9

ZIP Code (see ZIP Code Tabulation Area) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-26

ZIP Code Tabulation Area (ZCTA) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-26

Zona Urbana (see Puerto Rico) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A-22


INTRODUCTION
This document provides definitions of geographic terms and concepts as well as a description of the
different methods used to present information for geographic entities in U.S. Census Bureau data products.
This document contains definitions for all geographic area terms and concepts recognized by the Census
Bureau and that may appear in any Census Bureau product presenting demographic and housing data
(geographic terms and concepts unique to the economic census and other specialized surveys and
censuses are not included in this document). The inclusion of a particular term or concept in this

Geographic Terms and Concepts                                                                                                                        A-3
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
      Case 3:18-cv-00212-K Document 25 Filed 07/16/18                              Page 27 of 101 PageID 154

document does not imply that data for that geographic entity or attribute appear in each data
product. For instance, data for tribal census tracts and tribal block groups will appear only in products
providing data according to the American Indian Nation-based geographic hierarchy (see Figure A-2). As
another example, because urban areas are defined on the basis of decennial census population counts,
data for urban areas do not appear in initial decennial census data products. In addition, the description of
both the hierarchical and inventory approaches to presenting data for geographic entities does not imply
that both formats are used in each data product.

GEOGRAPHIC PRESENTATION OF DATA
In Census Bureau data products, geographic entities usually are presented in a hierarchical arrangement or
as an inventory listing.

Hierarchical Presentation
A hierarchical geographic presentation shows the geographic entities in a superior/subordinate
structure. This structure is derived from the legal, administrative, or areal relationships of the entities.
The hierarchical structure is depicted in report tables by means of indentation. For computer-readable
media, the hierarchy is shown in the descriptive name applied to a summary level, with the hierarchy
in order separated by hyphens. An example of hierarchical presentation is the census geographic
hierarchy consisting of census block, within block group, within census tract, within place, within county
subdivision, within county, within state. Graphically, this is shown as:

State
 County
   County subdivision
    Place (or part)
      Census tract (or part)
       Block group (or part)
        Block

Figure A–1, which is a diagram of the geographic hierarchy, presents this information as a series of nesting
relationships. For example, a line joining the lower-level entity place and the higher-level entity state
means that a place cannot cross a state boundary; a line linking census tract and county means that a
census tract cannot cross a county line; and so forth. There is no implied hierarchy between different line
tracks; for example, census tract nests within county, but it may cross a county subdivision boundary even
though county subdivision also nests within county.

Inventory Presentation
An inventory presentation of geographic entities is one in which all entities of the same type are shown in
alphabetical, code, or geographic sequence, without reference to their hierarchical relationships. Generally,
an inventory presentation shows totals for entities that may be split in a hierarchical presentation, such as
place, census tract, or block group. An example of a series of inventory presentations is state, followed by
all the counties in that state, followed by all the places in that state. Graphically, this is shown as:

State

County A
County B
County C

Place X
Place Y
Place Z



A-4                                                                                    Geographic Terms and Concepts
                                                   U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 28 of 101 PageID 155

Nation-Based Hierarchies
Exceptions to the standard hierarchical presentation occur for entities that do not necessarily nest within
states, most notably American Indian, Alaska Native, and Native Hawaiian areas and core based statistical
areas.

American Indian, Alaska Native, and Native Hawaiian Area (AIANNHA) Hierarchy
Because federally recognized American Indian areas can cross state lines, a separate American Indian,
Alaska Native, and Native Hawaiian area (AIANNHA) hierarchy exists for these areas. For instance, the
following American Indian entities can cross state lines: federally recognized American Indian reservations
and/or off-reservation trust lands, tribal subdivisions, tribal designated statistical areas, tribal census
tracts, and tribal block groups. National summary data for American Indian reservations or statistical areas
may be presented as an alphabetical listing of names followed by the state portions of each area. Also, a
tribal census tract or tribal block group may be located in more than one state or county. Data for tribal
census tracts and tribal block groups are presented only in Census Bureau products utilizing the AIANNHA
hierarchy and are not present in products utilizing the standard census geographic hierarchy.

The diagram in Figure A–2 shows geographic relationships among geographic entities in the AIANNHA
hierarchy. It does not show the geographic levels county, county subdivision, and place, among others,
because AIANNHAs do not necessarily nest within them.

DEFINITIONS OF GEOGRAPHIC ENTITIES, TERMS, AND CONCEPTS
The definitions below are for geographic entities and concepts that the Census Bureau includes in its
standard data products. Not all entities, terms, and concepts are shown in any one data product.

AMERICAN INDIAN, ALASKA NATIVE, AND NATIVE HAWAIIAN AREA
There are both legal and statistical American Indian, Alaska Native, and Native Hawaiian areas (AIANNHAs)
for which the Census Bureau provides data. The legal entities consist of federally recognized American
Indian reservations and off-reservation trust land areas, the tribal subdivisions that can divide these
entities, state-recognized American Indian reservations, Alaska Native regional corporations, and Hawaiian
home lands. The statistical entities are Alaska Native village statistical areas, Oklahoma tribal statistical
areas, tribal designated statistical areas, and state designated tribal statistical areas. Statistical tribal
subdivisions can exist within Oklahoma tribal statistical areas. In all cases, these areas are mutually
exclusive in that no AIANNHA can overlap another tribal entity, except for tribal subdivisions, which by
definition subdivide some American Indian entities, and Alaska Native village statistical areas, which exist
within Alaska Native regional corporations. In cases where more than one tribe claims jurisdiction over an
area, the Census Bureau creates a joint-use area as a separate entity to define this area of dual claims. The
following provides more detail about each of the various AIANNHAs.

Legal Entities
Alaska Native regional corporations (ANRCs) were created pursuant to the Alaska Native Claims Settlement
Act (ANCSA) (Pub. L. 92–203, 85 Stat. 688 [1971]; 43 U.S.C. 1602 et seq. [2000]), enacted in 1971 as a
‘‘Regional Corporation’’ and organized under the laws of the state of Alaska to conduct both the for-profit
and non-profit affairs of Alaska Natives within a defined region of Alaska. For the Census Bureau, ANRCs
are considered legal geographic entities. Twelve ANRCs cover the entire state of Alaska except for the
area within the Annette Island Reserve (a federally recognized American Indian reservation under the
governmental authority of the Metlakatla Indian Community). A thirteenth ANRC represents Alaska Natives
who do not live in Alaska and do not identify with any of the twelve corporations. The Census Bureau does
not provide data for this thirteenth ANRC because it has no defined geographic extent and thus, it does
not appear in the TIGER/Line® shapefiles. The Census Bureau offers representatives of the 12 nonprofit
ANRCs in Alaska the opportunity to review and update the ANRC boundaries before each decennial census.


Geographic Terms and Concepts                                                                                 A-5
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
      Case 3:18-cv-00212-K Document 25 Filed 07/16/18                              Page 29 of 101 PageID 156

Each ANRC is assigned a five-digit numeric Federal Information Processing Series (FIPS) code and an eight-
digit National Standard (ANSI) code.

American Indian reservations—Federal (federal AIRs) are areas that have been set aside by the United
States for the use of tribes, the exterior boundaries of which are more particularly defined in the final
tribal treaties, agreements, executive orders, federal statutes, secretarial orders, or judicial determinations.
The Bureau of Indian Affairs maintains a list of all federally recognized tribal governments and makes
final determination of the inventory of federal AIRs. The Census Bureau recognizes federal reservations
(and associated off-reservation trust lands) as territory over which American Indian tribes have primary
governmental authority. American Indian reservations can be legally described as colonies, communities,
Indian colonies, Indian communities, Indian rancherias, Indian reservations, Indian villages, pueblos,
rancherias, ranches, reservations, reserves, settlements, or villages. The Census Bureau contacts
representatives of American Indian tribal governments to identify the boundaries for federal reservations
through its annual Boundary and Annexation Survey. Federal reservations may cross state and all other
area boundaries.

Each federal AIR is assigned a four-digit census code ranging from 0001 through 4799 in alphabetical
order of AIR names nationwide. This nation-based census code is the primary unique identifier for the AIR.
Each federal AIR also is assigned a five-digit Federal Information Processing Series (FIPS) code and an eight-
digit National Standard (ANSI) code. Because FIPS codes are assigned in alphabetical sequence within each
state, the FIPS code will be different in each state for reservations that include territory in more than one
state.

American Indian reservations—State (state AIRs) are reservations established by some state governments
for tribes recognized by the state. A governor-appointed state liaison provides the names and boundaries
for state-recognized American Indian reservations to the Census Bureau. State reservations must be
defined within a single state but may cross county and other types of boundaries. Each state AIR is
assigned a four-digit census code ranging from 9000 through 9499. Each state AIR also is assigned a five-
digit Federal Information Processing Series (FIPS) code and an eight-digit National Standard (ANSI) code.
To further identify and differentiate state-recognized American Indian areas from those that are federally
recognized, the text “(state)” is appended to the AIR name.

American Indian tribal subdivisions, described as additions, administrative areas, areas, chapters, county
districts, communities, districts, or segments, are legal administrative subdivisions of federally recognized
American Indian reservations and off-reservation trust lands or are statistical subdivisions of Oklahoma
tribal statistical areas (OTSAs). These entities are internal units of self-government or administration
that serve social, cultural, and/or economic purposes for the American Indians on the reservations, off-
reservation trust lands, or OTSAs. The Census Bureau obtains the boundary and name information for
tribal subdivisions from tribal governments. Each American Indian tribal subdivision is assigned a three-
digit census code that is alphabetically in order and unique within each American Indian area, a five-digit
Federal Information Processing Series (FIPS) code assigned alphabetically within state, and an eight-digit
National Standard (ANSI) code. Because FIPS codes are assigned in alphabetical sequence within each state,
the FIPS code will be different in each state for tribal subdivisions that include territory in more than one
state. All the summary levels that include tribal subdivisions in the presentation hierarchy will only have
records for the 24 American Indian areas and two OTSAs that actually have tribal subdivisions. The list of
areas and four-digit census codes is:




A-6                                                                                    Geographic Terms and Concepts
                                                   U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 30 of 101 PageID 157

Code       American Indian area
0335       Bois Forte Reservation, MN
0605       Cheyenne River Reservation and Off-Reservation Trust Land. SD
0855       Crow Creek Reservation, SD
0990       Eastern Cherokee Reservation, NC
1110       Flathead Reservation, MT
1150       Fort Belknap Reservation and Off-Reservation Trust Land, MT
1160       Fort Berthold Reservation, ND
1250       Fort Peck Indian Reservation and Off-Reservation Trust Land, MT
1310       Gila River Indian Reservation, AZ
1505       Hopi Reservation and Off-Reservation Trust Land, AZ
1830       Lac Vieux Desert Reservation, MI
1860       Lake Traverse Reservation and Off-Reservation Trust Land, ND-SD
2175       Menominee Reservation, WI
2430       Navajo Nation Reservation and Off-Reservation Trust Land, AZ-NM-UT
2490       Northern Cheyenne Indian Reservation and Off-Reservation Trust Land, MT
2810       Pine Ridge Reservation, SD-NE
3100       Red Lake Reservation, MN
3235       Rosebud Indian Reservation and Off-Reservation Trust Land, SD
3340       Salt River Reservation, AZ
3680       Shakopee Mdewakanton Sioux Community, MN
3935       Spirit Lake Reservation, ND
3970       Standing Rock Reservation, SD-ND
4200       Tohono O’odham Nation Reservation and Off-Reservation Trust Land, AZ
4290       Tulalip Reservation and Off-Reservation Trust Land, WA
5550       Cherokee OTSA, OK
5590       Choctaw OTSA, OK

Hawaiian home lands (HHLs) are areas held in trust for Native Hawaiians by the state of Hawaii, pursuant
to the Hawaiian Homes Commission Act of 1920, as amended. The Census Bureau obtains the names
and boundaries for HHLs from state officials. The names of the home lands are based on the traditional
ahupua‘a names of the Crown and government lands of the Kingdom of Hawaii from which the lands were
designated or from the local name for an area. Being lands held in trust, HHLs are treated as equivalent to
off-reservation trust land areas with the American Indian Trust Land/Hawaiian Home Land Indicator coded
as “T.” Each HHL is assigned a national four-digit census code ranging from 5000 through 5499 based on
the alphabetical sequence of each HHL name, a five-digit Federal Information Processing Series (FIPS) code
in alphabetical order within the state of Hawaii, and an eight-digit National Standard (ANSI) code.

Joint-use areas, as applied to any American Indian area by the Census Bureau, means an area that is
administered jointly and/or claimed by two or more American Indian tribes. The Census Bureau designates
legal joint-use areas as unique geographic entities equivalent to a reservation for the purpose of
presenting statistical data. Each is assigned a national four-digit census code ranging from 4800 through
4999 based on the alphabetical sequence of each joint-use area name, a five-digit Federal Information
Processing Series (FIPS) code in alphabetical order within state, and an eight-digit National Standard (ANSI)
code. No joint-use areas exist in multiple states.

Off-reservation trust lands are areas for which the United States holds title in trust for the benefit of a
tribe (tribal trust land) or for an individual American Indian (individual trust land). Trust lands can be
alienated or encumbered only by the owner with the approval of the Secretary of the Interior or his/her
authorized representative. Trust lands may be located on or off a reservation; however, the Census Bureau
tabulates data only for off-reservation trust lands with the off-reservation trust lands always associated
with a specific federally recognized reservation and/or tribal government. As for federally recognized
reservations, the Census Bureau obtains the boundaries of off-reservation trust lands from American Indian

Geographic Terms and Concepts                                                                                 A-7
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
      Case 3:18-cv-00212-K Document 25 Filed 07/16/18                              Page 31 of 101 PageID 158

tribal governments through its annual Boundary and Annexation Survey. The Census Bureau recognizes
and tabulates data for reservations and off-reservation trust lands because American Indian tribes have
primary governmental authority over these lands. The Census Bureau does not identify fee land (or land in
fee simple status) or restricted fee lands as specific geographic areas.

Off-reservation trust lands are assigned a four-digit census code, a five-digit Federal Information
Processing Series (FIPS) code, and an eight-digit National Standard (ANSI) code that is the same as that
for the reservation with which they are associated. Trust lands associated with tribes that do not have a
reservation are assigned unique codes. The census code is assigned by tribal name within the range 0001
through 4799, interspersed alphabetically among the reservation names. Because FIPS codes are assigned
in alphabetical sequence within each state, the FIPS code will be different in each state for off-reservation
trust lands that include territory in more than one state. In decennial census data tabulations, the
American Indian Trust Land/Hawaiian Home Land Indicator uniquely identifies off-reservation trust lands,
as well as reservation or statistical area only portions, Hawaiian home lands, and records that consist of
the combination of reservation and off-reservation trust land territory.

Statistical Entities
Alaska Native village statistical areas (ANVSAs) represent the more densely settled portion of Alaska
Native villages (ANVs). The ANVs constitute associations, bands, clans, communities, groups, tribes, or
villages recognized pursuant to the Alaska Native Claims Settlement Act of 1971 (Public Law 92-203).
Because ANVs do not have boundaries that are easy to locate, the Census Bureau does not delimit ANVs.
Instead, the Census Bureau presents statistical data for ANVSAs that represent the settled portion of
ANVs. In addition, each ANVSA should include only an area where Alaska Natives, especially members of
the defining ANV, represent a substantial proportion of the population during at least one season of the
year. ANVSAs are delineated or reviewed by officials of the ANV or, if no ANV official chose to participate
in the delineation process, officials of the Alaska Native Regional Corporation (ANRC) in which the ANV is
located. An ANVSA may not overlap the boundary of another ANVSA or an American Indian reservation.
Each ANVSA is alphabetically assigned a national four-digit census code ranging from 6000 through 7999,
an alphabetically assigned state-based five-digit Federal Information Processing Series (FIPS) code, and an
eight-digit National Standard (ANSI) code.

Oklahoma tribal statistical areas (OTSAs) are statistical entities identified and delineated by the Census
Bureau in consultation with federally recognized American Indian tribes that had a former reservation
in Oklahoma. The boundary of an OTSA will be that of the former reservation in Oklahoma, except
where modified by agreements with neighboring tribes for statistical data presentation purposes. Each
OTSA is alphabetically assigned a national four-digit census code ranging from 5500 through 5899, an
alphabetically assigned state-based five-digit Federal Information Processing Series (FIPS) code, and an
eight-digit National Standard (ANSI) code. Tribal subdivisions are allowed within OTSAs and exist for the
2010 Census in the Cherokee and Choctaw OTSAs.

Oklahoma tribal statistical area (OTSA) Joint-Use Areas, as applied to OTSAs by the Census Bureau, means
an area that is administered jointly and/or claimed by two or more American Indian tribes that have a
delineated OTSA. The Census Bureau designates statistical joint-use areas as unique geographic entities
for the purpose of presenting statistical data. Only Oklahoma tribal statistical areas have statistical joint-
use areas. Each Oklahoma tribal joint-use area is alphabetically assigned a national four-digit census code
ranging from 5900 through 5999, an alphabetically assigned state-based five-digit Federal Information
Processing Series (FIPS) code, and an eight-digit National Standard (ANSI) code.

State designated tribal statistical areas (SDTSAs—referred to as State Designated American Indian
Statistical Areas for Census 2000) are statistical entities for state-recognized American Indian tribes
that do not have a state-recognized land base (reservation). SDTSAs are identified and delineated for
the Census Bureau by a state liaison identified by the governor’s office in each state. SDTSAs generally
encompass a compact and contiguous area that contains a concentration of people who identify with a


A-8                                                                                    Geographic Terms and Concepts
                                                   U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                                 Page 32 of 101 PageID 159

state-recognized American Indian tribe and in which there is structured or organized tribal activity. An
SDTSA may not be located in more than one state and it may not include area within any other American
Indian, Alaska Native, or Native Hawaiian area. Each SDTSA is alphabetically assigned a four-digit
census code ranging from 9500 through 9998, an alphabetically assigned state-based five-digit Federal
Information Processing Series (FIPS) code, and an eight-digit National Standard (ANSI) code.

Tribal designated statistical areas (TDSAs) are statistical entities identified and delineated for the Census
Bureau by federally recognized American Indian tribes that do not currently have a federally recognized
land base (reservation or off-reservation trust land). A TDSA generally encompasses a compact and
contiguous area that contains a concentration of individuals who identify with a federally recognized
American Indian tribe and in which there is structured or organized tribal activity. A TDSA may be
located in more than one state (although none do for 2010), but it may not include area within any other
American Indian, Alaska Native, or Native Hawaiian area. Each TDSA is alphabetically assigned a four-digit
census code ranging from 8000 through 8999, an alphabetically assigned state-based five-digit Federal
Information Processing Series (FIPS) code, and an eight-digit National Standard (ANSI) code.

American Indian, Alaska Native, and Native Hawaiian Area (AIANNHA) Codes—AIANNHAs are
represented in Census Bureau products using a national four-character numeric census code field and a
single alphabetic character American Indian trust land/Hawaiian home land indicator field. The census
codes are assigned in alphabetical order in assigned ranges by AIANNHA type nationwide, except that
joint-use areas appear at the end of the code range. Off-reservation trust lands are assigned the same code
as the reservation with which they are associated. Trust lands associated with tribes that do not have a
reservation are assigned codes based on tribal name. Federal Information Processing Series (FIPS) codes for
all AIANNHAs range from 00001 through 89999, without differentiation among the many types of areas.

The type of AIANNHA can be identified either by the census code or by the FIPS class code. The range
of census codes allocated to each AIANNHA and the valid FIPS class code(s) associated with each are as
follows:

                                     AIANNHA type                                                                       Census                 Valid FIPS
                                                                                                                     code range            class code(s)*
Federal American Indian reservation (AIR)/off-reservation
 trust land . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     .   .   .   .   .   .      0001   to   4799   D1, D2, D3, D5, D8
Joint-use federal AIR . . . . . . . . . . . . . . . . . . . . . . . . . . . .           .   .   .   .   .   .      4800   to   4999                   D0
Hawaiian home land . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            .   .   .   .   .   .      5000   to   5499                   F1
Oklahoma tribal statistical area (OTSA) . . . . . . . . . . . . . . .                   .   .   .   .   .   .      5500   to   5899                   D6
Joint-use OTSA . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        .   .   .   .   .   .      5900   to   5999                   D0
Alaska Native village statistical area (ANVSA) . . . . . . . . . .                      .   .   .   .   .   .      6000   to   7999                   E1
Tribal designated statistical area (TDSA) . . . . . . . . . . . . . .                   .   .   .   .   .   .      8000   to   8999                   D6
State AIR . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   .   .   .   .   .   .      9000   to   9499                   D4
State designated tribal statistical area (SDTSA) . . . . . . . . .                      .   .   .   .   .   .      9500   to   9998                   D9

                                                                                                                American Indian, Alaska Native, Native
                                     AIANNHA type
                                                                                                                       Hawaiian area indicator
Hawaiian home land . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              T
American Indian reservation including associated                                                                                      M
 off-reservation trust land . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
American Indian reservation or statistical entity only . . . . . . . . . .                                                            R
Off-reservation trust land only . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 T
    * Refer to the Data Dictionary for specific value descriptions.


AREA MEASUREMENT
Area measurement data provide the size, in square units (metric and nonmetric) of geographic entities for
which the Census Bureau tabulates and disseminates data. Area is calculated from the specific boundary

Geographic Terms and Concepts                                                                                                                         A-9
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                 Page 33 of 101 PageID 160

recorded for each entity in the Census Bureau’s geographic database (see “MAF/TIGER Database”). The
Census Bureau provides area measurement data for both land area and water area. The water area
figures include inland, coastal, Great Lakes, and territorial sea water. Inland water consists of any lake,
reservoir, pond, or similar body of water that is recorded in the Census Bureau’s geographic database. It
also includes any river, creek, canal, stream, or similar feature that is recorded in that database as a two-
dimensional feature (rather than as a single line). The portions of the oceans and related large embayments
(such as Chesapeake Bay and Puget Sound), the Gulf of Mexico, and the Caribbean Sea that belong to the
United States and its territories are classified as coastal and territorial waters; the Great Lakes are treated
as a separate water entity. Rivers and bays that empty into these bodies of water are treated as inland
water from the point beyond which they are narrower than 1 nautical mile across. Identification of land
and inland, coastal, territorial, and Great Lakes waters is for data presentation purposes only and does not
necessarily reflect their legal definitions.

Land and water area measurements may disagree with the information displayed on Census Bureau
maps and in the MAF/TIGER database because, for area measurement purposes, hydrologic features
identified as intermittent water, glacier, or swamp are reported as land area. The water area measurement
reported for some geographic entities includes water that is not included in any lower-level geographic
entity. Therefore, because water is contained only in a higher-level geographic entity, summing the water
measurements for all the component lower-level geographic entities will not yield the water area of that
higher-level entity. This occurs, for example, where water is associated with a county but is not within
the legal boundary of any county subdivision. The accuracy of any area measurement data is limited by
the accuracy inherent in (1) the location and shape of the various boundary information in the MAF/TIGER
database, (2) the identification, and classification of water bodies coupled with the location and shapes of
the shorelines of water bodies in that database, and (3) rounding affecting the last digit in all operations
that compute and/or sum the area measurements.

BLOCK
Blocks (Census Blocks) are statistical areas bounded by visible features, such as streets, roads, streams,
and railroad tracks, and by nonvisible boundaries, such as selected property lines and city, township,
school district, and county limits and short line-of-sight extensions of streets and roads. Generally, census
blocks are small in area; for example, a block in a city bounded on all sides by streets. Census blocks in
suburban and rural areas may be large, irregular, and bounded by a variety of features, such as roads,
streams, and transmission lines. In remote areas, census blocks may encompass hundreds of square miles.
Census blocks cover the entire territory of the United States, Puerto Rico, and the Island Areas. Census
blocks nest within all other tabulated census geographic entities and are the basis for all tabulated data.

Census Block Numbers—Census blocks are numbered uniquely with a four-digit census block number
from 0000 to 9999 within census tract, which nest within state and county. The first digit of the census
block number identifies the block group. Block numbers beginning with a zero (in Block Group 0) are only
associated with water-only areas.

BLOCK GROUP
Block Groups (BGs) are statistical divisions of census tracts, are generally defined to contain between
600 and 3,000 people, and are used to present data and control block numbering. A block group consists
of clusters of blocks within the same census tract that have the same first digit of their four-digit census
block number. For example, blocks 3001, 3002, 3003, . . ., 3999 in census tract 1210.02 belong to BG
3 in that census tract. Most BGs were delineated by local participants in the Census Bureau’s Participant
Statistical Areas Program. The Census Bureau delineated BGs only where a local or tribal government
declined to participate, and a regional organization or State Data Center was not available to participate.

A BG usually covers a contiguous area. Each census tract contains at least one BG, and BGs are uniquely
numbered within the census tract. Within the standard census geographic hierarchy, BGs never cross state,
county, or census tract boundaries but may cross the boundaries of any other geographic entity. Tribal

A-10                                                                                   Geographic Terms and Concepts
                                                   U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 34 of 101 PageID 161

census tracts and tribal BGs are separate and unique geographic areas defined within federally recognized
American Indian reservations and can cross state and county boundaries (see “Tribal Census Tract” and
“Tribal Block Group”). The tribal census tracts and tribal block groups may be completely different from the
census tracts and block groups defined by state and county.

Block Group Codes—BGs have a valid code range of 0 through 9. BGs beginning with a zero only contain
water area and are generally in coastal and Great Lakes water and territorial seas, but also in larger inland
water bodies. For the 2010 Census, a block group 0 for the water portion can be delineated in any census
tract and not just those census tracts also defined to only include water area. This is a change from Census
2000, when block groups coded 0 only existed in census tracts with a code of 0. To differentiate between
county-based block groups and tribal block groups, the codes for tribal block groups use an alphabetic
character (see “Tribal Block Group”).

BOUNDARY CHANGES
Many of the legal and statistical entities for which the Census Bureau tabulates decennial census data have
had boundary changes between Census 2000 and the 2010 Census; that is, between January 1, 2000, and
January 1, 2010. Boundary changes to legal entities result from:

1.	 Annexations to or detachments from legally established governmental units.

2.	 Mergers or consolidations of two or more governmental units.

3.	 Establishment of new governmental units.

4.	 Disincorporations or disorganizations of existing governmental units.

5.	 Changes in treaties or executive orders and governmental action placing additional lands in trust.

6.	 Decisions by federal, state, and local courts.

7.	 Redistricting for congressional districts and state legislative districts.

8.	 Ancillary changes to legal or statistical areas as a result of annexations and detachments; for example,
    reduction of territory for a census designated place as the result of an annexation by an adjacent
    incorporated place.

9.	 Changes to correct errors or more accurately place boundaries relative to visible features.

10. Changes to statistical areas as the result of concept or criteria changes.

All legal boundaries used for the 2010 Census are those reported to the Census Bureau to be in effect as
of January 1, 2010. The statistical area boundaries also reflect a January 1, 2010, date for delineation.
The legal boundaries are collected through various surveys and programs: the Boundary and Annexation
Survey, Redistricting Data Program, and the School District Review Program. There is a Geographic Change
User Note Indicator in data files that identifies entities for which there have been changes to boundaries or
data attributes (for example, legal/statistical area description or code) between the two censuses.

Statistical entity boundaries generally are reviewed by local, state, or tribal governments and can have
changes to adjust boundaries to visible features to better define the geographic area each encompasses or
to account for shifts and changes in the population distribution within an area. Where statistical areas have
a relationship to legal area boundaries, complementary updates occur; for example, removing territory
from a census designated place if annexed to an incorporated place or contracting a tribal designated
statistical area if the area is added to an American Indian reservation.

The historical counts shown for states, counties, county subdivisions, places, American Indian, Alaska
Native, and Native Hawaiian areas, and other areas are not updated for boundary changes and thus, reflect
the population and housing units in each entity as delineated at the time of each decennial census.


Geographic Terms and Concepts                                                                                A-11
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                Page 35 of 101 PageID 162

CENSUS DIVISION
Census Divisions are groupings of states and the District of Columbia that are subdivisions of the four
census regions (see “Census Region”). There are nine census divisions, and each is identified by a single-
digit census code. Puerto Rico and the Island Areas are not part of any census region or census division.
For a list of all census regions, census divisions, and their constituent states, see Figure A–3.

CENSUS REGION
Census Regions are groupings of states and the District of Columbia that subdivide the United States
for the presentation of census data. There are four census regions—Northeast, Midwest, South, and West.
Each of the four census regions is divided into two or more census divisions (see “Census Division”).
Each census region is identified by a single-digit census code. Puerto Rico and the Island Areas are not
part of any census region or census division. For a list of all census regions, census divisions, and their
constituent states, see Figure A–3.

CENSUS TRACT
Census Tracts are small, relatively permanent statistical subdivisions of a county or equivalent entity
that are updated by local participants prior to each decennial census as part of the Census Bureau’s
Participant Statistical Areas Program. The Census Bureau delineates census tracts in situations where no
local participant existed or where state, local, or tribal governments declined to participate. The primary
purpose of census tracts is to provide a stable set of geographic units for the presentation of statistical
data.

Census tracts generally have a population size between 1,200 and 8,000 people, with an optimum size of
4,000 people. A census tract usually covers a contiguous area; however, the spatial size of census tracts
varies widely depending on the density of settlement. Census tract boundaries are delineated with the
intention of being maintained over a long time so that statistical comparisons can be made from census to
census. Census tracts occasionally are split due to population growth or merged as a result of substantial
population decline.

Census tract boundaries generally follow visible and identifiable features. They may follow nonvisible
legal boundaries, such as minor civil division (MCD) or incorporated place boundaries in some states
and situations, to allow for census-tract-to-governmental-unit relationships where the governmental
boundaries tend to remain unchanged between censuses. State and county boundaries always are census
tract boundaries in the standard census geographic hierarchy. Tribal census tracts are a unique geographic
entity defined within federally recognized American Indian reservations and off-reservation trust lands and
can cross state and county boundaries. Tribal census tracts may be completely different from the census
tracts and block groups defined by state and county (see “Tribal Census Tract”).

Census Tract Codes and Numbers—Census tracts are identified by an up to four-digit integer number
and may have an optional two-digit suffix; for example 1457.02 or 23. The census tract codes consist of
six digits with an implied decimal between the fourth and fifth digit corresponding to the basic census
tract number but with leading zeroes and trailing zeroes for census tracts without a suffix. The tract
number examples above would have codes of 145702 and 002300, respectively.

Some ranges of census tract numbers in the 2010 Census are used to identify distinctive types of census
tracts. The code range in the 9400s is used for those census tracts with a majority of population, housing,
or land area associated with an American Indian area and matches the numbering used in Census 2000.
The code range in the 9800s is new for 2010 and is used to specifically identify special land-use census
tracts; that is, census tracts defined to encompass a large area with little or no residential population
with special characteristics, such as large parks or employment areas. The range of census tracts in the
9900s represents census tracts delineated specifically to cover large bodies of water. This is different from
Census 2000 when water-only census tracts were assigned codes of all zeroes (000000); 000000 is no
longer used as a census tract code for the 2010 Census.

A-12                                                                                  Geographic Terms and Concepts
                                                  U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 36 of 101 PageID 163

The Census Bureau uses suffixes to help identify census tract changes for comparison purposes. Census
tract suffixes may range from .01 to .98. As part of local review of existing census tracts before each
census, some census tracts may have grown enough in population size to qualify as more than one census
tract. When a census tract is split, the split parts usually retain the basic number but receive different
suffixes. For example, if census tract 14 is split, the new tract numbers would be 14.01 and 14.02. In a
few counties, local participants request major changes to, and renumbering of, the census tracts; however,
this is generally discouraged. Changes to individual census tract boundaries usually do not result in
census tract numbering changes.

Tribal Census Tracts in American Indian Areas—The Census Bureau introduced the concept of tribal
census tracts for the first time for Census 2000. Tribal census tracts for that census consisted of the
standard county-based census tracts tabulated within American Indian areas, thus allowing for the tracts
to ignore state and county boundaries for tabulation. The Census Bureau assigned the 9400 range of
numbers to identify specific tribal census tracts; however, not all tribal census tracts used this numbering
scheme. For the 2010 Census, tribal census tracts no longer are tied to or numbered in the same way as
the county-based census tracts (see “Tribal Census Tract”).

CODES FOR GEOGRAPHIC ENTITIES
The Census Bureau and other federal agencies assign codes to geographic entities to facilitate the
organization, presentation, and exchange of statistical data and other information. Geographic entity
codes allow for the unambiguous identification of individual entities, generally within a specific,
higher-level geographic entity (for example, county codes are assigned uniquely within each state). For
geographic entities that have names (such as states, counties, places, county subdivisions, urban areas,
and metropolitan and micropolitan statistical areas), codes generally are assigned alphabetically based on
name.

Census Bureau data products contain several types of geographic entity codes: Federal Information
Processing Series (FIPS), American National Standards Institute (ANSI), and Census Bureau codes.

Federal Information Processing Series (FIPS)—These are codes formerly known as Federal Information
Processing Standards codes, until the National Institute of Standards and Technology (NIST) announced
its decision in 2005 to remove geographic entity codes from its oversight. The Census Bureau continues
to maintain and issue codes for geographic entities covered under FIPS oversight, albeit with a revised
meaning for the FIPS acronym. Geographic entities covered under FIPS include states, counties,
congressional districts, core based statistical areas, places, county subdivisions, subminor civil divisions,
consolidated cities, and all types of American Indian, Alaska Native, and Native Hawaiian areas. FIPS codes
are assigned alphabetically according to the name of the geographic entity and may change to maintain
alphabetic sort when new entities are created or names change. FIPS codes for specific geographic
entity types are usually unique within the next highest level of geographic entity with which a nesting
relationship exists. For example, FIPS state, congressional district, and core based statistical area codes are
unique within nation; FIPS county, place, county subdivision, and subminor civil division codes are unique
within state. The codes for American Indian, Alaska Native, and Native Hawaiian areas also are unique
within state; those areas in multiple states will have different codes for each state.

American National Standards Institute (ANSI)—With the removal of geographic entities from Federal
Information Processing Standards oversight, the Census Bureau and other federal agencies have sought
American National Standards Institute (ANSI) oversight authority for geographic entity codes. These codes
are referred to as “National Standard” codes in some Census Bureau products. Geographic entities covered
under ANSI include states, counties, congressional districts, core based statistical areas and related
statistical areas, places, county subdivisions, consolidated cities, subminor civil divisions, and all types of
American Indian, Alaska Native, and Native Hawaiian areas—Alaska Native regional corporations, Alaska
Native village statistical areas, American Indian reservation and off-reservation trust lands, American



Geographic Terms and Concepts                                                                                A-13
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                 Page 37 of 101 PageID 164

Indian tribal subdivisions, Hawaiian home lands, Oklahoma tribal statistical areas, state designated tribal
statistical areas, and tribal designated statistical areas.

Relationship between FIPS and ANSI codes—Geographic entities for which NIST formerly provided Federal
Information Processing Standards oversight will continue to be referred to as FIPS (Federal Information
Processing Series) codes in some Census Bureau data products, despite the Census Bureau having sought
ANSI oversight authority. These geographic entities include states, counties, congressional districts, and
core based statistical areas and related statistical areas. The Census Bureau continues to maintain and
issue codes for these entities following the same structure and without change to existing codes, except
when necessary to maintain alphabetic sorting based on names of entities. The Census Bureau also
continues to maintain and issue five-digit FIPS codes (formerly FIPS 55) for places, county subdivisions,
consolidated cities, subminor civil divisions, Alaska Native Regional Corporations, and all types of
American Indian, Alaska Native, and Native Hawaiian areas but is not seeking ANSI oversight authority
for these entity codes. The U.S. Geological Survey has ANSI oversight authority for its Geographic Names
Information System identifier (GNIS ID), which has been adopted as a National Standard (NS) code for
states, counties, places, county subdivisions, subminor civil divisions, consolidated cities, Alaska Native
Regional Corporations, and all types of American Indian, Alaska Native, and Native Hawaiian areas. The
Census Bureau will include the GNIS ID for these entities in its data products, portrayed as an eight-digit
character numeric code and identified as “ANSI.” NS codes (GNIS IDs) will not sort geographic entities in
alphabetical order based on name or title, as is the case with FIPS codes.

Census Bureau codes—The Census Bureau assigns and issues codes for a number of geographic entities for
which FIPS or ANSI codes are not available, and sometimes in addition to FIPS and ANSI codes. Geographic
entities for which census codes are assigned and issued in Census Bureau data products include regions,
divisions, census tracts, block groups, census blocks, urban areas, and all types of American Indian,
Alaska Native, and Native Hawaiian areas. Some codes—voting district, state legislative district, and school
district—use standards established by the states—or for school districts, the U.S. Department of Education.

CONGRESSIONAL DISTRICT

Congressional Districts are the 435 areas from which people are elected to the U.S. House of
Representatives. After the apportionment of congressional seats among the states based on decennial
census population counts, each state with multiple seats is responsible for establishing congressional
districts for the purpose of electing representatives. Each congressional district is to be as equal in
population to all other congressional districts in a state as practicable. For the District of Columbia, Puerto
Rico, and each Island Area, a separate code is used to identify the entire areas of these state-equivalent
entities as having a single nonvoting delegate.
Congressional District Codes—Congressional districts are identified by a two-character numeric Federal
Information Processing Series (FIPS) code numbered uniquely within state. The District of Columbia, Puerto
Rico, and the Island Areas have code 98 assigned identifying their nonvoting delegate status with respect
to representation in Congress:

    01 to 53—Congressional district codes
    00—At large (single district for state)
    98—Nonvoting delegate

CONSOLIDATED CITY
Consolidated City—A consolidated government is a unit of local government for which the functions of
an incorporated place and its county or minor civil division (MCD) have merged. This action results in both
the primary incorporated place and the county or MCD continuing to exist as legal entities, even though
the county or MCD performs few or no governmental functions and has few or no elected officials. Where
this occurs—and where one or more other incorporated places in the county or MCD continue to function
as separate governments, even though they have been included in the consolidated government—the

A-14                                                                                   Geographic Terms and Concepts
                                                   U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 38 of 101 PageID 165

primary incorporated place is referred to as a consolidated city. The Census Bureau classifies the separately
incorporated places within the consolidated city as place entities and creates a separate place (balance)
record for the portion of the consolidated city not within any other place.

Consolidated City (Balance) Portions refer to the areas of a consolidated city not included in another
separately incorporated place. For example, Butte-Silver Bow, MT, is a consolidated city (former Butte city
and Silver Bow County) that includes the separately incorporated municipality of Walkerville city. The area
of the consolidated city that is not in Walkerville city is assigned to Butte-Silver Bow (balance). The name
always includes the “(balance)” identifier (see “Place”).

CORE BASED STATISTICAL AREAS AND RELATED STATISTICAL AREAS
Core Based Statistical Areas (CBSAs) consist of the county or counties or equivalent entities associated
with at least one core (urbanized area or urban cluster) of at least 10,000 population, plus adjacent
counties having a high degree of social and economic integration with the core as measured through
commuting ties with the counties associated with the core. The general concept of a CBSA is that of a
core area containing a substantial population nucleus, together with adjacent communities having a high
degree of economic and social integration with that core. The term “core based statistical area” became
effective in 2003 and refers collectively to metropolitan statistical areas and micropolitan statistical areas.
The U.S. Office of Management and Budget (OMB) defines CBSAs to provide a nationally consistent set of
geographic entities for the United States and Puerto Rico for use in tabulating and presenting statistical
data. Current CBSAs are based on application of the 2000 standards (published in the Federal Register of
December 27, 2000) with Census 2000 data. The first set of areas defined based on the 2000 standards
were announced on June 6, 2003; subsequent updates have been made to the universe of CBSAs and
related statistical areas. No CBSAs are defined in the Island Areas. Statistical areas related to CBSAs include
metropolitan divisions, combined statistical areas (CSAs), New England city and town areas (NECTAs),
NECTA divisions, and combined NECTAs.

Combined New England City and Town Areas (Combined NECTAs) consist of two or more adjacent
New England city and town areas (NECTAs) that have substantial employment interchange. The NECTAs
that combine to create a combined NECTA retain separate identities within the larger combined NECTA.
Because combined NECTAs represent groupings of NECTAs, they should not be ranked or compared with
individual NECTAs.

Combined Statistical Areas (CSAs) consist of two or more adjacent CBSAs that have substantial
employment interchange. The CBSAs that combine to create a CSA retain separate identities within the
larger CSA. Because CSAs represent groupings of metropolitan and/or micropolitan statistical areas, they
should not be ranked or compared with individual metropolitan and micropolitan statistical areas.

Metropolitan Divisions are smaller groupings of counties or equivalent entities defined within a
metropolitan statistical area containing a single core with a population of at least 2.5 million. Not all
metropolitan statistical areas with urbanized areas of this size will contain metropolitan divisions. A
metropolitan division consists of one or more main/secondary counties that represent an employment
center or centers, plus adjacent counties associated with the main/secondary county or counties through
commuting ties. Because metropolitan divisions represent subdivisions of larger metropolitan statistical
areas, it is not appropriate to rank or compare metropolitan divisions with metropolitan and micropolitan
statistical areas. It would be appropriate to rank and compare metropolitan divisions.

Metropolitan Statistical Areas are CBSAs associated with at least one urbanized area that has a
population of at least 50,000. The metropolitan statistical area comprises the central county or counties or
equivalent entities containing the core, plus adjacent outlying counties having a high degree of social and
economic integration with the central county or counties as measured through commuting.

Micropolitan Statistical Areas are CBSAs associated with at least one urban cluster that has a
population of at least 10,000 but less than 50,000. The micropolitan statistical area comprises the central


Geographic Terms and Concepts                                                                                A-15
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
    Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                                                  Page 39 of 101 PageID 166

county or counties or equivalent entities containing the core, plus adjacent outlying counties having a
high degree of social and economic integration with the central county or counties as measured through
commuting.

New England City and Town Areas (NECTAs) are an alternative set of geographic entities, similar in
concept to the county-based CBSAs defined nationwide, that OMB defines in New England based on county
subdivisions—usually cities and towns. NECTAs are defined using the same criteria as county-based CBSAs,
and, similar to CBSAs, NECTAs are categorized as metropolitan or micropolitan.

New England City and Town Area (NECTA) Divisions are smaller groupings of cities and towns
defined within a NECTA containing a single core with a population of at least 2.5 million. A NECTA division
consists of a main city or town that represents an employment center, plus adjacent cities and towns
associated with the main city or town through commuting ties. Each NECTA division must contain a total
population of 100,000 or more. Because NECTA divisions represent subdivisions of larger NECTAs, it is
not appropriate to rank or compare NECTA divisions with NECTAs. It would be appropriate to rank and
compare NECTA divisions.

Principal Cities of a CBSA (or NECTA) include the largest incorporated place with a population of at
least 10,000 in the CBSA, or if no incorporated place of at least 10,000 population is present in the CBSA,
the largest incorporated place or census designated place (CDP) in the CBSA. Principal cities also include
any additional incorporated place or CDP with a population of at least 250,000 or in which 100,000 or
more persons work; any additional incorporated place or CDP with a population of at least 50,000 and
in which the number of jobs meets or exceeds the number of employed residents; and any additional
incorporated place or CDP with a population of at least 10,000 but less than 50,000 and at least one-third
the population size of the largest place and in which the number of jobs meets or exceeds the number of
employed residents. Note that there are some places designated as principal cities of NECTAs that are not
principal cities of a CBSA.

Core Based Statistical Area Codes—Metropolitan statistical areas, micropolitan statistical areas,
NECTAs, metropolitan divisions, and NECTA divisions are identified using a five-digit numeric code that is
assigned alphabetically based on title and is unique within the nation. The combined statistical area and
combined NECTAs are identified using a three-digit numeric code, also assigned alphabetically based on
title and unique within the nation. Codes, length, and ranges are:

                                    CBSA entity                                                                                              Length           Range*
Metropolitan statistical area . . . . . . . . . .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       Five   digits   10000–49999
Micropolitan statistical area . . . . . . . . . .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       Five   digits   10000–49999
Metropolitan division . . . . . . . . . . . . . . .      .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       Five   digits   10004–49994
New England city and town area (NECTA)                   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       Five   digits   70000–79999
NECTA division . . . . . . . . . . . . . . . . . . . .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       Five   digits   70004–79994
Combined statistical area . . . . . . . . . . . .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .      Three   digits       100–599
Combined NECTA . . . . . . . . . . . . . . . . . .       .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .      Three   digits       700–799
    * Metropolitan divisions and NECTA divisions are distinguished from metropolitan and micropolitan statistical areas and NECTAs by
 codes that end in “4.” Metropolitan and micropolitan statistical areas and NECTAs cannot end in “4.”



COUNTY OR STATISTICALLY EQUIVALENT ENTITY
The primary legal divisions of most states are termed counties. In Louisiana, these divisions are known as
parishes. In Alaska, which has no counties, the equivalent entities are the organized boroughs, city and
boroughs, municipalities, and census areas; the latter of which are delineated cooperatively for statistical
purposes by the state of Alaska and the Census Bureau. In four states (Maryland, Missouri, Nevada, and
Virginia), there are one or more incorporated places that are independent of any county organization and
thus constitute primary divisions of their states. These incorporated places are known as independent
cities and are treated as equivalent entities for purposes of data presentation. The District of Columbia


A-16                                                                                                                                   Geographic Terms and Concepts
                                                                                 U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                         Page 40 of 101 PageID 167

and Guam have no primary divisions, and each area is considered an equivalent entity for purposes of
data presentation. All of the counties in Connecticut and Rhode Island and nine counties in Massachusetts
were dissolved as functioning governmental entities; however, the Census Bureau continues to present
data for these historical entities in order to provide comparable geographic units at the county level of
the geographic hierarchy for these states and represents them as nonfunctioning legal entities in data
products. The Census Bureau treats the following entities as equivalents of counties for purposes of data
presentation: municipios in Puerto Rico, districts and islands in American Samoa, municipalities in the
Commonwealth of the Northern Mariana Islands, and islands in the U.S. Virgin Islands. Each county or
statistically equivalent entity is assigned a three-character numeric Federal Information Processing Series
(FIPS) code based on alphabetical sequence that is unique within state and an eight-digit National Standard
feature identifier.

COUNTY SUBDIVISION
County Subdivisions are the primary divisions of counties and equivalent entities. They include
census county divisions, census subareas, minor civil divisions, and unorganized territories and can be
classified as either legal or statistical. Each county subdivision is assigned a five-character numeric Federal
Information Processing Series (FIPS) code based on alphabetical sequence within state and an eight-digit
National Standard feature identifier.

Legal Entities
Minor civil divisions (MCDs) are the primary governmental or administrative divisions of a county in many
states (parishes in Louisiana) and the county equivalents in Puerto Rico and the Island Areas. MCDs in
the United States, Puerto Rico, and the Island Areas represent many different kinds of legal entities with a
wide variety of governmental and/or administrative functions. MCDs include areas variously designated
as barrios, barrios-pueblo, boroughs, charter townships, commissioner districts, election districts, election
precincts, gores, grants, locations, magisterial districts, parish governing authority districts, plantations,
purchases, reservations, supervisor’s districts, towns, and townships. The Census Bureau recognizes MCDs
in 29 states, Puerto Rico, and the Island Areas. The District of Columbia has no primary divisions and is
considered equivalent to an MCD for statistical purposes. (It is also considered a state equivalent and a
county equivalent.) The 29* states in which MCDs are recognized are:

Arkansas                                       Michigan                               Ohio
Connecticut                                    Minnesota                              Pennsylvania
Illinois                                       Mississippi                            Rhode Island
Indiana                                        Missouri                               South Dakota
Iowa                                           Nebraska                               Tennessee
Kansas                                         New Hampshire                          Vermont
Louisiana                                      New Jersey                             Virginia
Maine                                          New York                               West Virginia
Maryland                                       North Carolina                         Wisconsin
Massachusetts                                  North Dakota
   * Tennessee, a state with statistical census county divisions (CCDs) in 2000, reverted to MCDs in 2008.


In some states, all or some incorporated places are not part of any MCD; these places are termed
independent places. Independent places also serve as primary legal subdivisions and have a Federal
Information Processing Series (FIPS) county subdivision code and National Standard (ANSI) code that is
the same as the FIPS and ANSI place code. In nine states—Maine, Massachusetts, New Hampshire, New
Jersey, North Dakota, Pennsylvania, Rhode Island, South Dakota, and Wisconsin—all incorporated places
are independent places. In other states, incorporated places are part of, or dependent within, the MCDs in
which they are located, or the pattern is mixed—some incorporated places are independent of MCDs and
others are included within one or more MCDs.




Geographic Terms and Concepts                                                                                   A-17
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                           Page 41 of 101 PageID 168

The MCDs in 12 states (Connecticut, Maine, Massachusetts, Michigan, Minnesota, New Hampshire, New
Jersey, New York, Pennsylvania, Rhode Island, Vermont, and Wisconsin) also serve as general-purpose
local governments that can perform the same governmental functions as incorporated places. The Census
Bureau presents data for these MCDs in all data products for which place data are provided.

In New York and Maine, American Indian reservations (AIRs) generally exist outside the jurisdiction of any
town (MCD) and thus also serve as the equivalent of MCDs for purposes of data presentation.

In states with MCDs, the Census Bureau assigns a default FIPS county subdivision code of 00000 and ANSI
code of eight zeroes in some coastal, territorial sea, and Great Lakes water where county subdivisions do
not legally extend into the Great Lakes or out to the 3-mile limit.

Statistical Entities
Census county divisions (CCDs) are areas delineated by the Census Bureau in cooperation with state, tribal,
and local officials for statistical purposes. CCDs have no legal function and are not governmental units.
CCD boundaries usually follow visible features and usually coincide with census tract boundaries. The
name of each CCD is based on a place, county, or well-known local name that identifies its location. CCDs
exist where:

1. There are no legally established MCDs.

2. The legally established MCDs do not have governmental or administrative purposes.

3. The boundaries of the MCDs change frequently.

4. The MCDs are not generally known to the public.

CCDs exist within the following 20* states:

Alabama                                  Hawaii                                      Oregon
Arizona                                  Idaho                                       South Carolina
California                               Kentucky                                    Texas
Colorado                                 Montana                                     Utah
Delaware                                 Nevada                                      Washington
Florida                                  New Mexico                                  Wyoming
Georgia                                  Oklahoma
  * Tennessee, a CCD state in 2000, reverted to a MCD state in 2008.


Census subareas are statistical subdivisions of boroughs, city and boroughs, municipalities, and census
areas, all of which are statistical equivalent entities for counties in Alaska. The state of Alaska and the
Census Bureau cooperatively delineate the census subareas to serve as the statistical equivalents of MCDs.

Unorganized territories (UTs) are defined by the Census Bureau in nine MCD states where portions of
counties or equivalent entities are not included in any legally established MCD or incorporated place. The
Census Bureau recognizes such separate pieces of territory as one or more separate county subdivisions
for census purposes. It assigns each unorganized territory a descriptive name, followed by the designation
“UT” and a county subdivision FIPS and ANSI code. The following states have unorganized territories:
Arkansas                                 Maine                                       North Carolina
Indiana                                  Minnesota                                   North Dakota
Iowa                                     New York                                    South Dakota

GEOGRAPHIC AREA ATTRIBUTES
The Census Bureau collects and maintains information describing selected attributes and characteristics of
geographic areas. These attributes are Federal Information Processing Series (FIPS) class code, functional
status, legal/statistical area description, internal point, and name of geographic entities.


A-18                                                                                             Geographic Terms and Concepts
                                                             U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 42 of 101 PageID 169

FIPS class codes describe the general characteristics of a geographic area related to its legal or statistical
status, governmental status, and in some cases relationship to other geographic entities. Class codes
exist for counties; county subdivisions; subminor civil divisions; places; consolidated cities; Alaska Native
Regional Corporations; American Indian, Alaska Native, and Native Hawaiian areas; and American Indian
tribal subdivisions.

Functional status describes whether a geographic entity is a functioning governmental unit, has an inactive
government, is an administrative area without a functioning government, or is a statistical area identified
and defined solely for tabulation and presentation of statistical data. Functional status codes are:

A	    Active government providing primary general-purpose functions.

B	    Active government that is partially consolidated with another government but with separate officials
     providing primary general-purpose functions.

C	    Active government consolidated with another government with a single set of officials.

E	    Active government providing special-purpose functions.

F	    Fictitious entity created to fill the Census Bureau’s geographic hierarchy.

G	    Active government that is subordinate to another unit of government and thus, not considered a
     functioning government.

I	    Inactive governmental unit that has the power to provide primary special-purpose functions.

N	    Nonfunctioning legal entity.

S	    Statistical entity.

Internal point—The Census Bureau calculates an internal point (latitude and longitude coordinates) for
each geographic entity. For many geographic entities, the internal point is at or near the geographic center
of the entity. For some irregularly shaped entities (such as those shaped like a crescent), the calculated
geographic center may be located outside the boundaries of the entity. In such instances, the internal
point is identified as a point inside the entity boundaries nearest to the calculated geographic center and,
if possible, within a land polygon.

Legal/statistical area description (LSAD)—The LSAD describes the particular typology for each geographic
entity; that is, whether the entity is a borough, city, county, town, or township, among others. For legal
entities, the LSAD reflects the term that appears in legal documentation pertaining to the entity, such as a
treaty, charter, legislation, resolution, or ordinance. For statistical entities, the LSAD is the term assigned
by the Census Bureau or other agency defining the entity. The LSAD code is a two-character field that
corresponds to a description of the legal or statistical type of entity and identifies whether the LSAD term
should be capitalized and should precede or follow the name of the geographic entity. Note that the same
LSAD code is assigned to entities at different levels of the geographic hierarchy when they share the same
LSAD. For example, the Census Bureau assigns the same LSAD code (“21”) to boroughs in New York and
Connecticut, although they are county subdivisions in the former and incorporated places in the latter.

Name—Each geographic entity included in Census Bureau products has a name. For most geographic
entities, the name is derived from the official legally recognized name, is assigned by local officials
participating in Census Bureau statistical area programs, or is based on component entities and
determined according to specified criteria. For legal entities, the name appearing in Census Bureau
products may be the more commonly used name rather than the name as it appears in legal documents.
For example, “Virginia” instead of “the Commonwealth of Virginia”; “Baltimore” instead of “City of
Baltimore.” In some instances, the name for an entity in Census Bureau products will reflect the official
name as well as a more commonly used name listed parenthetically; i.e., San Buenaventura (Ventura), CA,
or Bath (Berkeley Springs), WV. For some types of geographic entities, the name reflected in Census Bureau
products may be the geographic entity code assigned by local officials. For example, a census tract’s name

Geographic Terms and Concepts                                                                                A-19
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                  Page 43 of 101 PageID 170

is the actual number assigned by local officials, such as 1.01, whereas the census tract code would reflect
a full four-digit base code and two-digit suffix (for example, for the preceding tract named 1.01, 000101).

GEOGRAPHIC NAMES INFORMATION SYSTEM
The Geographic Names Information System (GNIS) is the federal standard for geographic nomenclature.
The U.S. Geological Survey (USGS) developed the GNIS for the U.S. Board on Geographic Names as the
official repository of domestic geographic names data; the official vehicle for geographic names use by
all departments of the federal government; and the source for applying geographic names to federal
electronic and printed products. The GNIS contains information about physical and cultural geographic
features of all types in the United States and its territories, current and historical, but not including roads
and highways. The database holds the federally recognized name of each feature and defines the feature
location by state, county, USGS topographic map, and geographic coordinates. Other attributes include
names or spellings other than the official name, feature designations, feature classification, historical and
descriptive information, and, for some categories, the geometric boundaries.

GEOGRAPHIC NAMES INFORMATION SYSTEM IDENTIFIER
The Geographic Names Information System Identifier (GNIS ID) is a variable length, permanent, numeric
identifier of up to ten digits in length that identifies each entity uniquely within the nation. The GNIS is the
new American National Standards Institute (ANSI) national standard code for several entity types. Because
each entity’s GNIS ID is permanent, it will not change if the entity changes its name or if creation of a new
entity changes the alphabetic sort. (Federal Information Processing Series codes are assigned based on
the alphabetic sorting of entity names within a state and occasionally require changing codes to maintain
the alphabetic sort.) The GNIS IDs are assigned sequentially and stored in a right-justified, variable-
length, numeric field without leading zeroes. The GNIS now contains more than 2.6 million sequential
records, thus no GNIS ID currently exceeds seven digits. The Census Bureau portrays the GNIS ID in its data
products as a fixed-width eight-character field with leading zeroes.

ISLAND AREAS OF THE UNITED STATES
The Island Areas of the United States are American Samoa, Guam, the Commonwealth of the Northern
Mariana Islands (Northern Mariana Islands), and the United States Virgin Islands.

The Census Bureau treats the Island Areas as entities that are statistically equivalent to states for data
presentation purposes; data for the Island Areas, however, are presented separately from data for the
United States and Puerto Rico. Geographic definitions specific to the Island Areas are shown in the
appropriate publications and documentation that accompany the data products for the Island Areas.
Sometimes the Island Areas are referred to as “Island Territories” or “Insular Areas.” For the 1990 and
previous censuses, the U.S. Census Bureau referred to the entities as “Outlying Areas.”

Separate from the Island Areas is the term “U.S. Minor Outlying Islands.” The U.S. Minor Outlying Islands
refers to certain small islands under U.S. jurisdiction in the Caribbean and Pacific: Baker Island, Howland
Island, Jarvis Island, Johnston Atoll, Kingman Reef, Midway Islands, Navassa Island, Palmyra Atoll, and
Wake Island. These areas usually are not part of standard data products.

MAF/TIGER DATABASE
MAF/TIGER is an acronym for the Master Address File/Topologically Integrated Geographic Encoding and
Referencing system or database. It is a digital (computer-readable) geographic database that automates
the mapping and related geographic activities required to support the Census Bureau’s census and
survey programs. The Census Bureau developed the TIGER® system to automate the geographic support
processes needed to meet the major geographic needs of the 1990 census: producing cartographic
products to support data collection and map presentations, providing geographic structure for tabulation
and dissemination of the collected statistical data, assigning residential and employer addresses to the


A-20                                                                                    Geographic Terms and Concepts
                                                    U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 44 of 101 PageID 171

correct geographic location and relating those locations to the geographic entities used for data tabulation,
and so forth. During the 1990s, the Census Bureau developed an independent Master Address File (MAF)
to support field operations and allocation of housing units for tabulations. After Census 2000, both the
address-based MAF and geographic TIGER® databases merged to form MAF/TIGER. The content of the
MAF/TIGER database is undergoing continuous updates and is made available to the public through a
variety of TIGER/Line® shapefiles.

PLACE
Incorporated Places are those reported to the Census Bureau as legally in existence as of January 1,
2010, as reported in the latest Boundary and Annexation Survey (BAS), under the laws of their respective
states. An incorporated place is established to provide governmental functions for a concentration of
people as opposed to a minor civil division, which generally is created to provide services or administer an
area without regard, necessarily, to population. Places always are within a single state or equivalent entity,
but may extend across county and county subdivision boundaries. An incorporated place usually is a city,
town, village, or borough, but can have other legal descriptions. For Census Bureau data tabulation and
presentation purposes, incorporated places exclude:

•	 Boroughs in Alaska (treated as statistical equivalents of counties).
•	 Towns in the New England states, New York, and Wisconsin (treated as MCDs).
•	 Boroughs in New York (treated as MCDs).

Census Designated Places (CDPs) are the statistical counterparts of incorporated places, and are
delineated to provide data for settled concentrations of population that are identifiable by name but are
not legally incorporated under the laws of the state in which they are located. The boundaries usually
are defined in cooperation with local or tribal officials and generally updated prior to each decennial
census. These boundaries, which usually coincide with visible features or the boundary of an adjacent
incorporated place or another legal entity boundary, have no legal status, nor do these places have officials
elected to serve traditional municipal functions. CDP boundaries may change from one decennial census
to the next with changes in the settlement pattern; a CDP with the same name as in an earlier census does
not necessarily have the same boundary. CDPs must be contained within a single state and may not extend
into an incorporated place. There are no population size requirements for CDPs.

Hawaii is the only state that has no incorporated places recognized by the Census Bureau. All places
shown in decennial census data products for Hawaii are CDPs. By agreement with the state of Hawaii, the
Census Bureau does not show data separately for the city of Honolulu, which is coextensive with Honolulu
County. In Puerto Rico, which also does not have incorporated places, the Census Bureau recognizes only
CDPs and refers to them as comunidades or zonas urbanas. Guam also has only CDPs.

Place Codes are of two types. The five-digit Federal Information Processing Series (FIPS) place code is
assigned based on alphabetical sequence within a state. If place names are duplicated within a state and
they represent distinctly different areas, a separate code is assigned to each place name alphabetically
by the primary county in which each place is located, or if both places are in the same county, they are
assigned alphabetically by their legal descriptions (for example, “city” before “village”). Places also are
assigned an eight-digit National Standard (ANSI) code.

Dependent and Independent Places refers to the relationship of places to the county subdivisions.
Depending on the state, incorporated places are either dependent within, or independent of, county
subdivisions, or there is a mixture of dependent and independent places in the state and in a county.
Dependent places are part of the county subdivision; the county subdivision code of the place is the same
as that of the underlying county subdivision(s) but is different from the place code. Independent places
are not part of any minor civil division (MCD) and serve as primary county subdivisions. The independent
place FIPS code usually is the same as that used for the MCD for the place. The only exception is if the
place is independent of the MCDs in a state (Iowa, Louisiana, Maryland, Nebraska, North Carolina, and


Geographic Terms and Concepts                                                                                A-21
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                Page 45 of 101 PageID 172

Virginia) in which the FIPS MCD codes are in the 90000 range. Then, the FIPS MCD and FIPS place codes
will differ. CDPs always are dependent within county subdivisions and all places are dependent within
statistical county subdivisions.

Consolidated City (Balance) Portions refer to the areas of a consolidated city not included in another
separately incorporated place. For example, Butte-Silver Bow, MT, is a consolidated city (former Butte city
and Silver Bow County) that includes the separately incorporated municipality of Walkerville city. The area
of the consolidated city that is not in Walkerville city is assigned to Butte-Silver Bow (balance). The name
of the area of a consolidated city not specifically within a separately incorporated place always includes
the “(balance)” identifier. Balance portions of consolidated cities are included with other places in Census
Bureau products.

POPULATION AND HOUSING UNIT DENSITY
Population and housing unit density are computed by dividing the total population or number of housing
units within a geographic entity by the land area of that entity measured in square miles or in square
kilometers. Density is expressed as “population per square mile (kilometer)” or “housing units per square
mile (kilometer).”

PUBLIC USE MICRODATA AREAS
Public Use Microdata Areas (PUMAs) are geographic areas for which the Census Bureau provides
selected extracts of raw data from a small sample of census records that are screened to protect
confidentiality. These extracts are referred to as public use microdata sample (PUMS) files.

For the 2010 Census, each state, the District of Columbia, Puerto Rico, and some Island Area participants
delineated PUMAs for use in presenting PUMS data based on a 5 percent sample of decennial census or
American Community Survey data. These areas are required to contain at least 100,000 people. This is
different from Census 2000 when two types of PUMAs were defined: a 5 percent PUMA as for 2010 and an
additional super-PUMA designed to provide a 1 percent sample. The PUMAs are identified by a five-digit
census code unique within state.

PUERTO RICO
The Census Bureau treats the Commonwealth of Puerto Rico as the statistical equivalent of a state for data
presentation purposes.

Municipio
The primary legal divisions of Puerto Rico are termed “municipios.” For data presentation purposes, the
Census Bureau treats a municipio as the equivalent of a county in the United States.

Barrio, Barrio-Pueblo, and Subbarrio
The Census Bureau recognizes barrios and barrios-pueblo as the primary legal divisions of municipios.
These entities are similar to the minor civil divisions (MCDs) used for reporting data in 29 states of the
United States. Subbarrios in 23 municipios are the primary legal subdivisions of the barrios-pueblo and
some barrios. The Census Bureau presents the same types of statistical data for these subminor civil
divisions (sub-MCDs) as it does for the barrios and barrios-pueblo. (There is no geographic entity in the
United States equivalent to the subbarrio.)

Zona Urbana and Comunidad
There are no incorporated places in Puerto Rico; instead, the Census Bureau provides data for two types of
census designated places (CDPs): zonas urbanas, representing the governmental center of each municipio,
and comunidades, representing other settlements. There are no minimum population size requirements for
zonas urbanas and comunidades.


A-22                                                                                  Geographic Terms and Concepts
                                                  U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 46 of 101 PageID 173

Some types of geographic entities do not apply in Puerto Rico. For instance, Puerto Rico is not in any
census region or census division (see also “Congressional District”).

SCHOOL DISTRICTS (ELEMENTARY, SECONDARY, AND UNIFIED)
School Districts are geographic entities within which state, county, local officials, the Bureau of Indian
Affairs, or the U.S. Department of Defense provide public educational services for the area’s residents. The
Census Bureau obtains the boundaries, names, local education agency codes, and school district levels
for school districts from state and local school officials for the primary purpose of providing the U.S.
Department of Education with estimates of the number of children “at risk” within each school district,
county, and state. This information serves as the basis for the Department of Education to determine the
annual allocation of Title I funding to states and school districts.

The Census Bureau tabulates data for three types of school districts: elementary, secondary, and unified.
Each school district is assigned a five-digit code that is unique within state. School district codes are
the local education agency number assigned by the Department of Education and are not necessarily in
alphabetical order by school district name.

The elementary school districts provide education to the lower grade/age levels and the secondary school
districts provide education to the upper grade/age levels. Unified school districts provide education to
children of all school ages in their service areas. In general, where there is a unified school district, no
elementary or secondary school district exists; and where there is an elementary school district, the
secondary school district may or may not exist.

The Census Bureau’s representation of school districts in various data products is based both on the grade
range that a school district operates and also the grade range for which the school district is financially
responsible. For example, a school district is defined as an elementary school district if its operational
grade range is less than the full kindergarten through 12 or prekindergarten through 12 grade range (for
example, K–6 or pre-K–8). These elementary school districts do not provide direct educational services
for grades 7–12, 9–12, or similar ranges. Some elementary school districts are financially responsible
for the education of all school-aged children within their service areas and rely on other school districts
to provide service for those grade ranges that are not operated by these elementary school districts.
In these situations, in order to allocate all school-aged children to these school districts, the secondary
school district code field is blank. For elementary school districts where the operational grade range and
financially responsible grade range are the same, the secondary school district code field will contain a
secondary school district code. There are no situations where an elementary school district does not exist
and a secondary school district exists in Census Bureau records.

STATE OR STATISTICALLY EQUIVALENT ENTITY
States and Equivalent Entities are the primary governmental divisions of the United States. In addition
to the 50 states, the Census Bureau treats the District of Columbia, Puerto Rico, American Samoa, the
Commonwealth of the Northern Mariana Islands, Guam, and the U.S. Virgin Islands as the statistical
equivalents of states for the purpose of data presentation.

STATE LEGISLATIVE DISTRICTS (UPPER AND LOWER CHAMBERS)
State Legislative Districts (SLDs) are the areas from which members are elected to state legislatures.
The Census Bureau first reported data for SLDs as part of the 2000 Public Law (P.L.) 94-171 Redistricting
Data File.

Current SLDs (2010 Election Cycle)—States participating in Phase 1 of the 2010 Census Redistricting
Data Program voluntarily provided the Census Bureau with the 2006 election cycle boundaries, codes,
and, in some cases, names for their SLDs. All 50 states, plus the District of Columbia and Puerto Rico,
participated in Phase 1, State Legislative District Project (SLDP) of the 2010 Census Redistricting Data


Geographic Terms and Concepts                                                                                A-23
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                  Page 47 of 101 PageID 174

Program. States subsequently provided legal changes to those plans through the Redistricting Data Office
and/or corrections as part of Phase 2 of the 2010 Census Redistricting Data Program, as needed.

The SLDs embody the upper (senate—SLDU) and lower (house—SLDL) chambers of the state legislature.
Nebraska has a unicameral legislature and the District of Columbia has a single council, both of which the
Census Bureau treats as upper-chamber legislative areas for the purpose of data presentation. A unique
three-character census code, identified by state participants, is assigned to each SLD within a state. In
Connecticut, Hawaii, Illinois, Louisiana, Maine, Massachusetts, New Jersey, Ohio, and Puerto Rico, state
officials did not define the SLDs to cover all of the state or state equivalent area (usually bodies of water).
In these areas with no SLDs defined, the code “ZZZ” has been assigned, which is treated within state as a
single SLD for purposes of data presentation. Maryland also has areas with no SLDs defined; in Maryland,
these areas are coded with an initial “Z” by county or equivalent and treated as a unique SLD by county
or equivalent. In Nebraska and the District of Columbia, the Census Bureau assigned the code 999 to
represent a single SLDL where legally none exist.

SLD Names—The Census Bureau first reported names for SLDs as part of Phase 1 of the 2010 Census
Redistricting Data Program. The SLD names with their translated legal/statistical area description are
associated only with the current SLDs. Not all states provided names for their SLDs, therefore the code (or
number) also serves as the name.

TRIBAL BLOCK GROUP
The 2010 tribal block group concept and criteria are completely different from those used in 2000. For
the Census 2000, tribal block groups were the standard state-county-census tract-block group areas
retabulated under an American Indian area hierarchy; that is, American Indian area-tribal census tract-
tribal block group. Tribal block groups only were applicable to legal federally recognized American Indian
reservation and off-reservation trust land areas. Tribal block groups were defined to provide statistically
significant sample data for small areas within American Indian areas, particularly those American Indian
areas that crossed state or county boundaries where these boundaries were not meaningful for statistical
purposes. The 2000 tribal block groups used the block group numbers and comprised all blocks beginning
with a single number.

The 2010 tribal block groups are defined independently of the standard county-based block group
delineation. For federally recognized American Indian tribes with reservations or off-reservation trust land
and a population less than 1,200, a single tribal block group is defined. Tribal participants in qualifying
areas with a population greater than 1,200 could define additional block groups within their reservation
and/or off-reservation trust land without regard to the standard block group configuration.

Tribal block groups will contain blocks beginning with the same number as the standard county-based
block group and could contain seemingly duplicate block numbers. To better identify and differentiate
tribal block groups from county-based block groups, tribal block groups use the letter range A through K
(except “I,” which could be confused with a number “1”) to identify and code the tribal block group. Tribal
block groups nest within tribal census tract.

TRIBAL CENSUS TRACT
The 2010 tribal census tract concept and criteria are completely different from those used in 2000. Tribal
census tracts (also known as tribal tracts) in 2000 were the standard state-county-census tract areas
retabulated under an American Indian area hierarchy; that is, American Indian area-tribal census tract.
Federally recognized tribes with a reservation or off-reservation trust land delineated tribal census tracts
working with local census tract participants to produce a single census tract plan. Tribal census tracts were
designed to be permanent statistical divisions of American Indian areas for the presentation of comparable
data between censuses, particularly for those American Indian areas that crossed state or county
boundaries where these boundaries were not meaningful for statistical purposes.



A-24                                                                                    Geographic Terms and Concepts
                                                    U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 48 of 101 PageID 175

For 2010, tribal census tracts are defined independently of the standard county-based tract delineation.
For federally recognized American Indian tribes with reservations or off-reservation trust land and a
population less than 2,400, a single tribal census tract is defined. Qualifying areas with a population
greater than 2,400 could define additional tribal census tracts within their area.

In 2000, the tract number range of 9400 through 9499 was reserved for tribal census tracts and was
required for those tribal census tracts that crossed state or county boundaries. Not all tribal census tracts
in 2000, however, used this range. For 2010, tribal census tract codes will be six characters long with a
leading “T” alphabetic character followed by five numeric codes having an implied decimal between the
fourth and fifth character; for example, T01000, which translates as tribal census tract 10. Tribal block
groups will nest within tribal census tract. Since individual blocks are defined within the standard state-
county-census tract hierarchy, a tribal census tract can contain seemingly duplicate block numbers, thus
tribal census tracts cannot be used to uniquely identify census blocks.

UNITED STATES
The United States consists of the 50 states and the District of Columbia.

URBAN AND RURAL
For the 2010 Census, the Census Bureau classified as urban all territory, population, and housing units
located within urbanized areas (UAs) and urban clusters (UCs), both defined using the same criteria. The
Census Bureau delineates UA and UC boundaries that represent densely developed territory, encompassing
residential, commercial, and other nonresidential urban land uses. In general, this territory consists of
areas of high population density and urban land use resulting in a representation of the “urban footprint.”
Rural consists of all territory, population, and housing units located outside UAs and UCs.

For the 2010 Census, the urban and rural classification was applied to the 50 states, the District of
Columbia, Puerto Rico, American Samoa, Guam, the Commonwealth of the Northern Mariana Islands, and
the U.S. Virgin Islands.

Urbanized Areas (UAs)—An urbanized area consists of densely developed territory that contains 50,000
or more people. The Census Bureau delineates UAs to provide a better separation of urban and rural
territory, population, and housing in the vicinity of large places.

Urban Clusters (UCs)—An urban cluster consists of densely developed territory that has at least 2,500
people but fewer than 50,000 people. The Census Bureau first introduced the UC concept for Census 2000
to provide a more consistent and accurate measure of urban population, housing, and territory throughout
the United States, Puerto Rico, and the Island Areas.

Urban Area Titles and Codes—The title of each UA and UC may contain up to three incorporated place
or census designated place (CDP) names and will include the two-letter U.S. Postal Service abbreviation
for each state or statistically equivalent entity into which the UA or UC extends. However, if the UA or UC
does not contain an incorporated place or CDP, the urban area title will include the single name of a minor
civil division or populated place recognized by the U.S. Geological Survey’s Geographic Names Information
System.

Each UC and UA is assigned a five-digit numeric census code based on a national alphabetical sequence of
all urban area names. A separate flag is included in data tabulation files to differentiate between UAs and
UCs. In printed reports, this differentiation is included in the name.

Central Place—The 2010 Census urban areas will no longer include one or more designated central
places. In preceding censuses, the central place included all incorporated or census designated places
included in the urban area title, plus additional incorporated areas that met a population size criterion. The
concept of central place for urban areas no longer is being applied.

Relationship to Other Geographic Entities—Geographic entities, such as metropolitan areas, counties,
minor civil divisions, places, and census tracts, often contain both urban and rural territory, population,
and housing units.

Geographic Terms and Concepts                                                                                A-25
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                 Page 49 of 101 PageID 176

URBAN GROWTH AREAS
Urban Growth Areas (UGAs) are legally defined entities in Oregon and Washington that the Census
Bureau includes in the MAF/TIGER database in agreement with the states. UGAs, which are defined around
incorporated places, are used to regulate urban growth. UGA boundaries, which need not follow visible
features, are delineated cooperatively by state and local officials and then confirmed in state law. UGAs are
a pilot project first defined only in Oregon for Census 2000. Each UGA is identified by a five-digit numeric
census code, usually the same as the five-digit Federal Information Processing Series (FIPS) code associated
with the incorporated place for which the UGA is named.

VOTING DISTRICTS
Voting Districts (VTDs) refer to the generic name for geographic entities, such as precincts, wards,
and election districts, established by state governments for the purpose of conducting elections. States
voluntarily participating in Phase 2 of the 2010 Census Redistricting Data Program provided the Census
Bureau with boundaries, codes, and names for their VTDs. Each VTD is identified by a one-to-six-character
alphanumeric census code that is unique within county. The code “ZZZZZZ” identifies a portion of counties
(usually bodies of water) for which no VTDs were identified. For the 2010 Census, only Rhode Island did
not participate in Phase 2 (the Voting District/Block Boundary Suggestion Project) of the 2010 Census
Redistricting Data Program. Kentucky chose not to provide VTDs as part of their participation in Phase 2,
and the states of Montana and Oregon provided VTDs for some counties. Therefore, for 2010 Census data
products, no VTDs exist in select counties in Montana and Oregon or for the states of Rhode Island and
Kentucky in their entirety. Participating states often submitted VTDs conforming to the feature network
in the MAF/TIGER database rather than the complete legal boundary of the VTD. If requested by the
participating state, the Census Bureau identified the VTDs that represent an actual voting district with an “A”
in the voting district indicator field. Where a participating state indicated that the VTD has been modified to
follow existing features, the VTD is a pseudo-VTD, and the voting district indicator contains “P.”

ZIP CODE TABULATION AREAS
ZIP Code Tabulation Areas (ZCTAs) are approximate area representations of U.S. Postal Service (USPS)
five-digit ZIP Code service areas that the Census Bureau creates using whole blocks to present statistical
data from censuses and surveys. The Census Bureau defines ZCTAs by allocating each block that contains
addresses to a single ZCTA, usually to the ZCTA that reflects the most frequently occurring ZIP Code
for the addresses within that tabulation block. Blocks that do not contain addresses but are completely
surrounded by a single ZCTA (enclaves) are assigned to the surrounding ZCTA; those surrounded by
multiple ZCTAs will be added to a single ZCTA based on limited buffering performed between multiple
ZCTAs. The Census Bureau identifies five-digit ZCTAs using a five-character numeric code that represents
the most frequently occurring USPS ZIP Code within that ZCTA, and this code may contain leading zeros.

There are significant changes to the 2010 ZCTA delineation from that used in 2000. Coverage was
extended to include the Island Areas for 2010 so that the United States, Puerto Rico, and the Island Areas
have ZCTAs. Unlike 2000, when areas that could not be assigned to a ZCTA were given a generic code
ending in “XX” (land area) or “HH” (water area), for 2010 there is no universal coverage by ZCTAs, and
only legitimate five-digit areas are defined. The 2010 ZCTAs will better represent the actual Zip Code
service areas because the Census Bureau initiated a process before creation of 2010 blocks to add block
boundaries that split polygons with large numbers of addresses using different Zip Codes.

Data users should not use ZCTAs to identify the official USPS ZIP Code for mail delivery. The USPS makes
periodic changes to ZIP Codes to support more efficient mail delivery. The ZCTAs process used primarily
residential addresses and was biased towards Zip Codes used for city-style mail delivery, thus there may
be Zip Codes that are primarily nonresidential or boxes only that may not have a corresponding ZCTA.




A-26                                                                                   Geographic Terms and Concepts
                                                   U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                               Page 50 of 101 PageID 177

Figure A–1.
Standard Hierarchy of Census Geographic Entities




                                                             NATION                                   AIANNH Areas*--
                                                                                                      (American Indian , Alaska
                                                                                                      Native , Native Hawaiian
                                                                                                      Areas)
                                                            REGIONS
                                                                    I                                 Urban Areas
     Z IP Code Tabulation Areas                            DIVISIONS
                                                                    I                                Core Based Statistical Areas
           School Districts            -         ~ STATES~
                                       ~                            I       ~                  Urban Growth Areas



                                            'l
 Congressional Districts                                    Counties '\."'
                                                                                         State Legislative Districts

                                                                                      Places     /
                    Voting Districts

                 County Subd ivisions

                                I                       Census Tracts




                                                          Block Groups



                                                        Census
                                                                    I
                                                                    Blocks




       * Refer to the "Hierarc hy of America n Indian, Alaska Nativ e, and Native Hawai ian Areas"




Geographic Terms and Concepts                                                                                                     A-27
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
   Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                    Page 51 of 101 PageID 178

Figure A–2.
Hierarchy of American Indian, Alaska Native, and Native Hawaiian Areas



 American Indian Areas (Federal)/                                         States                                 Tribal Designated Statistical Areas
   Oﬀ-Reservation Trust Lands




         Tribal Census Tracts        Oklahoma Tribal      Alaska Native Regional Corporations /       American Indian Reservations (state) /
                                     Statistical Areas    Alaska Native Village Statistical Areas /   State Designated Tribal Statistical Areas
                                                                  Hawaiian Home Lands




         Tribal Block Groups        Tribal Subdivisions




                                                            CENSUS BLOCKS




A-28                                                                                                       Geographic Terms and Concepts
                                                                   U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 52 of 101 PageID 179

Figure A–3.
Census Regions, Census Divisions, and Their Constituent States

Northeast Region

New England Division:
Maine, New Hampshire, Vermont, Massachusetts, Rhode Island, Connecticut
Middle Atlantic Division:

New York, New Jersey, Pennsylvania


Midwest Region

East North Central Division:
Ohio, Indiana, Illinois, Michigan, Wisconsin

West North Central Division:
Minnesota, Iowa, Missouri, North Dakota, South Dakota, Nebraska, Kansas

South Region

South Atlantic Division:
Delaware, Maryland, District of Columbia, Virginia, West Virginia, North Carolina, South Carolina,
Georgia, Florida

East South Central Division:
Kentucky, Tennessee, Alabama, Mississippi

West South Central Division:
Arkansas, Louisiana, Oklahoma, Texas

West Region

Mountain Division:
Montana, Idaho, Wyoming, Colorado, New Mexico, Arizona, Utah, Nevada

Pacific Division:
Washington, Oregon, California, Alaska, Hawaii




Geographic Terms and Concepts                                                                                A-29
U.S. Census Bureau, 2010 Census Redistricting Data (Public Law 94-171) Summary File
Case 3:18-cv-00212-K Document 25 Filed 07/16/18   Page 53 of 101 PageID 180



                           Appendix D
                                        Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                                                                                                                                                  Page 54 of 101 PageID 181



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Case 3:18-cv-00212-K Document 25 Filed 07/16/18   Page 58 of 101 PageID 185




                EXHIBIT B
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18              Page 59 of 101 PageID 186




                                       Expert Report:

Analysis of At-Large Board of Trustees Elections in The Richardson Independent School District




                                  Kenneth R. Mayer, Ph.D.
                                       July 16, 2018
    Case 3:18-cv-00212-K Document 25 Filed 07/16/18               Page 60 of 101 PageID 187


                                      I. Scope of Assignment
I have been asked by plaintiff’s counsel to offer opinions about whether the at-large nature of
elections utilized by the Richardson Independent School District (RISD) to elect its Board of
Trustees has the effect of denying African American or Hispanic1 voters the opportunity to elect
candidates of their choice.

This report contains my opinions on these matters. To develop these opinions, I relied upon
technical and specialized knowledge I gained from my education, training, and experience;
widely accepted and reliable statistical methods; and my knowledge of the academic literature on
elections and voting rights. My opinions are based on the review and analysis of the following
information and materials:

        1. Precinct-level demographic, voter registration, turnout, and election result data in the
           RISD geographic area from 2008 to2018 provided by demographer David Ely, based
           upon analysis of data provided by the Dallas County Elections Department.

        2. Historical election data and precinct-level election and demographic data published
           by the Dallas County Elections Department.

        3. Election returns, voter registration data, and precinct assignments published by the
           Texas Legislative Council.

        4. The 2012 Cooperative Congressional Election Study, a large scale survey archived at
           Harvard University.

        5. Published RISD demographic data on student population.

        6. Peer-reviewed academic literature and other sources cited in this report

                               II. Background and Qualifications
I have a Ph.D. in political science from Yale University, where my graduate training included
courses in econometrics and statistics. My undergraduate degree is from the University of
California, San Diego, where I majored in political science and minored in applied
mathematics. I have been on the faculty of the political science department at the University of
Wisconsin-Madison since August 1989. My curriculum vitae is attached to this report as
Appendix A.

All publications that I have authored and published in the past ten years appear in my
curriculum vitae. Those publications include the following peer-reviewed journals: Journal of
Politics, American Journal of Political Science, Election Law Journal, Legislative Studies
Quarterly, Presidential Studies Quarterly, A m e ri c an P ol i t i cs R e se a rc h , Congress and

1
  The terms “Hispanic” and “Latino” are often used interchangeably, and the differences between
the usages are often a matter of preference or self-identification. For consistency, and because I
rely on Spanish Surname data in the ecological inference analysis, I use Hispanic throughout this
report in the same manner that that the U.S. Census Bureau does, to mean individuals “of Cuban,
Mexican, Puerto Rican, South or Central American, or other Spanish culture or origin regardless
of race” (Humes, Jones, and Ramirez 2011, 1).
                                                 1
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 61 of 101 PageID 188


the Presidency, Public Administration Review, Political Research Quarterly, and PS:
Political Science and Politics. I have also published in law reviews, including the Richmond
Law Review, the UCLA Pacific Basin Law Journal, and the University of Utah Law Review.
My work on campaign finance has been published in Legislative Studies Quarterly,
Regulation, PS: Political Science and Politics, Richmond Law Review, the Democratic Audit
of Australia, and in an edited volume on electoral competitiveness published by the Brookings
Institution Press. My research on campaign finance has been cited by the U.S. Government
Accountability Office, and by legislative research offices in Connecticut and Wisconsin.

My work on election administration has been published in the Election Law Journal, American
Journal of Political Science, Public Administration Review, Political Research Quarterly,
and American Politics Research. I was part of a research group retained by the Wisconsin
Government Accountability Board to review their compliance with federal mandates and
reporting systems, and to survey local election officials throughout the state. I serve on the
Steering Committee of the Wisconsin Elections Research Center, a unit with the UW-Madison
College of Letters and Science. In 2012, I was retained by the United States Department of
Justice to analyze data and methods regarding Florida’s efforts to identify and remove claimed
ineligible noncitizens from the statewide file of registered voters.

In the past eight years, I have testified as an expert witness in trial or deposition in the
following cases:

Federal: League of Women Voters of Michigan, et al. v. Johnson, No. 2:17-cv-14148-DPH-SDD
       (S.D. Mich. 2018 ); One Wis. Institute, Inc. v. Thomsen 198 F. Supp. 3d 896 (W.D. Wis.
       2016); Whitford v. Gill, 218 F. Supp. 3d 837 (W.D. Wis. 2016); Baldus v. Brennan, 849
       F. Supp. 2d 840 (E.D. Wis. 2012); McComish v. Brewer, No. CV-08-1550, 2010 WL
       2292213 (D. Ariz. 2010).

State: Milwaukee Branch of the NAACP v. Walker, 2014 WI 98, 357 Wis. 2d 469, 851 N.W. 2d
        262 (Wis. Circuit Ct., 2012); Kenosha Cnty. v. City of Kenosha, No. 11-CV-1813 (Wis.
        Circuit Ct., Kenosha, WI, 2011).

Courts consistently have accepted my expert opinions, and the basis for those opinions. No
court has ever excluded my expert opinion under Daubert or any other standard. Courts
have cited my expert opinions in their decisions, finding my opinions reliable and
persuasive. See Whitford v. Gill, 218 F. Supp. 3d 837 (W.D. Wis. 2016); One Wis. Institute, Inc.
v. Thomsen 198 F. Supp. 3d 896 (W.D. Wis. 2016); Baldus v. Brennan, 849 F. Supp. 2d 840
(E.D. Wis. 2012); Milwaukee Branch of the NAACP v. Walker, 2014 WI 98, 357 Wis. 2d 469,
851 N.W. 2d 262 (Wis. Circuit Ct., 2012); Baumgart v. Wendelberger 2002 WL 34127471 (E.D.
Wis. 2002).

I am being compensated at a rate of $350 per hour. I am independent and impartial. My
compensation is not dependent on either the substance of my opinion or the outcome of this
case.




                                                  2
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 62 of 101 PageID 189


                              III. Summary of Opinions

My conclusions can be summarized as follows:

   •   The timing and structure of RISD Board elections reduce representation of minority
       groups, impeding their ability to equally participate in the political process. This is
       especially a function of the at-large character of RISD Board elections, which dilutes the
       voting power of minority populations. These groups would comprise a much higher
       percentage of the citizen voting age population (CVAP) in a single member district-based
       system.

   •   The dilution of the vote of minority groups is exacerbated by the low turnout character of
       Board of Trustee elections, which results in Hispanic and African American voters being
       a disproportionately small percentage of the electorate. The RISD Citizen Voting Age
       Population (CVAP) was 20.9% African American and 11.5% Hispanic in May 2017.
       Among voters in the election held that month (in which turnout was 8.8% of registered
       voters), only 4.1% of voters were Hispanic and 7.5% were African American,
       representing a roughly two-thirds drop in representation of these groups compared to
       their composition of the eligible voting population.

   •   RISD Board elections are usually uncontested, and contested elections are almost never
       competitive. Between 2008 and 2018, 28 board seats were up for election (including 1
       runoff). In 18 of these contests (64.2%) candidates faced no opposition, and Board
       elections were actually cancelled in six election cycles because none of the candidates
       running faced an opponent. In the 10 contested elections over that span, the average
       margin of victory was 41.8%. The lack of competitiveness reduces the likelihood of
       candidate emergence, which historically has worked against nonwhite candidates who
       have less access to the resources and political support to make a campaign viable.

   •   There is evidence of racial bloc voting in Board elections, as white voters are
       overwhelmingly likely to support white candidates over minority candidates. Endogenous
       elections to the Board of Trustees do not show strong evidence of minority voter
       cohesion, but the lack of strong statistical evidence is because there were no minority
       candidates within the last 10 years who received more than an extremely low percentage
       of the vote. Exogenous elections, including the 2008 Democratic presidential primary,
       the 2012 presidential election, and the 2018 Democratic Texas gubernatorial primary,
       show strong evidence of minority vote cohesion and evidence of racial bloc voting
       among white voters.

   •   The Board of Trustees has had no minority membership since 2010, and has never had a
       Latino board member. As far as I have been able to determine, no minority candidate has
       ever won a contested election to the RISD Board of Trustees.

   •   African American and Hispanic populations in the RISD face socioeconomic
       disadvantages that “hinder their ability to participate effectively in the political process.”
       Members of these minority groups have median household incomes half or less of white
       households; are much less likely to have high incomes; are four times more likely to be
       living in poverty; are more likely to be disabled and lack health insurance; are more
                                                 3
    Case 3:18-cv-00212-K Document 25 Filed 07/16/18               Page 63 of 101 PageID 190


        likely to have limited English proficiency; and are far less likely to have either a high
        school diploma or a bachelor’s degree. Many of these disadvantages can be plausibly
        connected to discriminatory practices in the educational, economic, and political realms.

                                           IV. ANALYSIS

A. Richardson Independent School District Voting Age and Student Demographics
The Richardson Independent School District (hereafter RISD) is a large municipal school district
in north Dallas County. The district includes parts of three cities in Dallas County: the majority
of RISD is located in the City of Dallas, a portion is in the City of Richardson, and a small part is
in the City of Garland. About 60% of registered voters in the district live in Dallas, 35% in
Richardson, and 6% in Garland.2 The total population is approximately 236,000.

The Citizen Voting Age Population (CVAP) of RISD in May 2017 was 144,121, 59% of whom
were White, 20.6% African American, 11.5% Hispanic, and 8.9% other races (including
multiracial individuals). In 2017-2018, RISD data show that the student population was 29.7%
White, 38.5% Hispanic, 21.4% African American, and 9.4% other races (including multiracial).
About 25.3% of students were classified as Limited English Proficiency (LEP), and 54.9% as
Economically Disadvantaged.3

Minority citizen voting age populations are concentrated in a relatively small part of the RISD,
mostly in and around the Hamilton Park neighborhood in Dallas. In May 2017, there were seven
precincts or sub-precincts in the RISD with more than 50% African American CVAP, all located
in the city of Dallas.4 These precincts have a combined CVAP of 19,949, of which 62.8% is
African American. There are six precincts or sub-precincts with more than 30% Hispanic CVAP,
all but one located in the city of Dallas.5 These precincts have a combined CVAP of 6,727, of
which 34.8% is Hispanic.

B. School Board Trustee Elections
RISD School Board members (“Trustees”) are elected on an at-large basis, with candidates
running for designated district-wide seats (“Places”) with 3-year terms. The places do not have

2
  Data from Dallas County Elections Office, “2013 Voting Precincts District Listing (Whole and
Sub Precincts), at https://www.dallascountyvotes.org/election-results-and-maps/voting-
precincts-maps/2013-voting-precincts/.
3
  Richardson ISD Facts and Figures 2017-2018,
http://www.risd.org/Group/AboutRISD/AboutRISD_Docs/RISD_FactsandFigures.pdf; The
Texas Education Agency classifies a student as Limited English Proficient “when 1) a language
other than English is used as the primary language in the home and 2) the student's English
language proficiency is determined to be limited by a Language Proficiency Assessment
Committee (LPAC) or as indicated by a test of English proficiency. Most students identified as
limited English proficient receive bilingual or English as a second language instruction.” An
Economically Disadvantaged student is “one who is eligible for free or reduced-price meals
under the National School Lunch and Child Nutrition Program.” See Texas Education Agency,
Division of Research and Analysis, Glossary of Terms, 2008-
2009. https://rptsvr1.tea.texas.gov/acctres/gloss0809.html.
4
  Precincts 1003, 1029, and 1038-1042.
5
  Precincts 1035-1037, 1129, 1704, and 2050. Precinct 1704 is in Garland.
                                                 4
    Case 3:18-cv-00212-K Document 25 Filed 07/16/18               Page 64 of 101 PageID 191


any geographic significance. Elections for places 1 and 2 were most recently held in 2018;
places 3 and 4 in 2016; and places 6 and 7 in 2017. Elections take place in May. Trustees serve
without compensation.6

A large amount of academic literature on electoral systems in general, and on school Board
elections in particular, has demonstrated that election rules matter: The timing, partisanship, and
representational structures of school Board elections shape who is willing to run, whether
elections are competitive, how candidates and officeholders engage with the public, who wins,
and how the results affect policy (Meier and Juenke 2005; Hajnal and Trounstine 2005; Allen
and Plank 2005; Welch and Karnig 1978; Leal, Martinez-Ebers and Meier 2004; Knowles 2015;
Hess and Leal 2005;Trounsine and Valdini 2008; Krebs 1999; Stewart, England and Meier
1989). This literature provides the context to understand the effect of this structure on the ability
of minority groups to participate in the electoral process.

The context is straightforward: the at-large nature of RISD Board of Trustees elections dilutes
the voting power of Hispanic and African American voters and prevents members of these
groups from having a meaningful opportunity to effectively participate in the political process
and elect representatives of their choice. This effect is exacerbated by the extremely low turnout
in Board elections (addressed in section D, below), which further reduces minority participation;
by the lack of competitiveness of Board elections, which has a disproportionate effect on
potential and declared minority candidates; by historic patterns of discrimination and economic
disadvantages against members of minority groups, which hinder the ability to participate; and
by patterns of racially polarized voting, in which white voters vote against minority candidates
by large margins.

C. Electoral History
Table 1 shows the results for Board elections since 2008. Over that time span, 28 places have
been up for election.7 Board elections in a cycle were cancelled altogether in six years because
no seat was contested (a total of 13 contests). In five others, a candidate ran unopposed in an
election held because other seats in that cycle were contested. In all, 64% of elections over this
period (18 of 28) were uncontested.

When seats are contested the result is almost always a landslide. The average margin of victory
in contested races since 2008 is 41.8%, and there have been only two races in that time that were
remotely competitive: the 2017 Place 7 election in which Kristin Kuhne defeated Lynn
Davenport by 8.8%, and the 2013 Place 4 election, in which Rachel Chumney came in first in a
3-way contest by 3.3%. Because Chumney won less than 50% of the vote, the top two
candidates proceeded to a runoff, which incumbent Lanet Greenhaw won 76.9%-24.1%, a
winning margin of 52.8%.

The lack of competitiveness means that incumbents are, for all practical purposes, unbeatable. In
the 2008-2018 period I analyzed, no incumbent lost an election. As a rule, the only way
newcomers can be elected to the Board is to run for an open seat.

6
  http://www.risd.org/bot/ . In May 2017 a special election was held for Place 3, because the
incumbent elected in 2016, Kris Oliver, resigned from the Board in January 2017.
7
  This includes 26 regular elections, 1 special election in 2017 to replace an incumbent who
resigned, and 1 runoff election in 2013.
                                                  5
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                      Page 65 of 101 PageID 192


                                            Table 1
                                    Trustee Election History
                   Year     Place I      Candidates        I Vote           I    Notes
                   2018      1, 2                   Election cancelled.
                              6        Bono                      100.0%         Unopposed
                                       Davenport                  45.6%
                              7
                                       Kuhne                      54.4%
                   2017                Armstrong                  12.4%
                              3        Prado                      10.1%
                           (special)   Clardy                     55.0%
                                       Eager                      22.6%
                                       Clayton                    26.9%
                              3
                                       Oliver                     73.1%
                   2016
                              4        Patterson                 100.0%         Unopposed
                              5        Linn                      100.0%         Unopposed
                   2015      1,2                     Election cancelled
                                       Bono                       64.1%
                              6
                                       Chumney                    35.9%
                   2014                Kuhne                      69.2%
                              7        Yarbrough                  23.3%
                                       Abadie                      7.6%
                                       Greenhaw                   76.9%
                              4                                                  Runoff
                                       Chumney                    24.1%
                              3        Oliver                    100.0%         Unopposed
                   2013                Abadie                     13.6%
                              4        Greenhaw                   41.6%
                                       Chumney                    44.8%
                              5        Holburn                   100.0%         Unopposed
                   2012      1, 2                   No results reported
                   2011      6, 7                   No results reported
                                       Smyers                     10.7%
                                       Oliver                     70.8%
                              3
                                       Gordon                     11.8%
                                       Write-in                    6.7%
                   2010
                                       Greenhaw                   81.6%
                              4
                                       Najera Hague               18.4%
                                       Holburn                    88.6%
                              5
                                       Chari                      11.4%
                   2009    1 and 2                  No results reported
                   2008     3, 4, 5                   No results reported

During the period I analyzed, no minority candidate was elected to the Board, and the three
minority candidates who did run (Benjamin Prado in 2017, and Jennifer Najera Hague and Raj
Chari in 2010) were not competitive, receiving 10.1%, 18.4%, and 11.4% of the vote,




                                                  6
    Case 3:18-cv-00212-K Document 25 Filed 07/16/18                Page 66 of 101 PageID 193


respectively. There has never been a minority candidate who won a contested election for RISD
Trustee in the history of RISD.8

D. Electoral Context
Apart from the uncompetitive nature of Board elections, a second dimension of these races is
their extraordinarily low turnout. Table 2 shows two turnout metrics for RISD elections (showing
only years in which elections were actually held). The first (Presented) is the percentage of
registered voters who appeared at the polling place. The second (Highest Vote) is the percentage
of registered voters who recorded a preference for a Board candidate, based on the highest vote
total recorded. The Highest Vote metric excludes voters who did not vote for any of the Board
candidates, leaving that portion of the ballot blank.

Turnout exceeded 10% of registered voters only once (2013), and is more frequently below 6%.
This is an order of magnitude lower than presidential election turnout (which I estimated to be
65% of registered voters in the RISD area in the 2012 presidential election). Every cycle, voters
appear at the polls but do not record a preference in a Board race (the most undervotes occurred
in 2013, when 21% of the people who appeared at the polls did not vote in the contested Board
race).


                                             Table 2
                               Turnout in Board of Trustee Elections
                                         % of Registered Voters

                                                Turnout          Turnout
                             Year
                                              (Presented)     (Highest Vote)

                             2017                9.3%             8.8%

                             2016                7.6%             6.0%

                             2014                5.3%             5.1%

                         2013 (runoff)           4.2%             3.8%

                             2013                12.4%            9.8%

                             2010                5.7%             4.5%

                            Average              7.4%             6.3%



Low turnout is reinforced by the split of the RISD boundaries across three municipalities. The
RISD 3-year election cycle, in which some seats are elected every year, does not coincide with
any of the three municipal election cycles. Dallas and Garland city officials (mayor and city
council) serve four-year terms, with elections held the year after a presidential election (the two
most recent were in 2013 and 2017). Richardson municipal elections are held every two years in

8
 The only African American to serve on the Board was David Tyson, who did not face
opposition in either 2004 or 2007.
                                                   7
    Case 3:18-cv-00212-K Document 25 Filed 07/16/18                  Page 67 of 101 PageID 194


an odd year (2017, 2015, 2013). A consequence is that turnout in Board elections varies
depending on what other officers are up for election in the RISD area. In 2017, for example,
turnout was 8.8% (as measured by Highest Vote), a comparatively high level driven in part by
mayoral and city council elections in both Richardson and Dallas. In 2014, when there were no
Dallas or Richardson municipal offices up for election, turnout was 5.1%, a more than 40% drop
from 2017 levels. Such low turnout will be the norm in an off-year nonpartisan local election in a
jurisdiction that does not coincide with any other municipality or legislative district cycle, and
low propensity voters will be relegated to the sidelines.9

Low-turnout elections attract voters who are already the most engaged and committed, and the
academic literature has for decades consistently identified race, income, and education as being
strongly correlated with turnout likelihood (Burden et al., 2014).

Data in Table 3 shows how low turnout changes the demographic composition of the RISD
electorate. The May 2017 CVAP – the eligible electorate – was 20.6% African American and
11.5% Hispanic (column 1). Among registered voters, these minority groups make up a smaller
share: 15% African American and 8.9% Hispanic (column 2). Among voters in that election,
representation of minority groups is smaller still: 7.5% of voters were African American, and
4.8% were Hispanic (column 3).

Column 4 shows turnout as a percentage of registered voters: 5.3% among African Americans,
and 4.8% among Hispanics (overall turnout was 8.8%, and I estimate turnout among non-
Hispanic white voters was approximately 12%). Column 5 shows turnout as a percentage of the
eligible voting age population (including those not registered): 3.0% among African Americans
and 2.9% among Hispanics. Minority representation among voters is roughly one-third to one-
half of their overall representation in the eligible electorate, a disparity attributable to lower
registration rates and lower turnout.

                                                       Table 3
                          Changes in Minority Representation in Different Voting Populations
                            (1)           (2)              (3)            (4)            (5)
                                                                      Turnout as
                                         % of         % of Voters        % of
                                      Registered     in May 2017      Registered    Turnout as
                       % of CVAP in    Voters in          RISD        Population    % of CVAP
                           RISD          RISD           Election       May 2017     population
            African
                          20.6%         15.0%           7.5%           5.3%           3.0%
           Americans
           Hispanics      11.5%          8.9%           4.1%           4.8%           2.9%


9
  One indicator of how turnout can dramatically affect results comes from the 2013 cycle. In
May, as noted above, Rachel Chumney came in first in a 3-way race for Place 4, narrowly
defeating incumbent Lanet Greenhaw 44.8%-41.6%%. Turnout in that race was 9.8% of
registered voters, with 11,659 votes cast. In the runoff held a month later, only 4,563 voters cast
ballots (a turnout rate of 3.8% of registered voters, a drop off of more than 60 percent),
producing a very different result: Greenhaw defeated Chumney, 76.9% to 24.1%, a 56-point
swing in the margin of victory (from -3.3% to +52.8%).

                                                   8
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 68 of 101 PageID 195




This pattern is wholly consistent with the academic literature on turnout, which has for decades
established that voter turnout among minority groups lags turnout among whites (Fraga 2016;
Lopez and Barrera 2013), with the disparities greater in local and low-turnout elections:

         [S]imple logic dictates that the possible extent of any skew produced by uneven
         turnout decreases as overall turnout levels increase. As detailed in [the] “law of
         dispersion,” the chances of skew are inversely proportional to overall electoral
         participation. If almost everybody turns out, there can be very little skew. If,
         however, only a small fraction of the population turns out, skew can be severe.
         Thus, if we are interested in revealing just how much turnout matters, we should
         not confine our research to national elections where turnout is relatively high. Bias
         could certainly exist at the national level where only about half of all eligible
         voters turn out but it could be that much worse at the local level where turnout
         averages half or less than half that of national elections (Hajnal and Trounstine
         2005, 517).

E. Tests for Vote Dilution
The Voting Rights Act prohibits voting standards, practices or procedures that deny or abridge
the right of members of protected classes to vote. Congress amended the Act in 1982 to include
within this right the ability of protected classes to participate equally in the political process and
“elect representatives of their choice,” and specified that discriminatory intent was not required
to show a violation of the law; it is only necessary to show a discriminatory effect. The relevant
language reads:

         (a) No voting qualification or prerequisite to voting or standard, practice, or
         procedure shall be imposed or applied by any State or political subdivision in a
         manner which results in a denial or abridgement of the right of any citizen of the
         United States to vote on account of race or color, or in contravention of the
         guarantees set forth in section 1973 b(f)(2), as provided in subsection (b).

         (b) A violation of subsection (a) is established if, based on the totality of
         circumstances, it is shown that the political processes leading to nomination or
         election in the State or political subdivision are not equally open to participation
         by members of a class of citizens protected by subsection (a) in that its members
         have less opportunity than other members of the electorate to participate in the
         political process and to elect representatives of their choice. The extent to which
         members of a protected class have been elected to office in the State or political
         subdivision is one circumstance which may be considered: Provided, that
         nothing in this section establishes a right to have members of a protected class
         elected in numbers equal to their proportion in the population.10

The Senate Judiciary Committee Report on the legislation identified a number of elements to be
considered in analyzing whether minorities “are denied equal access to the political process”
(more commonly known as the “Senate Factors”; United States Senate 1982, 27):

10
     42 U.S.C. § 1973 (1982).
                                                   9
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                  Page 69 of 101 PageID 196



        1. the extent of any history of official discrimination in the state or political
                 subdivision that touched the right of the members of the minority group
                 to register, to vote, or otherwise to participate in the democratic process;
        2. the extent to which voting in the elections of the state or political subdivision
                 is racially polarized;
        3. the extent to which the state or political subdivision has used unusually large
                 election districts, majority vote requirements, anti-single shot provisions,
                 or other voting practices or procedures that may enhance the opportunity
                 for discrimination against the minority group;
        4. if there is a candidate slating process, whether the members of the minority
                 group have been denied access to that process;
        5. the extent to which members of the minority group in the state or political
                 subdivision bear the effects of discrimination in such areas as education,
                 employment and health, which hinder their ability to participate
                 effectively in the political process;
        6. whether political campaigns have been characterized by overt or subtle racial
                 appeals;
        7. the extent to which members of the minority group have been elected to
                 public office in the jurisdiction.

Additional factors that in some cases have had probative value as part of plaintiffs' evidence to
establish a violation are: "whether there is a significant lack of responsiveness on the part of
elected officials to the particularized needs of the members of the minority group, [and] whether
the policy underlying the state or political subdivision's use of such voting qualification,
prerequisite to voting, or standard, practice or procedure is tenuous” (United States Senate 1982,
28-29).

The report specifies that these factors are not exhaustive, and that “there is no requirement that
any particular number of factors be proved, or that a majority of them point in one way or the
other” to establish a violation. (United States Senate 1982, 29).

1. Factor 2: Racially Polarized Voting
Factor two addresses racially polarized voting as a cause of a protected class of voters being
denied equal access to the political process. In Thornburgh v. Gingles 478 U.S. 30 (1985), the
U.S. Supreme Court established a three-part test for determining whether a voting practice or
procedure met this standard and diluted the voting power of a minority group:

  I.   The minority group must be sufficiently large and geographically compact to constitute a
       majority in a single member district.
 II.   Members of the minority group must be politically cohesive.
III.   White majorities must vote sufficiently as a bloc to enable it usually to defeat the
       minority’s preferred candidate (478 U.S. 30,50- 51).

These are commonly referred to as the three “prongs” of the Gingles test. Prongs II and III form
a test of whether the votes of members of a minority group are diluted via practices or structures
that impair the group’s ability to elect a representative of its choice. This test, along with the

                                                 10
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 70 of 101 PageID 197


other Senate Factors, form key elements of the “totality of circumstances” evaluation of
discriminatory voting practices.

In evaluating the degree of racially polarized voting and racial bloc voting,11 there are two
empirical questions. First: do minority voters constitute a politically cohesive group? And
second: do white voters usually vote as a bloc in a manner that prevents Hispanic or African
American voters from electing representatives of their choice?

Such an analysis requires estimates of voting behavior in minority and white subpopulations.
Because the secret ballot prevents direct observation of how individuals vote, voting behavior
must be inferred from aggregate information using observable data about groups.12 Knowing the
composition of the electorate (an observable precinct level group characteristic through Census
data or surname analysis of voters) and the election results (observable at the precinct level), it is
possible to estimate the behavior of individuals in different demographic groups.

In the problem analyzed in this report, we need to know which candidates minority and white
(non-minority) voters support, in order to reach conclusions about (1) whether minority voters
are politically cohesive, and (2) whether white voters usually vote as a bloc in a manner that
denies minority voters the ability to elect candidates of their choice.

In Gingles, the Supreme Court endorsed a technique known as ecological regression (also called
Goodman Regression) that can produce accurate individual level estimates as long as certain
assumptions about the data hold. More recent methods generate reliable estimates even when the
assumptions necessary for Goodman regression are violated, and have become more common in
voting rights analyses. The most common are based on King’s EI method and its extensions
(King 1997; King, Rosen and Tanner, 1999; Rosen et al., 2001). These methods are widely used
in the discipline, are recognized as reliable, and have been accepted as accurate ways of
estimating the voting behavior of subgroups in the electorate.

The analysis here uses an R package, eiCompare, that calculates King EI, EI-R x C using the
Rosen et al. method, and Goodman Regression estimates for racial bloc voting, allowing for
comparison of the three results (Collingwood 2017; Collingwood et al., 2016). In most cases,
the three techniques produce almost identical estimates of minority and white voting behavior
(Grofman and Barreto 2009). The more recent methods tend to have the most reliable estimates
in multi candidate races, have the smallest standard errors (signifying the most precise
estimates), and are more robust to violations of the assumptions required for EI and Goodman
regression to work reliably (Ferree 2004; de Benedictis-Kessner 2015).



11
   The two terms are similar, but not interchangeable. Racially polarized voting is defined as
voters supporting candidates of their race (i.e., white voters supporting white candidates, and
minority voters supporting minority candidates). Racial bloc voting is a stronger term that refers
to cohesion among minorities combined with white voters voting as a bloc for white candidates
in a manner that usually defeats the candidates supported by minority voters.
12
   In some cases, exit polls or other survey data can provide individual-level information about
voting, but those are usually available only in high-level races and at geographies larger than
counties.
                                                 11
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                  Page 71 of 101 PageID 198


For the May 2017 Board election, I relied on surname analysis and estimates of the race of actual
voters, provided by demographer David Ely and based on the April 2018 Dallas County voter
registration file. The file contains information for each registered voter as of that date, and
includes a voter history. Voter surnames are used to identify Hispanic registrants, based on
Census lists if Hispanic surnames. The number of African American registrants and voters is
estimated using the demographics of precincts where individuals are registered.

Throughout the analysis, I identified different voter groups according the following definitions:

   •   Hispanic voters: classified either through Spanish surnames of voters casting ballots in an
       election, or by precinct-level Hispanic CVAP or VAP percentages.

   •   Non-Hispanic voters: classified as all voters who are not identified as Hispanic (includes
       African American voters)

   •   African American voters: classified by precinct-level CVAP or VAP percentages

   •   Minority voters: the aggregate totals of Hispanic and African American voters

   •   White voters: classified as precinct-level percentages of white CVAP or VAP

2 Selection of Races to Analyze
The elections I analyzed to determine whether racial cohesion exists among minority voters, and
racial bloc voting exists among white voters, are the following:

   •   The May 2017 RISD Board election for Place 3
   •   The 2008 Democratic presidential primary
   •   The 2012 presidential election
   •   The 2018 Texas Democratic gubernatorial primary
   •   The 2018 Texas Democratic gubernatorial primary runoff

a. Endogenous Elections

In carrying out analyses of racially polarized voting, one typically begins with elections of the
same type at issue in litigation (Trustee elections, in this instance). These “endogenous races”
are useful in that they involve the same electoral context – office, turnout, timing, candidate
incentives, etc. – that we seek to understand in estimating the voting behavior of different racial
and ethnic groups. From there, the elections considered move on to other types (so called
“exogenous races”) that are likely to show similar patterns. Patterns are clearest and most
precise when there is a minority candidate running against a white (non-minority) candidate.
But in RISD elections, there are no instances in the last ten years of competitive minority
candidates who received a share of the vote high enough to generate conclusive estimates of bloc
voting behavior. As noted above, since 2010 no minority candidate has received more than
18.4% of the vote, and in that time there have been only three minority candidates (two in 2010
and one in 2017). It is not possible to generate estimates from the 2010 election, as detailed
registration, individual voter demographics, and voter history data do not exist, and even if it did
exist the turnout was so low (4.5% of registered voters as measured by Highest Vote) as to likely
render the results uninformative.
                                                12
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 72 of 101 PageID 199



In May 2017, for example, the voter history data show that only 475 Hispanics cast ballots in the
Place 3 election. The number of Hispanic voters in each precinct ranged from 0 (in 10 precincts)
to a maximum of 26, with an average of 6.5 voters per precinct. Prado received an average of
14.5 votes per precinct, 10 or fewer votes in 30 precincts, and under 10% of the vote in 38
precincts (out of 74). Such a small number of voters and votes, along with a lack of variance in
the vote share, makes inferences uncertain. Even if every Hispanic voter who cast his or her
ballot voted for the Hispanic candidate (Prado), they would collectively constitute only about
4.5% of the total vote in that race.

It is still possible to generate estimates of cohesion using this data, although the results are likely
to be uncertain and a lack of clear cohesion in the voter data does not prove it would not exist
with a better known and more competitive candidate (one cannot easily measure preferences that
are unexpressed). Estimates for white, non-minority voters – who comprise a much larger share
of voters – will be more precise.

b. Exogenous Elections

In an electoral system that lacks competitive minority candidates, other elections will be
informative as to the existence of cohesion and bloc voting (Clarke 2009, 66-68). Courts
frequently rely on exogenous election data where, as here, a lack of minority candidates results
in limited endogenous election data.13

I selected four exogenous races to analyze patterns of cohesion and racial bloc voting when an
African American candidate ran: the 2008 Democratic presidential primary between Barack
Obama and Hillary Clinton, the 2012 presidential election between Obama and Mitt Romney the
2018 Texas Democratic gubernatorial primary, and the 2018 Texas Democratic gubernatorial
primary runoff. These have the advantage of providing robust data, high turnout, relatively large
percentages of minority voters, high vote variance across all RISD precincts, and competitive
races.

There are state or local elections involving minority and white candidates running, but they
occurred in only a part of the RISD area and are uninformative about overall voting patterns in
the District. For example, the Democratic primary for Dallas County Commissioner, District 1
involved two minority candidates (an African American and Hispanic candidate) and one white
candidate. But the district included less than half of the RISD area, and only 1,570 votes were
cast there, a turnout of 3% of registered voters. The data were insufficient to generate
meaningful estimates; in some cases, the software did not even converge.

Additionally, the 2018 and 2012 Republican Senate primary (in which Ted Cruz ran) did not
generate enough votes in precincts with high concentrations of Hispanic or African American
voters to generate meaningful inferences. For example, the two precincts with the highest
concentration of Hispanic CVAP in the RISD area were precinct 1036 (with 48.9%) and 1129
(43.3%). In 2018, there were 48 and three votes respectively cast there in the GOP Senate
primary. In the precinct with the highest African American CVAP (1041) only two votes were

13
  Citizens for a Better Gretna v. City of Gretna 834 F. 2d 496 (5th Cir., 1987). League of United
Latin American Citizens, Council No. 4434 v. Clements 999 F. 2d 831 (5th Cir., 1993).
                                                  13
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 73 of 101 PageID 200


cast, fewer than the number of votes cast there in the 2017 RISD election (seven), and a turnout
rate of 0.2% of registered voters.

3. Results

a. 2017 RISD Place 3 Election

The election pitted one Hispanic candidate, Ben Prado, against three white candidates. The
results were:


                                            Table 4
                                  May 2017 RISD Place 3 Election
                                   Candidate         Votes
                                                             I Percent
                             Karen Clardy            5,748     55.0%
                             Eric Eager              2,359     22.6%
                             Joseph Armstrong        1,298     12.4%
                             Ben Prado               1,055     10.1%

Turnout in this specific race was approximately 8.2% of registered voters.14

As noted above. Prado’s small vote share and the small variance across precincts limits the
inferences that can be drawn about cohesion, but provides leverage for determining whether
racial bloc voting exists. The analysis for this election uses precinct vote totals for each
candidate and estimates of the race of individual voters using surnames.

There is evidence that Hispanic voters were more supportive of Prado than they were other
candidates. The following figure plots the percentage of votes that Prado received against the
percentage of votes cast by Hispanics. Each circle represents one precinct, with the circle size
proportional to the number of votes cast. With one exception – the circle at the right of the graph
at roughly (0.4,0.2), representing precinct 1704 in Garland – no precinct has more than 15%
Hispanic vote concentration and almost all are below 10%. Still, it is possible to discern a
positive relationship between Hispanic concentration and support for Prado: as the percentage of
Hispanic voters increases, so does the percentage of the vote Prado receives, even if it the
number of Hispanic voters was not sufficient anywhere to push him above (or even close to)
50% of the vote.




14
  This figure is lower than the turnout totals in Table 3, and is calculated using the number of
voters who cast ballots in this contest.
                                                14
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                 Page 74 of 101 PageID 201


                                                                2017 Trustee Place 3




                                         0.5
                                         0.4
                      % Vote for Prado

                                         0.3
                                         0.2
                                         0.1
                                         0.0                                                         0




                                               0.0        0.1             0.2             0.3        0.4

                                                                  % Latino in Precinct
                                                                  All Nonzero Precincts


Tables 5 shows estimates of Prado’s support among Hispanic and non-Hispanic voters.


                                                    Table 5
                                         Ecological Inference Results
                              May 2017 RISD Trustee Place 3 – Voter Surname Data

                                                        Hispanic Voters                                  Non-Hispanic
      Candidate
                                                  EI       EI RxC         Goodman                 EI        EI RxC   Goodman
                    Vote %                      60.3%      51.3%           49.9%                 8.9%        9.4%       9.2%
        Prado
                     s.e.                        23.4       15.3            17.7                  1.2         1.2        7.5
        Anglo       Vote %                      38.0%      48.7%           50.1%                91.1%       90.6%      90.8%
      Candidates     s.e.                        23.4       15.5            17.7                  1.2         1.2        7.5
      Difference                                22.3%       2.6%           -0.2%                -82.2%      -81.2%    -81.6%

Each cell number in the Vote % rows is the estimated percentage of voters who cast their ballot
for either Prado or one of the three white candidates, using the three methods described above.
The numbers below the bolded numbers are the standard errors of the estimates. The EI method
shows that Hispanic voters broke 60.3%-38% for Prado (the numbers do not always sum to
100% because of the way that coefficients are estimated). Both the EI RxC and Goodman
regression methods show a much closer division (51.3-48.7 and 49.9-40.1, respectively).

The precision of the estimates is reflected in the standard errors of each vote percentage (denoted
in the “s.e.” rows). To determine whether the differences in support for each candidate (or set of



                                                                       15
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                        Page 75 of 101 PageID 202


candidates) are statistically significant, I used a heuristic rule: a difference is significant if it is
larger than twice the standard errors of the estimates. 15

The ecological inference methods show that Hispanic voters supported Prado by between 49.9%
- 60.3% of the vote compared to Anglo candidates. However, even the largest margin, produced
by the baseline EI method (60.3%-38.0%) is not statistically significant, given that the standard
errors for both estimates (23.4%) are larger than the difference in vote percentage than the
standard error of both estimates (22.3%). The large standard errors reflect the small number of
Hispanic voters (475) and the low Hispanic concentrations in virtually every precinct (all but one
below 15% of votes cast). Nevertheless, there is at least some evidence that Hispanic voters
supported Prado disproportionately.

The estimates for the preferences of non-Hispanic voters (over 90% of whom are White) are
much clearer. Non-Hispanic voters broke overwhelmingly against Prado, supporting Anglo
candidates by more than a 90%-10%. All of the methods produce similar and statistically
significant estimates.

While the small number of Hispanic voters prevents a conclusive statement about minority
cohesion, the endogenous elections supports the existence of cohesion, and clearly supports the
existence of white bloc voting.

b. 2008 Democratic presidential primary

In the 2008 Democratic presidential primary, Hillary Clinton and Barack Obama competed (with
three other candidates who received a trivial share of the vote). The results in the RISD area
were:

                                               Table 6
                                      2008 Democratic Presidential
                                              Primary
                                     Candidate       Votes         Percent
                                                               I
                                       Clinton        12,744        42.3%
                                       Obama          17,230        57.2%
                                       Others            131         0.4%



15
  A heuristic is necessary, as it is not possible to directly calculate significance when the
confidence intervals (or, more properly, credible intervals) around the coefficients are not
distributed normally. I regarded the coefficients of support between candidates as significantly
different if the difference between the two coefficients was greater than twice the standard errors
of each coefficient. This is reflected in the formula that is used when standard errors are
normally distributed. When that assumption holds, values of the normal statistic 𝑍 =
     𝑏1 − 𝑏2
                 (where b is a coefficient and seb the standard error that coefficient) greater than
√ 𝑠𝑒𝑏1 2 + 𝑠𝑒𝑏2 2

1.96 signify statistical significance at the 0.05 level.
                                                    16
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                Page 76 of 101 PageID 203


Turnout was approximately 26.7% of registered voters.

Obama’s vote percentage in the RISD area was better than his statewide performance (Clinton
won the statewide vote, 50.9%-47.4%). There is a strong relationship between the percentage of
African American CVAP in a precinct and Obama’s vote percentage:

                                              2008 Democratic Presidential Primary




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                                     0.0    0.1    0.2        0.3      0.4          0.5   0.6    0.7

                                                         % Black CVAP in Precinct




                                                     Table 7
                                           Ecological Inference Results
                        2008 Democratic Presidential Primary- CVAP Data
                                    African American                                                         White
     Candidate
                                 EI    I EI RxC I Goodman          EI                                    I   EI RxC   I Goodman
                    Vote %     94.0%      95.7%      97.9%       50.8%                                       50.4%      52.0%
      Obama
                     s.e.       4.9        2.4         4.8        0.92                                        0.79       6.3
                    Vote %     5.9%       4.3%        4.8%       49.1%                                       49.6%      48.0%
      Clinton
                     s.e.       4.8        2.4         4.8        0.9                                          0.8       0.6
     Difference                      88.1%           91.4%                   93.1%                1.7%        0.8%       4.0%

The result of the EI estimation appears in Table 7. It shows that African American Democratic
voters overwhelmingly supported Obama, by margins of 94%-6% or greater. At the same time,
white Democrats were evenly split between Obama and Clinton. Given that in 2012, very few
African Americans were Republicans, the primary is a reasonable proxy for this group’s voting
pattern in a higher turnout election in which voters did not have party labels to differentiate
among candidates on the ballot.16 Hispanics were supportive of Obama by closer margins
(roughly 70%-30% over Clinton) indicating that Hispanic and African American voters share
underlying preferences and voted as a coalition.

16
  In the 2012 Cooperative Congressional Election Study, 2.6% of African Americans in Texas
identified as Republican (Ansolabehere and Schaffner 2013).
                                                                17
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                      Page 77 of 101 PageID 204



c. 2012 presidential general election

In 2012, Barack Obama ran against Mitt Romney. The two-party vote in the RISD area is shown
in Table 8:

                                                  Table 8
                                         2012 Presidential Election

                                     Candidate              Votes                Percent
                                                                             I
                                      Obama                  35,389              46.4%

                                     Romney                  40,926              53.6%


Turnout was approximately 65% of registered voters.

In RISD precincts, Obama outperformed his statewide vote percentage (which was 41.4%), but
significantly underperformed Dallas County as a whole (where he received 57.8% of the vote).

There is a clear relationship between the share of a precinct made up of minority Citizen Voting
Age population, and support for Obama. Notably, precincts in which minorities are less than
half of the voting age population tended to support Romney. In the precincts with the highest
concentration of minorities, support for Obama is nearly unanimous.

The EI results (Table 9) show indisputable evidence of both minority cohesion and racial bloc
voting. Minority voters almost unanimously voted for Obama, with all method showing a 95%-
5% split. Over three-quarters of white voters, in contrast, voted for Romney (with the estimates
ranging from 75.9% to 78.7%). Despite the fact that minority groups supported Obama by a
ratio of over 19-1, white bloc voting produced a district-wide victory for Romney.

                                                 2012 Presidential Vote




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                                          0.2         0.4            0.6            0.8

                                                    % Minority in Precinct
                                                    All Nonzero Precincts

                                                          18
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                      Page 78 of 101 PageID 205




                                              Table 9
                                   Ecological Inference Results
                              2012 Presidential Election - CVAP Data
                                           Minority                                   White
     Candidate
                                 EI        I   EI RxC   I Goodman           EI   I   EI RxC   I   Goodman
                    Vote %     94.8%           95.7%      95.2%        24.1%         22.7%         21.3%
      Obama
                     s.e. I     3.6             2.2        6.3          2.4           1.4           6.2
                    Vote %     5.1%            4.3%       4.8%         75.9%         77.2%         78.7%
      Romney
                     s.e.       3.6             2.1        6.3          2.3           1.5           5.6
     Difference                89.7%           91.4%      90.4%       -51.8%         -54.5%        -57.4%

d. 2018 Democratic Texas Gubernatorial Primary

Nine candidates ran for the Democratic Gubernatorial nomination in 2018. Dallas County
Sheriff Lupe Valdez finished first statewide (though she did not win an outright majority) and in
the RISD. The vote totals in the RISD area were:


                                          Table 10
                                 2018 Democratic Gubernatorial
                                          Primary
                                   Candidate            Votes
                                                                I Percent
                                 Lupe Valdez            8,300     54.8%
                               Andrew White             4,512     29.8%
                               Cedric Davis, Sr.         590      3.9%
                               Adrian Ocegueda           285      1.9%
                                      5 others          1,454     9.6%



Turnout was approximately 10.4% of registered voters.17

The effects of higher turnout are apparent from the demographic composition of voters.
Compared to the May 2017 Board of Trustees election, turnout more than doubled among
Hispanic voters, to 9.4% compared to 4.1%. Hispanics also comprised a larger share of voters,
increasing from 4.8% in May 2017 to 7.7% in this primary.




17
  Valdez received 42.9% of the statewide vote, with White receiving 27.4%. Valdez won the
runoff over White, 53.4%-46..7% statewide, and 65.4%-34.6% in Dallas County.
                                                   19
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                          Page 79 of 101 PageID 206


A graph of Valdez’s vote share and the share of Hispanic voters in a precinct shows a strong
relationship. Notably, precincts with a very low percentage of Hispanic voters (generally below
10%) frequently cast a majority of the vote for other candidates.
                                        2018 Democratic Gubernatorial Primary


                                                                                      0


                                                                               0      cg
                                                                                                  0




                                 0.00    0.05      0.10          0.15              0.20    0.25

                                                 % Latino Voters in Precinct


The results of the EI estimate (Table 11) show that Hispanic voters were strongly supportive of
Valdez, voting for her nearly unanimously according to the EI method, and by nearly 9-1 in the
RxC method. The Goodman regression for Hispanic voters demonstrates one of the problems
with this method noted by King (1997,56-70, which is that it can give impossible results (a
candidate cannot get over 100% or less than 0% of the vote).18



                                                 Table 11
                                        Ecological Inference Results
                        2018 Democratic Gubernatorial Primary - Voter Surname Data
                                                 Hispanic                      Non-Hispanic
        Candidate
                                         EI       I    EI RxC           I Goodman                     EI   I   EI RxC   I Goodman
                           Vote %       94.4%          89.8%               108.7%                 48.8%        49.2%      46.1%
         Valdez
                            s.e.         8.4            8.3                  20.4                  0.8          1.3        33.5
                           Vote %       1.2%           10.3%                -8.7%                 51.5%        50.8%      53.9%
     Other Candidates
                            s.e.         1.8            8.3                  20.4                  0.1          1.2        33.5
        Difference                      93.2%          79.5%               117.4%                 -2.7%        -1.6%      -7.8%




18
  Is noted in Table 10 a second Hispanic candidate, Adrian Ocegueda, received a small share of
the overall vote (1.9%). Aggregating his and Valdez’s votes do not affect the result of the
ecological inference analysis..
                                                          20
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                                                           Page 80 of 101 PageID 207


e. 2018 Democratic Texas Gubernatorial Primary Runoff

Because no candidate received 50% of the primary vote, the top two candidates (Valdez and
White) proceeded to a runoff election. The results of the runoff in the RISD area were:


                                                                  Table 12
                                                         2018 Democratic Gubernatorial
                                                                   Runoff
                                                          Candidate                  Votes        Percent

                                                          Lupe Valdez                4,910        56.4%

                                                         Andrew White                3,800        43.6%


Turnout was 6% of registered voters.

There is a strong relationship between the Hispanic CVAP percentage and support for Valdez (the
graph shows Hispanic CVAP, as surname data were note available). As with the primary,
precincts with very low Hispanic concentrations frequently cast a majority of the vote for White.

                                                              2018 Democratic Gubernatorial Runoff
                                             1.0




                                                          0                                       0



                                                              oo                 0
                                             0.8




                                                                                     Oo
                         % Vote for Valdez




                                                                                           0
                                             0.6




                                                                                       0
                                                                                0
                                                                            0
                                             0.4
                                             0.2




                                                   0.0         0.1        0.2           0.3           0.4      0.5

                                                                      % Latino CVAP in Precinct




The EI estimates again show a nearly unanimous Hispanic vote for Valdez, and a relatively small
majority among non-Hispanic voters. However, when white voters are broken out separately, the
pattern becomes much clearer: minority voters remain strongly supportive of Valdez, with 80.1%-
83.5% voting for her. White voters, in contrast, broke for Andrew White, with between 53.1%
and 55.3% of the vote. Valdez also received considerable support among African Americans: in
the precinct with the highest concentration of African American CVAP (precinct 1003,with
63.2%), Valdez received 71.1% of the vote, significantly greater than the estimated support she
received among White voters (Table 14).

                                                                                21
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 81 of 101 PageID 208



                                           Table 13
                                  Ecological Inference Results
                        2018 Democratic Gubernatorial Runoff - CVAP Data
                                        Hispanic                     Non-Hispanic
       Candidate
                                 EI        EI RxC
                                       I            I Goodman      EI
                                                                          I   EI RxC
                                                                                       I Goodman
                     Vote %    97.3%       92.0%         108.1%   54.1%       54.3%      57.5%
         Valdez
                      s.e.      3.9         6.8            20.0    0.7         1.9        30.0
                     Vote %    1.1%        8.2%           -8.1%   46.3%       45.7%      42.5%
         White
                      s.e.      1.1         6.8            20.0    0.1         1.9        30.0
       Difference              96.2%       83.8%         116.2%   7.8%        8.6%       15.0%



                                           Table 14
                                  Ecological Inference Results
                        2018 Democratic Gubernatorial Runoff - CVAP Data
                                       Minority                          White
       Candidate
                               EI   I EI RxC I Goodman          EI    I EI RxC         I Goodman
                     Vote %    80.1%       82.7%         83.5%    47.0%       44.7%      46.9%
        Valdez
                      s.e.      9.3         3.4            9       5.6         2.3        8.9
                     Vote %    20.1%       17.3%         16.5%    53.1%       55.3%      53.1%
         White
                      s.e.      8.9         3.4           9.0      5.6         2.3        8.9
      Difference               60.0%       65.4%         67.0%    -6.1%       -10.6%      -6.2%



f. Summary

In total, the elections analyzed in this section show clear patterns of minority group cohesion and
racial bloc voting. The only race that does not show conclusive evidence of minority cohesion is
the 2017 RISD Board of Trustees election, but that is a function of the lack of a competitive
minority candidate and low voter turnout. Even then, both the EI method and EI RxC method
indicated that a majority of Hispanic voters support Prado even if the results did not meet the
threshold for statistical significance.

The 2012 presidential election showed clear evidence of both cohesion and racial bloc voting, in
which African American voters strongly supported Obama, White voters support Romney, and
Romney won a decisive majority in the RISD area. In the 2018 Gubernatorial runoff, minority
voters supported Valdez by a 4-1 margin, and white voters supported White by a narrow majority
that in this case was not large enough to offset the minority vote. In 2008, African American
voters overwhelmingly supported Obama, while White voters were evenly divided between
Obama and Clinton.

Democratic primaries, however, will understate the degree of white support for white, non-
minority candidates (as evidenced by the difference between the 2008 Democratic primary and
                                                    22
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                  Page 82 of 101 PageID 209


the 2012 general election: in the former, White Democratic primary voters were evenly split
between Obama and Clinton. In the latter, White voters support Romney by over three to one).

The inferences that I draw from this analysis are first, that minority voters will support minority
candidates when offered a serious option; second, that white voters will generally support white,
non-minority candidates, often by enormous margins; and most importantly, the data show that
the only time minority voters are able elect their candidate of choice in a general election is when
white voters are split or support the same candidate as minority voters. The power of white
voters, when their preferences are strong, overwhelms the influence of minority voters.

4. Factor 3: At Large Elections
The at-large character of Board elections is another barrier to an effective minority vote,
exacerbating the effects of lower minority voter turnout and white racial bloc voting.

The analysis is straightforward. A concentration of 20.6% African American and 11.5%
Hispanic CVAP and in the RISD does not provide a meaningful opportunity to elect a candidate
of choice in an at-large election. Differentials in registration and turnout rates reduce this
representation (as shown in Table 3) to 15% of registrants and 7.5% of voters for African
Americans, and to 8.9% of registrants and 4.1% of voters for Hispanics. African Americans and
Hispanics comprise nearly a third of the eligible RISD voting age population (32.1%), but
constitute less than one-eighth of voters (11.6%). The 2017 Board election data indicate that 475
voters with Hispanic surnames, and 877 probabilistically identified as African Americans cast
ballots in that election. Combined, these 1,352 voters represent only 11.6% of all votes cast, and
less than a quarter of the 5,748 votes the winner received. In 2017, even if every Black or
Hispanic voter cast their ballot for the Hispanic candidate (Prado), his vote would not have been
much higher than it was (10.1%).

Diluted at-large representation combined with the lack of competitive Board elections will
discourage competitive minority candidates from emerging, a plausible reason why there have
been so few who have run for Board office.19 Lacking the resources of better-connected or
wealthier individuals, and with less access to contribution networks, potential minority
candidates have little incentive or ability to assume the financial and time costs of running for
office. To give one example of this disparity: the winner of the Place 3 election in May 2017,
Karen Clardy, raised $10,760, and reported 85 contributions to her campaign (not including a
$1,000 contribution from Board member Justin Bono, who ran unopposed for the Place 1 seat
and made the contribution after Clardy’s last filing had been submitted). Ben Prado, the
Hispanic, minority candidate in that race, received a lone contribution (of $50), with the
remainder of his funding coming from either in-kind contributions or his personal funds.

At large elections, low turnout, and a lack of competitive minority candidates work together to
magnify the electoral power of white voters and further dilute minority votes. With up to 90% or
more of white voters opting for white candidates, and white voters outnumbering minority voters
by more than 8-1, it is virtually impossible for minority voters to elect a candidate of choice
unless it coincides with the preference of white voters. This discourages minority candidates

19
  The “strategic candidate” model, in which potential candidates weight the costs and effort of
running for office against the probability of success, is well established as an explanation for
candidate emergence (Jacobson and Kernell 1981; Krebs 1999)
                                                23
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                  Page 83 of 101 PageID 210


from emerging, thereby reinforcing the inability of minority voters to even register a meaningful
preference for – much less elect – a candidate of their choice.

It is obvious that a district-based system for electing Board members changes this calculus.
David Ely has drawn illustrative demonstration districts, in which each Board member would be
elected in a single-member district of approximately 31,000 people. Using data from David
Ely’s demonstration district A, it is possible to create a district of 30,645, with 60.3% African
American CVAP, 57.6% African American voter registration, and combined 66.9% Hispanic
and African American registration, This more than quadruples the African American share of
the Citizen Voting Age Population of registrants compared to the entire RISD (57.6% compared
to 15%), and triples minority registration (from a combined 23.9% to 66.9%). Similarly,
demonstration district B more than doubles the Hispanic share of CVAP, from 11.5% to 26.9%
in the district, and increases the overall African American and Hispanic share of CVAP to
50.1%. District B also nearly doubles overall minority representation among registered voters
from 23.9% RISD-wide to 43.4% in the district, and more than doubles Hispanic representation
(from 8.9% to 21.9% of registered voters). Given the patterns of minority cohesion and racial
bloc voting, a district-based system would indisputably and dramatically increase the likelihood
that minority voters would have an opportunity to elect candidates of their choice and participate
equally in the political process of Board elections.

As a notional exercise, I can demonstrate how a district-level system could change the vote totals
from the current at large basis. To do this, I will simulate a district-level election for the 2012
presidential race, using the demographic characteristics of Ely’s demonstration districts, turnout
figures for different groups from the 2017 RISD Board election, and the vote support
percentages in Table 9. This is not intended to be a formal prediction of what would happen.
Rather, it indicates what can happen in a district with higher concentrations of minority
populations, while incorporating turnout differentials among different demographic groups.

Ely’s demonstration district A has the following characteristics among registrants:

                                                   Table 15
                                   Notional Outcome, Demonstration District A
                          1            2          3           4           5           6
                                    Turnout     Obama       Romney     Obama     Romney
           Race/      Registered     (May       Support     Support     Votes     Votes
          Ethnicity     Voters       2017)        (EI)        (EI)     (1x2x3)   (1x2x4)
          Latino        1,378        4.8%        94.8%       5.2%        63         3
          Black         8,576        5.3%        94.8%       5.2%        431       24
          White         4,924        12.0%       24.1%       75.9%       142       448




The result (which was 53.6%-46.2% for Romney RISD-wide) is now a 57.2%-42.8% Obama
margin, a swing of over 10 points. Note that this calculation assumes the extremely low turnout
observed in Board elections, with the correspondingly larger turnout disparities between white
and minority voters. The better counterfactual comparison is not the 2012 presidential election
                                                 24
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 84 of 101 PageID 211


result, but the possible Board of Trustees election in that district, which is an outright majority
compared to the 0%-18% vote share that minority candidates have received in the last 8 years.

A single-member district changes a clear at-large majority for the white-preferred candidate
(Romney) to an even clearer victory for Obama, the candidate of choice among minority voters.

Demonstration district B has the following characteristics among registrants:

                                                   Table 16
                                   Notional Outcome, Demonstration District B
                          1            2          3           4           5           6
                                    Turnout     Obama        Romney      Obama     Romney
           Race/      Registered     (May       Support      Support      Votes     Votes
          Ethnicity     Voters       2017)        (EI)         (EI)      (1x2x3)   (1x2x4)
          Latino        2,242        4.8%        94.8%        5.2%         102        6
          Black         2,195        5.3%        94.8%        5.2%         110        6
          White         5,783        12.0%       24.1%        75.9%        167       527

In this district, there are fewer votes cast than demonstration district A, reflecting the higher
number of Hispanic voters (who have lower turnout and registration rates than non-Hispanics).
In this district, Obama receives 41.3% of the vote, slightly lower than his actual RISD-wide
share in 2012. But this notional calculation has adjusted turnout downward to reflect levels in
Board elections. Here, the appropriate comparison is Obama’s vote share relative to Prado’s
vote share in the 2017 Board election (10.1%). A minority candidate’s expected vote share in
district B will be more than quadruple what it was on at at-large basis, and that is using vote
totals for a clearly uncompetitive candidate (Prado). Even though the expected vote is less than a
majority, it approaches the level where the election would be considered competitive. With a
higher minority vote presence, competitive minority candidates would be more likely to emerge,
making a competitive race plausible, if not likely.

What this exercise demonstrates is that districts with a higher percentage of eligible minority
voters will produce better opportunities for minority groups to effectively participate in the
political process, even in the presence of racially polarized and racial bloc voting.

5. Factor 5: Effects of Discrimination
Senate Factor 5 addresses “the extent to which members of the minority group in the state or
political subdivision bear the effects of discrimination in such areas as education, employment
and health, which hinder their ability to participate effectively in the political process.”

There is no question that minority groups face socioeconomic disadvantages that can plausibly
be traced to discriminatory practices. Table 17 shows data on income and poverty, health, and
education in the RISD area using American Community Survey data. On every dimension,
minority populations are disadvantaged compared to the white population.

African American and Hispanic individuals, households, and families have significantly lower
income than whites in RISD, and are far less likely to have high incomes. Median family
income in RISD tops $110,000 for white families, while median African American and Hispanic
                                                 25
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                      Page 85 of 101 PageID 212


family incomes are one-third of that level (roughly $37,000). White families and households are
four to six times as likely to have high incomes (defined here as twice overall median income
levels). Minorities are four times more likely to be poor as whites (27% over the previous 12
months compared to 7%), and are five to six times as likely to receive SNAP benefits. African
American and Hispanic children in RISD are over six times as likely to be poor as their white
counterparts (38% and 39% compared to 6%).


                                             Table 17
                              Socioeconomic Data, RISD Geographic Area
                                2012-2016 American Community Survey
                                                                          African
          Category            Measure                   All    White                Hispanic
                                                                         American

                       Median Family Income        $68,721    $110,665   $36,900    $36,855

                         Median Household
                                                   $54,405    $81,110    $34,748    $40,289
                              Income

                        % Households over
                                                    28%         41%        10%       11%
                      $100,000 Annual Income

                      % Families over $125,000
                                                    27%         43%        7%         9%
                          Annual Income
          Income
            and       % Poverty Status last 12
          Poverty                                   17%         7%         27%       27%
                             months
                      % Households Receiving
                       SNAP Benefits Past 12        11%         4%         22%       19%
                             Months
                     % Poverty Status in last 12
                                                    26%         6%         39%       38%
                         Months, Children

                      % VAP Poverty Status last
                                                    14%         7%         22%       21%
                            12 months

                             % Disabled                 7%      7%         11%        3%
           Health
                         % Without Health
                                                    29%         12%        33%       57%
                       Insurance (ages 18-64)

                        % Individuals Limited
                                                    14%         2%         6%        41%
                       English (age 5 and over)
         Education
            and         % With Less Than HS
                                                        --      3%         11%       44%
         Language            Diploma
                     % With Bachelor’s Degree
                                                        --      59%        21%       14%
                            or Higher




                                                   26
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                 Page 86 of 101 PageID 213


Measures of health show disparities as well. Among adults age 18-64 (and less likely to be
covered by Medicare or Medicaid), 12% of whites lack health insurance, compared to 33% of
African Americans and 57% of Hispanics. African Americans are more likely to be disabled
(11%) than whites (7%). Hispanics are less likely to be disabled (3%) a result consistent with
other research and likely attributable to the fact that Hispanic populations are younger on
average than other racial or ethnic groups (Martin 2007,84).

Educational attainment is similarly lower among minorities. About 11% of African Americans
and 44% of Hispanics in RISD have less than a high school diploma, compared to 3% of whites
(among those age 25 or older). Whites are three to four times as likely to have at least a
Bachelor’s degree than minorities (59% of whites, compared to 21% of African Americans and
14% of Hispanics), and are far less likely to have limited English proficiency (2%) than African
Americans (6%) or Hispanics (44%).

There is simply no dispute that these socioeconomic disadvantages are reflected in a diminished
ability to participate in the political process. Not only is voter turnout strongly correlated with
income and education (Burden et al., 2014), so are other less common forms of political
participation, from making campaign contributions to candidates running for office (Gimpel, Lee
and Kaminski 2006; Francia et al. 2003). Table 4 demonstrates how moving from the eligible
population, to voter registration, to voting in Board elections diminishes representation of
minority groups. Socioeconomic status is a major factor in these disparities.

Similarly, there can be no real question that a long history of discrimination in education,
housing, and voting has existed in the RISD jurisdiction; nor that those practices have played a
role in creating and perpetuating these economic and educational disadvantages. Until the 1960s,
the RISD had segregated public schools (Wilson 1998). From 1970 to 2013, the RISD was
under a federal desegregation order; it was released from this order in 2013 after a federal judge
concluded that the district had eliminated de jure segregation.20 The largest African American
concentration in the RISD area is in Hamilton Park, a neighborhood specifically created in the
1950’s because a growing African American population in need of housing, was unable to move
into white areas of the city (Wilson 1998, 10-32).

Texas was one of the last states to have a poll tax, until the Supreme Court declared the practice
unconstitutional in 1966.21 Prior to Shelby County v. Holder 570 U.S. 2 (2013), Texas was
covered by Section 5 of the Voting Rights Act. A federal court twice found that the state’s 2011
voter ID law (SB 14) was enacted with the intent to discriminate against African American and
Hispanic voters.22 The Fifth Circuit found that the legislature had amended the ID requirement
to remedy flaws in the original law,23 but those changes were made only after the original law
had been enjoined by the court. Similarly, two three-judge federal courts held that a 2011 Texas


20
   United States of America vs. Texas Education Agency, 3:70-cv-4101-O (N.D. Texas, 2013).
The U.S. Department of Justice opposed granting the RISD unitary status and ending the
desegregation order.
21
   Harper v. Virginia Board of Elections 383 U.S. 663 (1966).
22
   Vesey v. Perry, 13-cv-00193 (S.D. Tex.), October 9, 2014; Vesey v. Abbott, 2:13-cv-193, April
10, 2017.
23
   Vesey v. Abbott, No.17-40884 (5th Cir.), April 27, 2018.
                                                27
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 87 of 101 PageID 214


redistricting law was intended to discriminate against Hispanic voters.24 Again, the Texas
legislature enacted a new law once the original had been declared unconstitutional, and the latter
version was upheld by the Supreme Court.25

As Leal, Martinez-Ebers and Meier put it in their study of Hispanic representation on school
boards:

       Literacy tests, poll taxes, and simple intimidation were effective tools against the
       electoral participation of Latinos as well as African Americans and poor Anglos.
       These have largely passed from the political scene, but election laws originally
       adopted with discriminatory intent may still affect political representation.

6. Factor 7: Election of Minority Candidates to Public Office in RISD
The results for this factor are straightforward. There has been, as far as I have been able to
determine, only one African American who has ever served on the RISD Board of Trustees
(David Tyson), no Hispanic Board member ever, and no minority candidate who has ever won a
contested election to the Board. Since 2010, there have been 63-seat-years on the Board (seven
members per year over nine years). Over that span the Board has been 98.4% white (62/ 63 seat-
years). There has not been a minority member of the Board since 2010.

The contrast between the Board composition and the demographic characteristics of the RISD
and student population could hardly be more stark. The unanimously white Board of Trustees
presides over a citizen voting age population that consists of 41% non-white minorities; and a
student body that is more than 70% non-white, more than 25% limited English proficiency, and
more than 50% economically disadvantaged.


                                    V. Conclusions and Findings
The data are definitive. The timing and structure of the electoral system for RISD Board of
Trustees elections has the effect of denying members of minority groups the opportunity to
participate equally in the political process. The at-large character of Board elections dilutes the
voting power of minority groups (especially African Americans) to the point where they lack
sufficient numbers to elect candidates of their choice. Low turnout disproportionally depresses
representation of African American and Hispanic voters, reducing their representation by almost
two-thirds from their composition of the Citizen Voting Age Population. The lack of
competitiveness of Board elections – to the point where over half of the time, elections are
cancelled because no candidate has an opponent – results in a lack of competitive candidates, and
minority candidates in particular. A minority candidate has never won a contested election to the
Board, and since 2007 there has not been a competitive minority candidate for a Board seat.
There is evidence of both minority cohesion and racial bloc voting, with minority voters strongly
preferring minority candidates, and evidence of white bloc voting against minority candidates.
African American and Hispanic voters tend to prefer the same candidates and vote as an electoral
coalition. Members of minority groups face significant disadvantages in income, education, and
health that hinder their ability to participate. Given the long history in the state of discriminatory

24
   Texas v. Holder No. 11-1303 (D.C. Cir.), August 28, 2012; Perez v. Abbott, SA-11-CV-360
(W.D. Tex.), May 2, 2017.
25
   Abbott v. Perez 585 U. S. ____ (2018).
                                                 28
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                  Page 88 of 101 PageID 215


government activity in both election administration and education, it is highly likely that the
existing economic and political disadvantages are a legacy of that discrimination.

As an empirical matter, RISD Board elections satisfy all three prongs of the Gingles test: the
existence of a minority group that is sufficiently large and compact to constitute a majority in a
single member district; the existence of political cohesion among members of minority groups;
and White bloc voting that usually denies minority voters the opportunity to elect a candidate of
their choice.

Of all the factors I analyzed, the at-large nature of Board elections is the most significant.
Demonstration district A constructed by Ely increases the African American citizen voting age
population from 20.9% for the RISD as a whole to 60.3%, and the African American share of
registered voters from 15.0% to 57.6%. Ely’s district B increases the combined African
American and Hispanic share of CVAP from 32.1% to 50.1%, the Hispanic share of CVAP from
11.5% to 26.9%, and the aggregate minority share of registered voters from 23.9% to 43.4%.
These changes will, without any question, increase the ability of members of minority groups to
effectively participate in the political process.

I conclude that the at-large nature of RISD elections dilutes the voting power of minority voters,
prevents them from participating equally in the political process, and that a district-based system
would enhance the opportunity of these groups to elect candidates of their choice.




_________________________________
Kenneth R. Mayer
July 16, 2018




                                                29
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18              Page 89 of 101 PageID 216


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  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 91 of 101 PageID 218


                                                  Appendix A

                                           Kenneth R. Mayer

Department of Political Science                                          Phone: 608-263-2286
Affiliate, La Follette School of Public Affairs                          Cell: 608-216-6554
110 North Hall / 1050 Bascom Mall                                        Email: krmayer@wisc.edu
University of Wisconsin – Madison
Madison, WI 53706

Education
Yale University, Department of Political Science, Ph.D., 1988.
Yale University, Department of Political Science, M.A., M.Phil.,1987.
University of California, San Diego, Department of Political Science, B.A., 1982.

Positions Held
University of Wisconsin, Madison. Department of Political Science.
        Professor, July 2000-present.
        Associate Professor, June 1996-June 2000.
        Assistant Professor, August 1989-May 1996.
Fulbright-ANU Distinguished Chair in Political Science, Australian National University (Canberra,
        ACT), July-December 2006.
Director, Data and Computation Center, College of Letters and Science, University of Wisconsin-
        Madison, June 1996-September 2003
Consultant, The RAND Corporation, Washington DC, 1988-1994.
Contract Specialist (Civilian), Naval Air Systems Command, Washington D.C., 1985-1986.

Honors and Awards
American Political Science Association, State Politics and Policy Section. Award for best Journal
         Article Published in the American Journal of Political Science in 2014. Awarded for Burden,
         Canon, Mayer, and Moynihan, “Election Laws, Mobilization, and Turnout.”
Robert H. Durr Award, from the Midwest Political Science Association, for Best Paper Applying
         Quantitative Methods to a Substantive Problem Presented at the 2013 Meeting. Awarded for
         Burden, Canon, Mayer, and Moynihan, “Election Laws and Partisan Gains.”
Leon Epstein Faculty Fellow, College of Letters and Science, 2012-2015
UW Housing Honored Instructor Award, 2012, 2014, 2017, 2018
Recipient, Jerry J. and Mary M. Cotter Award, College of Letters and Science, 2011-2012
Alliant Underkofler Excellence in Teaching Award, University of Wisconsin System, 2006
Pi Sigma Alpha Teaching Award, Fall 2006
Vilas Associate, 2003-2004, University of Wisconsin-Madison Graduate School.
2002 Neustadt Award. Awarded by the Presidency Research Group of the American Political
         Science Association, for the best book published on the American presidency in 2001.
         Awarded for With the Stroke of a Pen: Executive Orders and Presidential Power.
Lilly Teaching Fellow, University of Wisconsin-Madison, 1993-1994.
Interfraternity Council award for Outstanding Teaching, University of Wisconsin-Madison, 1993.
Selected as one of the 100 best professors at University of Wisconsin-Madison, Wisconsin Student
         Association, March 1992.
Olin Dissertation Fellow, Center for International Affairs, Harvard University, 1987-1988




                                                      32
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 92 of 101 PageID 219


Service as an Expert Witness
League of Women Voters of Michigan, et al. v. Johnson, No. 2:17-cv-14148-DPH-SDD (S.D. Mich.),
        redistricting (2018).
One Wisconsin Institute, Inc., et al. v. Nichol, et al., No. 3:15- CV-324 (W.D. Wis.), voting rights
        (2016).
Whitford et al. v. Gill et al., No. 15-CV-421-bbc (W.D. Wis.), redistricting (2016).
Milwaukee NAACP et al. v. Scott Walker et. al, No. 11-CV-5492 (Dane County Circuit Court), photo-ID
      (2012).
Baldus et al. v. Brennan et al., No. 11-CV-562 (E.D. Wis.), redistricting, voting rights (2012).
County of Kenosha v. City of Kenosha, No. 22-CV-1813 (Kenosha County Circuit Court) municipal
      redistricting (2011).
McComish et al. v Brewer et al.. No. 02-CV-1550 (D. Ariz), campaign finance (2009).
Baumgart et al. v. Wendelberger et al. No 01-CV-121 (E.D. Wis.), redistricting (2002).

Grants and Research Awards
“Analyzing Nonvoting and the Student Voting Experience in Wisconsin.” Dane County (WI) Clerk,
         $44,157. November 2016-December 2017. Additional support ($30,000) provided by the
         Office of the Chancellor, UW-Madison.
Campaign Finance Task Force, Stanford University and New York University, $36,585. September
         2016-August 2017.
Participant and Board Member, 2016 White House Transition Project, PIs Martha Joynt Kumar
         (Towson State University) and Terry Sullivan (University of North Carolina-Chapel Hill).
“How do You Know? The Structure of Presidential Advising and Error Correction in the White
         House.” Graduate School Research Committee, University of Wisconsin, $18,941. July 1,
         2015-June 30,2016.
“Study and Recommendations for the Government Accountability Board Chief Inspectors’ Statements
         and Election Incident Report Logs.” $43,234. Co-PI. With Barry C. Burden (PI), David T.
         Canon (co-PI), and Donald Moynihan (co-PI). October 2011-May 2012.
“Public Funding in Connecticut Legislative Elections.” Open Society Institute. September 2009-
         December 2010. $55,000.
“Early Voting and Same Day Registration in Wisconsin and Beyond.” Co-PI. October 2008-
         September 2009. Pew Charitable Trusts. $49,400. With Barry C. Burden (PI), David T. Canon
         (Co-PI), Kevin J. Kennedy (Co-PI), and Donald P. Moynihan (Co-PI).
City of Madison, Blue Ribbon Commission on Clean Elections. Joyce Foundation, Chicago, IL.
         $16,188. January-July 2008.
“Wisconsin Campaign Finance Project: Public Funding in Connecticut State Legislative Elections.”
         JEHT Foundation, New York, NY. $84,735. November 2006-November 2007.
“Does Public Election Funding Change Public Policy? Evaluating the State of Knowledge.” JEHT
         Foundation, New York, NY. $42,291. October 2005-April 2006.
“Wisconsin Campaign Finance Project: Disseminating Data to the Academic, Reform, and Policy
         Communities.” Joyce Foundation, Chicago, IL. $20,900. September 2005- August 2006.
“Enhancing Electoral Competition: Do Public Funding Programs for State and Local Elections Work?”
         Smith Richardson Foundation, Westport, CT. $129,611. December 2002-June 2005
WebWorks Grant (implementation of web-based instructional technologies), Division of Information
         Technology, UW-Madison, $1,000. November 1999.
“Issue Advocacy in Wisconsin during the 1998 Election.” Joyce Foundation, Chicago, IL. $15,499.
         April 1999.
Instructional Technology in the Multimedia Environment (IN-TIME) grant, Learning Support Services,
         University of Wisconsin. $5,000. March 1997.
“Public Financing and Electoral Competitiveness in the Minnesota State Legislature.” Citizens’
         Research Foundation, Los Angeles, CA, $2,000. May-November 1996.



                                                33
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 93 of 101 PageID 220


“The Reach of Presidential Power: Policy Making Through Executive Orders." National Science
        Foundation (SBR-9511444), $60,004. September 1, 1995-August 31, 1998. Graduate School
        Research Committee, University of Wisconsin, $21,965. July 1, 1995-August 31,1995.
        Additional support provided by the Gerald R. Ford Library Foundation, the Eisenhower World
        Affairs Institute, and the Harry S. Truman Library Foundation.
The Future of the Combat Aircraft Industrial Base.” Changing Security Environment Project, John M.
        Olin Institute for Strategic Studies, Harvard University (with Ethan B. Kapstein). June 1993-
        January 1995. $15,000.
Hilldale Student Faculty Research Grant, College of Letters and Sciences, University of Wisconsin
        (with John M. Wood). 1992. Amount: $1,000 ($3,000 award to student)
“Electoral Cycles in Federal Government Prime Contract Awards” March 1992 – February 1995.
        National Science Foundation (SES-9121931), the Graduate School Research Committee at the
        University of Wisconsin, and the MacArthur Foundation. Amounts: National Science
        Foundation, $74,216; Graduate School Research Committee: $2,600; MacArthur Foundation,
        $2,500
C-SPAN In the Classroom Faculty Development Grant, 1991. $500

Professional and Public Service
Education and Social and Behavioral Sciences Institutional Review Board, 2008-2014. Acting Chair,
        Summer 2011. Chair, May 2012- June 2014.
Participant, U.S. Public Speaker Grant Program. United States Department of State (nationwide
        speaking tour in Australia, May 11-June 2, 2012).
Expert Consultant, Voces de la Frontera. Milwaukee Aldermanic redistricting, (2011).
Expert Consultant, Prosser for Supreme Court. Wisconsin Supreme Court election recount (2011).
Chair, Blue Ribbon Commission on Clean Elections (Madison), August 2007-April 2011.
Consultant, Consulate of the Government of Japan (Chicago) on state politics in Illinois, Indiana,
        Minnesota, and Wisconsin, 2006-2011.
Section head, Presidency Studies, 2006 Annual Meeting of the American Political Science Association.
Co-Chair, Committee on Redistricting, Supreme Court of Wisconsin,       November 2003-December
        2009.
Section Head, Presidency and Executive Politics, 2004 Annual Meeting of the Midwest Political
        Science Association, Chicago, IL.
Presidency Research Group (organized section of the American Political Science Association) Board,
        September 2002-present.
Book Review Editor, Congress and the Presidency, 2001-2006.
Editorial Board, American Political Science Review, September 2004- September 2007.
Consultant, Governor’s Blue Ribbon Commission on Campaign Finance Reform. State of Wisconsin.
        1997.

PUBLICATIONS

Books
Presidential Leadership: Politics and Policymaking, 10th edition. Lanham, MD: Rowman and Littlefield,
        2018. With George C. Edwards, III, and Stephen J. Wayne.
The 2016 Presidential Elections: The Causes and Consequences of an Electoral Earthquake. Lanham,
        MD: Lexington Press, 2017. Co-edited with Amnon Cavari and Richard J. Powell.
The Enduring Debate: Classic and Contemporary Readings in American Government. 8th ed. New
        York: W.W. Norton & Co. 2017. Co-edited with David T. Canon and John Coleman. Previous
        editions 1st (1997), 2nd (2000), 3rd (2002), 4th (2006), 5th (2009), 6th (2011), 7th (2013).
Faultlines: Readings in American Government, 5th ed. New York: W.W. Norton & Co. 2017. Co-
        edited with David T. Canon and John Coleman. Previous editions 1st (2004), 2nd (2007), 3rd



                                                 34
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 94 of 101 PageID 221


        (2011), 4th (2013).
The 2012 Presidential Election: Forecasts, Outcomes, and Consequences. Lanham, MD: Rowman and
        Littlefield, 2014. Co-edited with Amnon Cavari and Richard J. Powell.
Readings in American Government, 7th edition. New York: W.W. Norton & Co. 2002. Co-edited with
        Theodore J. Lowi, Benjamin Ginsberg, David T. Canon, and John Coleman). Previous editions
        4th (1996), 5th (1998), 6th (2000).
With the Stroke of a Pen: Executive Orders and Presidential Power. Princeton, NJ: Princeton
        University Press. 2001. Winner of the 2002 Neustadt Award from the Presidency Studies
        Group of the American Political Science Association, for the Best Book on the Presidency
        Published in 2001.
The Dysfunctional Congress? The Individual Roots of an Institutional Dilemma. Boulder, CO:
        Westview Press. 1999. With David T. Canon.
The Political Economy of Defense Contracting. New Haven: Yale University Press. 1991.

Monographs
2008 Election Data Collection Grant Program: Wisconsin Evaluation Report. Report to the Wisconsin
        Government Accountability Board, September 2009. With Barry C. Burden, David T. Canon,
        Stéphane Lavertu, and Donald P. Moynihan.
Issue Advocacy in Wisconsin: Analysis of the 1998 Elections and A Proposal for Enhanced Disclosure.
        September 1999.
Public Financing and Electoral Competition in Minnesota and Wisconsin. Citizens’ Research
        Foundation, April 1998 .
Campaign Finance Reform in the States. Report prepared for the Governor’s Blue Ribbon
        Commission on Campaign Finance Reform (State of Wisconsin). February 1998. Portions
        reprinted in Anthony Corrado, Thomas E. Mann, Daniel Ortiz, Trevor Potter, and Frank J.
        Sorauf, ed., Campaign Finance Reform: A Sourcebook. Washington, D.C.: Brookings
        Institution, 1997.
“Does Public Financing of Campaigns Work?” Trends in Campaign Financing. Occasional Paper
        Series, Citizens' Research Foundation, Los Angeles, CA. 1996. With John M. Wood.
The Development of the Advanced Medium Range Air-to-Air Missile: A Case Study of Risk and Reward
        in Weapon System Acquisition. N-3620-AF. Santa Monica: RAND Corporation. 1993.
Barriers to Managing Risk in Large Scale Weapons System Development Programs. N-4624-AF.
        Santa Monica: RAND Corporation. 1993. With Thomas K. Glennan, Jr., Susan J. Bodilly,
        Frank Camm, and Timothy J. Webb.

Articles
“Learning from Recounts.” Election Law Journal (forthcoming 2018). With Stephen Ansolabehere,
         Barry C. Burden, and Charles Stewart III.
“The Complicated Partisan Effects of State Election Laws.” Political Research Quarterly 70:549-563
         (No. 3, September 2017). With Barry C. Burden, David T. Canon, and Donald P. Moynihan.
“What Happens at the Polling Place: Using Administrative Data to Look Inside Elections.” Public
         Administration Review 77:354-364 (No. 3, May/June 2017). With Barry C. Burden, David T.
         Canon, Donald P. Moynihan, and Jacob R. Neiheisel.
“Alien Abduction, and Voter Impersonation in the 2012 U.S. General Election Evidence from a Survey
         List Experiment.” Election Law Journal 13:460-475 No.4, December 2014). With John S.
         Ahlquist and Simon Jackman.
 “Election Laws, Mobilization, and Turnout: The Unanticipated Consequences of Election Reform.”
         American Journal of Political Science, 58:95-109 (No. 1, January 2014). With Barry C. Burden,
         David T. Canon, and Donald P. Moynihan. Winner of the State Politics and Politics Section of




                                                 35
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                     Page 95 of 101 PageID 222


         the American Political Science Association Award for the best article published in the AJPS in
         2014.
“Executive Power in the Obama Administration and the Decision to Seek Congressional Authorization
         for a Military Attack Against Syria: Implications for Theories of Unilateral Action.” Utah Law
         Review 2014:821-841 (No. 4).
“Public Election Funding: An Assessment of What We Would Like to Know.” The Forum 11:365-485
         (No. 3, 2013).
 “Selection Method, Partisanship, and the Administration of Elections.” American Politics Research
         41:903-936 (No. 6, November 2013). With Barry C. Burden, David T. Canon, Stéphane
         Lavertu, and Donald Moynihan.
 “The Effect of Administrative Burden on Bureaucratic Perception of Policies: Evidence from
         Election Administration.” Public Administration Review 72:741-451 (No. 5,
         September/October 2012). With Barry C. Burden, David T. Canon, and Donald Moynihan.
 “Early Voting and Election Day Registration in the Trenches: Local Officials’ Perceptions of Election
         Reform.” Election Law Journal 10:89-102 (No. 2, 2011). With Barry C. Burden, David T.
         Canon, and Donald Moynihan.
“Is Political Science Relevant? Ask an Expert Witness," The Forum: Vol. 8, No. 3, Article 6 (2010).
“Thoughts on the Revolution in Presidency Studies,” Presidential Studies Quarterly 39 (no. 4,
         December 2009).
“Does Australia Have a Constitution? Part I – Powers: A Constitution Without Constitutionalism.”
         UCLA Pacific Basin Law Journal 25:228-264 (No. 2, Spring 2008). With Howard Schweber.
“Does Australia Have a Constitution? Part II: The Rights Constitution.” UCLA Pacific Basin Law
         Journal 25:265-355 (No. 2, Spring 2008). With Howard Schweber.
 “Public Election Funding, Competition, and Candidate Gender.” PS: Political Science and Politics
         XL:661-667 (No. 4,October 2007). With Timothy Werner.
“Do Public Funding Programs Enhance Electoral Competition?” In Michael P. McDonald and John
         Samples, eds., The Marketplace of Democracy: Electoral Competition and American Politics
         (Washington, DC: Brookings Institution Press, 2006). With Timothy Werner and Amanda
         Williams. Excerpted in Daniel H. Lowenstein, Richard L. Hasen, and Daniel P. Tokaji,
         Election Law: Cases and Materials. Durham, NC: Carolina Academic Press, 2008.
“The Last 100 Days.” Presidential Studies Quarterly 35:533-553 (No. 3, September 2005). With
         William Howell.
“Political Reality and Unforeseen Consequences: Why Campaign Finance Reform is Too Important
         To Be Left To The Lawyers,” University of Richmond Law Review 37:1069-1110 (No. 4, May
         2003).
“Unilateral Presidential Powers: Significant Executive Orders, 1949-1999.” Presidential Studies
         Quarterly 32:367-386 (No. 2, June 2002). With Kevin Price.
“Answering Ayres: Requiring Campaign Contributors to Remain Anonymous Would Not Resolve
         Corruption Concerns.” Regulation 24:24-29 (No. 4, Winter 2001).
 “Student Attitudes Toward Instructional Technology in the Large Introductory US Government
         Course.” PS: Political Science and Politics 33:597-604 (No. 3 September 2000). With John
         Coleman.
“The Institutionalization of Power.” In Robert Y. Shapiro, Martha Joynt Kumar, and Lawrence R.
         Jacobs, eds. Presidential Power: Forging the Presidency for the 21st Century. New York:
         Columbia University Press, 2000. With Thomas J. Weko.
“The Limits of Delegation – the Rise and Fall of BRAC.” Regulation 22:32-38 (No. 3, October
         1999).
“Executive Orders and Presidential Power.” The Journal of Politics 61:445-466 (No.2, May 1999).
“Bringing Politics Back In: Defense Policy and the Theoretical Study of Institutions and Processes."
         Public Administration Review 56:180-190 (1996). With Anne Khademian.
“Closing Military Bases (Finally): Solving Collective Dilemmas Through Delegation.” Legislative



                                                  36
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 96 of 101 PageID 223


        Studies Quarterly, 20:393-414 (No. 3, August 1995).
“Electoral Cycles in Federal Government Prime Contract Awards: State-Level Evidence from the
        1988 and 1992 Presidential Elections.” American Journal of Political Science 40:162-185
        (No. 1, February 1995).
“The Impact of Public Financing on Electoral Competitiveness: Evidence from Wisconsin, 1964-
        1990.” Legislative Studies Quarterly 20:69-88 (No. 1, February 1995). With John M. Wood.
“Policy Disputes as a Source of Administrative Controls: Congressional Micromanagement of the
        Department of Defense.” Public Administration Review 53:293-302 (No. 4, July-August 1993).
“Combat Aircraft Production in the United States, 1950-2000: Maintaining Industry Capability in an
        Era of Shrinking Budgets.” Defense Analysis 9:159-169 (No. 2, 1993).

Book Chapters
“Is President Trump Conventionally Disruptive, or Unconventionally Destructive?” In The 2016
        Presidential Elections: The Causes and Consequences of an Electoral Earthquake. Lanham,
        MD: Lexington Press, 2017. Co-edited with Amon Cavari and Richard J. Powell.
“Lessons of Defeat: Republican Party Responses to the 2012 Presidential Election. In Amnon Cavari,
        Richard J. Powell, and Kenneth R. Mayer, eds.The 2012 Presidential Election: Forecasts,
        Outcomes, and Consequences. Lanham, MD: Rowman and Littlefield. 2014.
“Unilateral Action.” George C. Edwards, III, and William G. Howell, Oxford Handbook of the
        American Presidency (New York: Oxford University Press, 2009).
“Executive Orders,” in Joseph Bessette and Jeffrey Tulis, The Constitutional Presidency. Baltimore:
        Johns Hopkins University Press, 2009.
“Hey, Wait a Minute: The Assumptions Behind the Case for Campaign Finance Reform.” In Gerald
        C. Lubenow, ed., A User’s Guide to Campaign Finance Reform. Lanham, MD: Rowman &
        Littlefield, 2001.
“Everything You Thought You Knew About Impeachment Was Wrong.” In Leonard V. Kaplan and
        Beverly I. Moran, ed., Aftermath: The Clinton Impeachment and the Presidency in the Age of
        Political Spectacle. New York: New York University Press. 2001. With David T. Canon.
“Congressional-DoD Relations After the Cold War: The Politics of Uncertainty.” In Downsizing
        Defense, Ethan Kapstein ed. Washington DC: Congressional Quarterly Press. 1993.
“Elections, Business Cycles, and the Timing of Defense Contract Awards in the United States.” In
        Alex Mintz, ed. The Political Economy of Military Spending. London: Routledge. 1991.
“Patterns of Congressional Influence In Defense Contracting.” In Robert Higgs, ed., Arms, Politics,
        and the Economy: Contemporary and Historical Perspectives. New York: Holmes and
        Meier. 1990.

Other
“Campaign Finance: Some Basics.” Prepared for the Bauer-Ginsberg Campaign Finance Task Force,
       Stanford University. September 2017. With Elizabeth M. Sawyer.
“The Wisconsin Recount May Have a Surprise in Store after All.” The Monkey Cage (Washington
       Post), December 5, 2016. With Stephen Ansolabehere, Barry C. Burden, and Charles Stewart,
       III.
Review of Jason K. Dempsey, Our Army: Soldiers, Politicians, and American Civil-Military
       Relations. The Forum 9 (No. 3, 2011).
“Voting Early, but Not Often.” New York Times, October 25, 2010. With Barry C. Burden.
Review of John Samples, The Fallacy of Campaign Finance Reform and Raymond J. La Raja, Small
       Change: Money, Political Parties, and Campaign Finance Reform. The Forum 6 (No. 1,
       2008).
Review Essay, Executing the Constitution: Putting the President Back Into the Constitution,
       Christopher S, Kelley, ed.; Presidents in Culture: The Meaning of Presidential Communication,
       David Michael Ryfe; Executive Orders and the Modern Presidency: Legislating from the Oval



                                                 37
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                    Page 97 of 101 PageID 224


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“The Base Realignment and Closure Process: Is It Possible to Make Rational Policy?” Brademas
         Center for the Study of Congress, New York University. 2007.
“Controlling Executive Authority in a Constitutional System” (comparative analysis of executive power
         in the U.S. and Australia), manuscript, February 2007.
 “Campaigns, Elections, and Campaign Finance Reform.” Focus on Law Studies, XXI, No. 2 (Spring
         2006). American Bar Association, Division for Public Education.
“Review Essay: Assessing The 2000 Presidential Election – Judicial and Social Science Perspectives.”
         Congress and the Presidency 29: 91-98 (No. 1, Spring 2002).
Issue Briefs (Midterm Elections, Homeland Security; Foreign Affairs and Defense Policy; Education;
         Budget and Economy; Entitlement Reform) 2006 Reporter’s Source Book. Project Vote Smart.
         2006. With Meghan Condon.
“Sunlight as the Best Disinfectant: Campaign Finance in Australia.” Democratic Audit of Australia,
         Australian National University. October 2006.
“Return to the Norm,” Brisbane Courier-Mail, November 10, 2006.
“The Return of the King? Presidential Power and the Law,” PRG Report XXVI, No. 2 (Spring 2004).
Issue Briefs (Campaign Finance Reform, Homeland Security; Foreign Affairs and Defense Policy;
         Education; Budget and Economy; Entitlement Reform), 2004 Reporter’s Source Book. Project
         Vote Smart. 2004. With Patricia Strach and Arnold Shober.
“Where's That Crystal Ball When You Need It? Finicky Voters and Creaky Campaigns Made for a
         Surprise Electoral Season. And the Fun's Just Begun.” Madison Magazine. April 2002.
“Capitol Overkill.” Madison Magazine, July 2002.
Issue Briefs (Homeland Security; Foreign Affairs and Defense Policy; Education; Economy, Budget
         and Taxes; Social Welfare Policy), 2002 Reporter’s Source Book. Project Vote Smart. 2002.
         With Patricia Strach and Paul Manna.
“Presidential Emergency Powers.” Oxford Analytica Daily Brief. December 18, 2001.
“An Analysis of the Issue of Issue Ads.” Wisconsin State Journal, November 7, 1999.
“Background of Issue Ad Controversy.” Wisconsin State Journal, November 7, 1999.
“Eliminating Public Funding Reduces Election Competition." Wisconsin State Journal, June 27, 1999.
Review of Executive Privilege: The Dilemma of Secrecy and Democratic Accountability, by Mark J.
         Rozell. Congress and the Presidency 24 (No. 1, 1997).
“Like Marriage, New Presidency Starts In Hope.” Wisconsin State Journal. March 31, 1996.
Review of The Tyranny of the Majority: Fundamental Fairness in Representative Democracy, by Lani
         Guinier. Congress and the Presidency 21: 149-151 (No. 2, 1994).
Review of The Best Defense: Policy Alternatives for U.S. Nuclear Security From the 1950s to the
         1990s, by David Goldfischer. Science, Technology, and Environmental Politics Newsletter 6
         (1994).
Review of The Strategic Defense Initiative, by Edward Reiss. American Political Science Review
         87:1061-1062 (No. 4, December 1993).
Review of The Political Economy of Defense: Issues and Perspectives, Andrew L. Ross ed. Armed
         Forces and Society 19:460-462 (No. 3, April 1993)
Review of Space Weapons and the Strategic Defense Initiative, by Crockett Grabbe. Annals of the
         American Academy of Political and Social Science 527: 193-194 (May 1993).
“Limits Wouldn't Solve the Problem.” Wisconsin State Journal, November 5, 1992. With David T.
         Canon.
“Convention Ceded Middle Ground.” Wisconsin State Journal, August 23, 1992.
“CBS Economy Poll Meaningless.” Wisconsin State Journal, February 3, 1992.
“It's a Matter of Character: Pentagon Doesn't Need New Laws, it Needs Good People.” Los Angeles
         Times, July 8, 1988.




                                                 38
  Case 3:18-cv-00212-K Document 25 Filed 07/16/18                     Page 98 of 101 PageID 225


Conference Papers
“Voter Identification and Nonvoting in Wisconsin – Evidence from the 2016 Election.” Presented at the
         2018 Annual Meeting of the Midwest Political Science Association, Chicago, IL April 5-8,
         2018. With Michael G. DeCrescenzo.
“Learning from Recounts.” Presented at the Workshop on Electoral Integrity, San Francisco, CA,
         August 30, 2017, and at the 2017 Annual Meeting of the American Political Science
         Association, San Francisco, CA, August 31-September 3, 2017. With Stephen Ansolabehere,
         Barry C. Burden, and Charles Stewart, III.
“What Happens at the Polling Place: Using Administrative Data to Understand Irregularities at the
         Polls.” Conference on New Research on Election Administration and Reform, Massachusetts
         Institute of Technology, Cambridge, MA, June 8, 2015. With Barry C. Burden, David T. Canon,
         Donald P. Moynihan, and Jake R Neiheisel.
 “Election Laws and Partisan Gains: What are the Effects of Early Voting and Same Day Registration
         on the Parties' Vote Shares.” 2013 Annual Meeting of the Midwest Political Science
         Association, Chicago, IL, April 11-14, 2013. Winner of the Robert H. Durr Award.
“The Effect of Public Funding on Electoral Competition: Evidence from the 2008 and 2010 Cycles.”
         Annual Meeting of the American Political Science Association, Seattle, WA, September 1-4,
         2011. With Amnon Cavari.
“What Happens at the Polling Place: A Preliminary Analysis in the November 2008 General Election.”
         Annual Meeting of the American Political Science Association, Seattle, WA, September 1-4,
         2011. With Barry C. Burden, David T. Canon, Donald P. Moynihan, and Jake R. Neiheisel.
“Election Laws, Mobilization, and Turnout: The Unanticipated Consequences of Election Reform.”
         2010 Annual Meeting of the American Political Science Association, Washington, DC,
         September 2-5, 2010. With Barry C. Burden, David T. Canon, Stéphane Lavertu and Donald P.
         Moynihan.
“Selection Methods, Partisanship, and the Administration of Elections. Annual Meeting of the Midwest
         Political Science Association, Chicago, IL, April 22-25, 2010. Revised version presented at the
         Annual Meeting of the European Political Science Association, June 16-19, 2011, Dublin,
         Ireland. With Barry C. Burden, David T. Canon, Stéphane Lavertu and Donald P. Moynihan.
“The Effects and Costs of Early Voting, Election Day Registration, and Same Day Registration in the
         2008 Elections.” Annual Meeting of the American Political Science Association, Toronto,
         Canada, September 3-5, 2009. With Barry C. Burden, David T. Canon, and Donald P.
         Moynihan.
“Comparative Election Administration: Can We Learn Anything From the Australian Electoral
         Commission?” Annual Meeting of the American Political Science Association, Chicago, IL,
         August 29-September 1, 2007.
“Electoral Transitions in Connecticut: Implementation of Public Funding for State Legislative
         Elections.” Annual Meeting of the American Political Science Association, Chicago, IL,
         August 29-September 1, 2007. With Timothy Werner.
“Candidate Gender and Participation in Public Campaign Finance Programs.” Annual Meeting of the
         Midwest Political Science Association, Chicago IL, April 7-10, 2005. With Timothy Werner.
“Do Public Funding Programs Enhance Electoral Competition?” 4th Annual State Politics and Policy
         Conference,” Akron, OH, April 30-May 1, 2004. With Timothy Werner and Amanda Williams.
“The Last 100 Days.” Annual Meeting of the American Political Science Association, Philadelphia,
         PA, August 28-31, 2003. With William Howell.
“Hey, Wait a Minute: The Assumptions Behind the Case for Campaign Finance Reform.” Citizens’
         Research Foundation Forum on Campaign Finance Reform, Institute for Governmental Studies,
         University of California Berkeley. August 2000.
“The Importance of Moving First: Presidential Initiative and Executive Orders.” Annual Meeting of the
         American Political Science Association, San Francisco, CA, August 28-September 1, 1996.
“Informational vs. Distributive Theories of Legislative Organization: Committee Membership and



                                                  39
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 99 of 101 PageID 226


       Defense Policy in the House.” Annual Meeting of the American Political Science Association,
       Washington, DC, September 2-5, 1993.
“Department of Defense Contracts, Presidential Elections, and the Political-Business Cycle.” Annual
       Meeting of the American Political Science Association, Washington, DC, September 2-5, 1993.
“Problem? What Problem? Congressional Micromanagement of the Department of Defense.” Annual
       Meeting of the American Political Science Association, Washington DC, August 29 -
       September 2, 1991.

Talks and Presentations
“Turnout Effects of Voter ID Laws.” Rice University, March 23, 2018; Wisconsin Alumni Association,
        October 13, 2017. With Michael DeCrescenzo.
“Informational and Turnout Effects of Voter ID Laws.” Wisconsin State Elections Commission,
        December 12, 2017; Dane County Board of Supervisors, October 26, 2017. With Michael
        DeCrescenzo.
“Voter Identification and Nonvoting in Wisconsin, Election 2016. American Politics Workshop,
        University of Wisconsin, Madison, November 24, 2017.
“Gerrymandering: Is There A Way Out?” Marquette University. October 24, 2017.
“What Happens in the Districting Room and What Happens in the Courtroom” Geometry of
        Redistricting Conference, University of Wisconsin-Madison October 12, 2017.
“How Do You Know? The Epistemology of White House Knowledge.” Clemson University, February
        23, 2016.
Roundtable Discussant, Separation of Powers Conference, School of Public and International Affairs,
        University of Georgia, February19-20, 2016.
Campaign Finance Task Force Meeting, Stanford University, February 4, 2016.
Discussant, “The Use of Unilateral Powers.” American Political Science Association Annual Meeting,
        August 28-31, 2014, Washington, DC.
Presenter, “Roundtable on Money and Politics: What do Scholars Know and What Do We Need to
        Know?” American Political Science Association Annual Meeting, August 28-September 1,
        2013, Chicago, IL.
Presenter, “Roundtable: Evaluating the Obama Presidency.” Midwest Political Science Association
        Annual Meeting, April 11-14, 2012, Chicago, IL.
Panel Participant, “Redistricting in the 2010 Cycle,” Midwest Democracy Network,
Speaker, “Redistricting and Election Administration,” Dane County League of Women Voters, March 4,
        2010.
Keynote Speaker, “Engaging the Electorate: The Dynamics of Politics and Participation in 2008.”
        Foreign Fulbright Enrichment Seminar, Chicago, IL, March 2008.
Participant, Election Visitor Program, Australian Electoral Commission, Canberra, ACT, Australia.
        November 2007.
Invited Talk, “Public Funding in State and Local Elections.” Reed College Public Policy Lecture
        Series. Portland, Oregon, March 19, 2007.
Fulbright Distinguished Chair Lecture Tour, 2006. Public lectures on election administration and
        executive power. University of Tasmania, Hobart (TAS); Flinders University and University
        of South Australia, Adelaide (SA); University of Melbourne, Melbourne (VIC); University of
        Western Australia, Perth (WA); Griffith University and University of Queensland, Brisbane
        (QLD); Institute for Public Affairs, Sydney (NSW); The Australian National University,
        Canberra (ACT).
Discussant, “Both Ends of the Avenue: Congress and the President Revisited,” American Political
        Science Association Meeting, September 2-5, 2004, Chicago, IL.
Presenter, “Researching the Presidency,” Short Course, American Political Science Association
        Meeting, September 2-5, 2004, Chicago, IL.
Discussant, Conference on Presidential Rhetoric, Texas A&M University, College Station, TX.



                                                40
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                   Page 100 of 101 PageID 227


         February 2004.
Presenter, “Author Meets Author: New Research on the Presidency,” 2004 Southern Political Science
         Association Meeting, January 8-11, New Orleans, LA.
Chair, “Presidential Secrecy,” American Political Science Association Meeting, August 28-31,2003,
         Philadelphia, PA.
Discussant, “New Looks at Public Approval of Presidents.” Midwest Political Science Association
         Meeting, April 3-6, 2003, Chicago, IL.
Discussant, “Presidential Use of Strategic Tools.” American Political Science Association Meeting,
         August 28-September 1, 2002, Boston, MA.
Chair and Discussant, “Branching Out: Congress and the President.” Midwest Political Science
         Association Meeting, April 19-22, 2001, Chicago, IL.
Invited witness, Committee on the Judiciary, Subcommittee on Commercial and Administrative Law,
         U.S. House of Representatives. Hearing on Executive Order and Presidential Power,
         Washington, DC. March 22, 2001.
“The History of the Executive Order,” Miller Center for Public Affairs, University of Virginia (with
         Griffin Bell and William Howell), January 26, 2001.
Presenter and Discussant, Future Voting Technologies Symposium, Madison, WI May 2, 2000.
Moderator, Panel on Electric Utility Reliability. Assembly Staff Leadership Development Seminar,
         Madison, WI. August 11, 1999.
Chair, Panel on “Legal Aspects of the Presidency: Clinton and Beyond.” Midwest Political Science
         Association Meeting, April 15-17, 1999, Chicago, IL.
Session Moderator, National Performance Review Acquisition Working Summit, Milwaukee, WI. June
         1995.
American Politics Seminar, The George Washington University, Washington D.C., April 1995.
Invited speaker, Defense and Arms Control Studies Program, Massachusetts Institute of Technology,
         Cambridge, MA, March 1994.
Discussant, International Studies Association (Midwest Chapter) Annual Meeting, Chicago IL, October
         29-30, 1993.
Seminar on American Politics, Princeton University, January 16-17,1992.
Conference on Defense Downsizing and Economic Conversion, October 4, 1991, Harvard University.
Conference on Congress and New Foreign and Defense Policy Challenges, The Ohio State University,
         Columbus OH, September 21-22, 1990, and September 19-21, 1991.
Presenter, "A New Look at Short Term Change in Party Identification," 1990 Meeting of the American
         Political Science Association, San Francisco, CA.

University and Department Service
Athletic Board, 2014-present.
General Education Requirements Committee (Letters and Science), 1997-1998.
Communications-B Implementation Committee(Letters and Science), 1997-1999
Verbal Assessment Committee (University) 1997-1998.
College of Letters & Science Faculty Appeals Committee (for students dismissed for academic reasons).
Committee on Information Technology, Distance Education and Outreach, 1997-98.
Hilldale Faculty-Student Research Grants, Evaluation Committee, 1997, 1998.
Department Computer Committee, 1996-1997; 1997-1998, 2005-2006. Chair, 2013-present.
Faculty Senate, 2000-2001, 2001-2002, 2002-2005. Alternate, 1994-1995; 1996-1999; 2015-2016.
Preliminary Exam Appeals Committee, Department of Political Science, 1994-1995.
Faculty Advisor, Pi Sigma Alpha (Political Science Honors Society), 1993-1994.
Department Honors Advisor, 1991-1993.
Brown-bag Seminar Series on Job Talks (for graduate students), 1992.
Keynote speaker, Undergraduate Honors Symposium, April 13 1991.
Undergraduate Curriculum Committee, Department of Political Science, 1990-1991; 1991-1992; 1993-



                                                 41
 Case 3:18-cv-00212-K Document 25 Filed 07/16/18                Page 101 of 101 PageID 228


        1994.
Individual Majors Committee, College of Letters and Sciences, 1990-1991.
Dean Reading Room Committee, Department of Political Science, 1989-1990; 1994-1995.

Teaching
Undergraduate
Introduction to American Government (regular and honors)
The American Presidency
Campaign Finance
Election Law
Classics of American Politics
Presidential Debates
Comparative Electoral Systems
Legislative Process
Theories of Legislative Organization
Senior Honors Thesis Seminar

Graduate
Contemporary Presidency
American National Institutions
Classics of American Politics
Legislative Process




                                               42
